 Case 1:23-mi-99999-UNA Document 2571-4 Filed 08/11/23 Page 1 of 162




                          Exhibit 4
      Copy of All Process, Pleadings, and
      Orders served upon Defendants Pine
                 Ridge and New Home



Defendants Pine Ridge Macon, LLC And New
    Home, LLC’s Petition For Removal
                                                                                               State Court of Fulton County
               Case 1:23-mi-99999-UNA Document 2571-4 Filed 08/11/23 Page 2 of 162                               **E-FILED**
                     General Civil and Domestic Relations Case Filing Information Form                          23EV000464
                                                                                                         1/20/2023 2:16 PM

                          D Superior or    I State Court of FULTON                        County
                                                                                                       Donald Talley, Clerk
                                                                                                               Civil Division

        For Clerk Use Only

        Date Filéd                                           Case Number
                         MM-DD-YYYY

Plaintiff(s)                                                  Defendant(s)
THREATI' KATAVIUS                                             PINE RIDGE MACON, LLC
Last           First           Middle I.   Sufﬁx    Preﬁx      Last           First         Middle I.   Suffix   Preﬁx
THREATI' NIASIA                                               NEW HOME, LLC
Last           First           Middle I.   Sufﬁx    Prefix     Last           First         Middle I.   Suffix   Preﬁx
                                                              KAY TIESHA
Last           First           Middle l.   Suffix   Prefix     Last           First         Middle l.   Sufﬁx    Prefix
                                                              JOHN DOE NOS. 1-10
Last           First           Middle I.   Sufﬁx    Prefix     Last           First         Middle i.   Sufﬁx    Prefix

Plaintiff's Attorney ASHLEY CAMERON'BIVINS                      Bar Number 914842                 Self-Represented D

                                             Check One Case Type in One Box

        General Civil Cases                                           Domestic Relations Cases
                Automobile Tort                                       I      Adoption
                Civil Appeal                                          I      Dissolution/Divorce/Separate
                Contract                                                     Maintenance
                Garnishment                                                  Family Violence Petition
                General Tort                                                 Paternity/Legitimation
                 Habeas Corpus                                               Support IV-D
                                                                                      -



                 lnjunction/Mandamus/Other Writ                              Support Private (non-IV-D)
                                                                                      -




                 Landlord/Tenant                                             Other Domestic Relations
         I       Medical Malpractice Tort
                 Product Liability Tort                               Post-Judgment Check One Case Tyee
                                                                                      -



                 Real Property                                        D      Contempt
                 Restraining Petition
         I




                                                                        D Non-payment of child support.
         I       Other General Civil                                         medical support. or alimony
                                                                      D      Modiﬁcation
                                                                      D      Other/Administrative

E]      Check if the action is related to another action(s) pending or previously pending in this court involving some or all
        of the same parties, subject matter, or factual issues. If so, provide a case number for each.


                 Case Number                                  Case Number

I       I hereby certify that the documents in this ﬁling, including attachments and exhibits, satisfy the requirements for
         redaction of personal or confidential information in O.C.G.A. § 9-11-71.

D       Is an interpreter needed in this case? If so, provide the Ianguage(s) required.
                                                                                          Language(s) Required

D        Do you or your client need any disability accommodations? If so, please describe the accommodation request.



                                                                                                                   Version 1.1.18
                                                                                  State Court of Fulton County
      Case 1:23-mi-99999-UNA Document 2571-4 Filed 08/11/23 Page 3 of 162                           **E-FILED**
                                                                                                   23EV000464
                                                                                            1/20/2023 2:16 PM
                                                                                          Donald Talley, Clerk
                          IN THE STATE COURT OF FULTON COUNTY                                     Civil Division
                                    STATE OF GEORGIA

KATAVIUS THREATT, Individually and as
Next Friend of NIASIA THREATT,

        Plaintiffs,
v.                                                     CIVIL ACTION NO.

PINE RIDGE MACON, LLC d/b/a PINE
RIDGE APARTMENTS, NEW HOME, LLC,
TIESHA KAY, and JOHN DOE NOS. 1-10.

        Defendants.


                                 COMPLAINT FOR DAMAGES

        COMES NOW, KATAVIUS THREATT, Individually and as Next Friend of NIASIA

THREATT, Plaintiﬁ's in the above-captioned case, by and through their undersigned counsel of

record, and ﬁles this, her Complaint for Damages, and respectfully shows:

                                                  l.

        Defendant PINE RIDGE MACON, LLC d/b/a PINE RIDGE APARTMENTS, is a

domestic limited liability company whose registered agent resides in Fulton County, Georgia,

subjecting it to the venue and jurisdiction of this Court.

                                                  2.

        Defendant NEW HOME, LLC is a domestic limited liability company whose registered

agent resides in Fulton County, Georgia, subjecting it to the venue and jurisdiction of this Court

as a joint tort-feasor.

                                                  3.

        Defendant TIESHA KAY is subject to the venue and jurisdiction of this Court as a joint

tort-feasor.
      Case 1:23-mi-99999-UNA Document 2571-4 Filed 08/11/23 Page 4 of 162



                                                     4.


        Defendant(s) JOHN DOE NOS. 1-10, at all times relevant to this Complaint for

Damages, was and is an employee and/or agent of PINE RIDGE MACON, LLC d/b/a PINE

RIDGE APARTMENTS and/or NEW HOME, LLC, subjecting him/her to the venue and

jurisdiction of this Court as a joint toxt-feasor.

                                                     5.

        Defendant PINE RIDGE MACON, LLC d/b/a PINE RIDGE APARTMENTS at all times

relevant to this Complaint, owned, operated, maintained and/or managed the apartment complex

located at 1966 Clinton Road (1968 Clinton Road), Macon, Bibb County, Georgia 31211.

                                                     6.

        Defendant NEW HOME, LLC at all times relevant to this Complaint, owned, operated,

maintained and/or managed the apartment complex located at 1966 Clinton Road (1968 Clinton

Road), Macon, Bibb County, Georgia 31211.

                                                     7.

        On or about January 20, 2021, Plaintiff Niasia Threatt entered onto the subject premises

as an invitee.

                                                     8.

        While on the premises as an invitee, Plaintiff Niasia Threatt was shot and seriously

injured by Defendant TIESHA KAY.

                                                     9.

        At all times relevant to this Complaint for Damages, Defendants had a legal duty to keep

the subject premises in a state consistent with the due regard for the safety of their invitees and


guests. Further, Defendants had a legal duty to protect invitees and their guests from third-party
     Case 1:23-mi-99999-UNA Document 2571-4 Filed 08/11/23 Page 5 of 162



criminal attacks. Defendants breached their duty owed to Plaintiff by failing to exercise ordinary

care to keep the premises safe in one or more of the following ways:


       a)      Failing to remove dangerous persons from its property on January 20, 2021;

       b)      Failing to have any security guards and/or off-duty police ofﬁcers patrolling the

               subject premises at the time Plaintiff was shot;

       C)      Allowing dangerous persons to roam the premises for a lengthy period of time,

               undeterred and unencumbered by any security measures, just looking for a victim;

       d)      Failing to remove the assailant who shot Plaintiff from the property prior to

               Plaintiff getting shot;

       e)      Failing to have adequate security oﬁicers and/or off-duty security patrols despite

               their knowledge of numerous prior violent crimes having occurred;

               Failing to install, maintain or repair security equipment such as surveillance

               cameras so that such equipment would be properly functioning on and prior to

               January 20, 2021;

       g)      Failing to monitor surveillance cameras so as to keep dangerous persons from

               coming onto the subject premises and/or loitering on the subject premises;

       h)      Failing to maintain and enforce criminal trespass lists and procedures, including,

               but not limited to, "banned persons" policies and procedures;

       l)      Failing to take appropriate action to deter foreseeable crime such as the shooting

               that led to Plaintiff's injuries;

       j)      Failing to take reasonable actions in response to prior employee and/or customer

               safety concerns;

       k).    }~Failing to properly document prior employee and/or customer safety concerns;
     Case 1:23-mi-99999-UNA Document 2571-4 Filed 08/11/23 Page 6 of 162



        1)        Failing to properly allocate enough resources to security measures despite actual

                  knowledge of extensive violent crime occurring in the common areas of the

                  premises prior to January 20, 2021;

        m)        Failing to take reasonable steps to make itself aware of the dangerous conditions

                  that existed at the subject premises on and prior to January 20, 2021;

        n)        Failing to remedy one or more security deﬁciencies about which they were aware

                  of and on notice;

        0)        Failing to maintain, inspect, secure, patrol, and manage the subject premises;

        p)        Falsely representing to invitees and their guests that the subject premises was

                  safe;

                  Knowingly violating their own policies, protocols, and procedures which were

                  designed in whole or in part to prevent or deter unauthorized persons from

                  coming onto the premises and engaging in criminal activity;

        r)        Failing to adequately supervise, hire, train, and retain their employees and agents

                  and for the entrustment of the premises to their agents and employees;

        S)        Failing to warn business invitees, including Plaintift', of dangerous conditions and

                  criminal activity at the subject premises; and,

        t)        All other acts of negligence as may be shown at the time of trial.


                                                   10.

        The aforementioned shooting pled in 1] 8 of this Complaint for Damages, which was the

foreseeable and proximate result of Defendants' negligent breach of duty, resulted in serious

injuries to Plaintiﬁ' Niasia Threatt's body, which required immediate medical attention and

rehabilitation.
     Case 1:23-mi-99999-UNA Document 2571-4 Filed 08/11/23 Page 7 of 162




                                                  11.


       As a foreseeable and proximate result of Defendants' negligence, Plaintiff Katavius

Threatt has incurred medical expenses on behalf of her minor child Niasia Threatt in excess of

$19,683.24.

                                                  12.

       In addition to the aforementioned damages, Plaintiff Niasia Threatt has endured and will

continue to endure pain and suffering and emotional distress.

                                                  13.

        Plaintiffs have a cause of action against Defendant PINE RIDGE MACON, LLC d/b/a

PINE RIDGE APARTMENTS for negligence, negligent hiring and retention of an unsafe

employee(s), respondeat superior, and all other applicable theories of liability.

                                                  14.

       Plaintiffs have a cause of action against Defendant NEW HOME, LLC for negligence,

negligent hiring and retention of an unsafe employee(s), respondeat superior, and all other

applicable theories of liability.

                                                  1   5.

        Plaintiff' have a cause of action against Defendant TIESHA KAY for the intentional torts

of aggravated assault and intentional inﬂiction of emotional distress.

                                                  l6.

        Plainﬁﬁs have a cause of action against Defendant JOHN DOE NOS. 1-10 for negligence

and all other applicable theories of liability.
     Case 1:23-mi-99999-UNA Document 2571-4 Filed 08/11/23 Page 8 of 162



                                               17.


       Plaintiffs are entitled to recover from Defendants for Niasia Threatt's past and ﬁlture

medical expenses, past and future pain and suffering, emotional distress, and all other damages

as permitted by Law.


       WHEREFORE, Plaintiffs pray that they have a judgment against Defendants in an

amount determined by a jury to be adequate and just.

       This ZOHﬁday of January, 2023.



                                                            S<
                                                            ASl' ley C     ron-Bivins
                                                            GA Bar 0 914842
                                                            Att        for Plaintiff
                                                                Fmey

DOZIER LAW FIRM, LLC
487 Cherry Street
P.O. Box 13
Macon, GA 31202-0013
478-742-8441
ashley@dozierlaw.com
                                                                                                                     State Court of Fulton County
                  Case 1:23-mi-99999-UNA Document 2571-4 Filed 08/11/23 Page 9 of 162                                                  **E-FILED**
                                                                                                                                      23EV000464
GEORGIA, FULTON COUNTY                                                                        DO NOT WRITE IN THIS SPACE      1/25/2023 12:38 PM
                                                                                                                             Donald Talley, Clerk
                                                                                                                                     Civil Division
STATE COURT OF FULTON COUNTY                                              CIVIL ACTION FILE #: ___________________________
                                                                                                      23EV000464
                 Civil Division



                                                                            TYPE OF SUIT                               AMOUNT OF SUIT
_____________________________________
KATAVIOUS THREATT, Individually
                                                                              [ ] ACCOUNT                   PRINCIPAL $_____________
_____________________________________
and as Next Friend of Niasia Threatt                                          [ ] CONTRACT
                                                                              [ ] NOTE                      INTEREST $______________
_____________________________________
487 Cherry Street, Macon, GA 31201
                                                                              [X ] TORT
Plaintiff’s Name, Address, City, State, Zip Code                              [ ] PERSONAL INJURY          ATTY. FEES $_____________
                                                                              [ ] FOREIGN JUDGMENT
                         vs.                                                  [ ] TROVER                   COURT COST $ ___________
                                                                              [ ] SPECIAL LIEN
                                                                                                   ************
_____________________________________
New Home, LLC                                                                 [ ] NEW FILING
_____________________________________
900 OLD ROSWELL LAKES PKWY SUITE 310                                          [ ] RE-FILING: PREVIOUS CASE NO. ___________________

_____________________________________
ROSWELL GA           30076
Defendant’s Name, Address, City, State, Zip Code

             SUMMONS
TO THE ABOVE NAMED-DEFENDANT:
 You are hereby required to file with the Clerk of said court and to serve a copy on the Plaintiff’s Attorney, or on Plaintiff if no Attorney, to-wit:
Name: ______________________________________________
       ASHLEY CAMERON-BIVINS

Address: ____________________________________________
         487 CHERRY STREET, PO BOX 13
City, State, Zip Code: __________________________________________________
                       MACON, GA 31201                                                                 478-742-8441
                                                                                             Phone No.:___________________________
An answer to this complaint, which is herewith served upon you, must be filed within thirty (30) days after service, not counting the day of service. If you
fail to do so, judgment by default will be taken against you for the relief demanded in the complaint, plus cost of this action. DEFENSES MAY BE MADE &
JURY TRIAL DEMANDED, via electronic filing or, if desired, at the e-filing public access terminal in the Self-Help Center at 185 Central Ave., S.W.,
Ground Floor, Room TG300, Atlanta, GA 30303.

                                                                                                         Donald Talley, Chief Clerk (electronic signature)



______________________________________________________________________________________________________________________


SERVICE INFORMATION:
Served, this _______ day of ____________________, 20______.                   _______________________________________________
                                                                               DEPUTY MARSHAL, STATE COURT OF FULTON COUNTY

WRITE VERDICT HERE:
We, the jury, find for ______________________________________________________________________________________________
_______________________________________________________________________________________________________________
This _________ day of _______________________, 20_____.                 ______________________________________ Foreperson


                                                         (STAPLE TO FRONT OF COMPLAINT)
                                                                                                                     State Court of Fulton County
                 Case 1:23-mi-99999-UNA Document 2571-4 Filed 08/11/23 Page 10 of 162                                                  **E-FILED**
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GEORGIA, FULTON COUNTY                                                                        DO NOT WRITE IN THIS SPACE      1/25/2023 12:38 PM
                                                                                                                             Donald Talley, Clerk
                                                                                                                                     Civil Division
STATE COURT OF FULTON COUNTY                                              CIVIL ACTION FILE #: ___________________________
                                                                                                      23EV000464
                 Civil Division



                                                                            TYPE OF SUIT                               AMOUNT OF SUIT
_____________________________________
KATAVIOUS THREATT, Individually
                                                                              [ ] ACCOUNT                   PRINCIPAL $_____________
_____________________________________
and as Next Friend of Niasia Threatt                                          [ ] CONTRACT
                                                                              [ ] NOTE                      INTEREST $______________
_____________________________________
487 Cherry Street, Macon, GA 31201
                                                                              [X ] TORT
Plaintiff’s Name, Address, City, State, Zip Code                              [ ] PERSONAL INJURY          ATTY. FEES $_____________
                                                                              [ ] FOREIGN JUDGMENT
                         vs.                                                  [ ] TROVER                   COURT COST $ ___________
                                                                              [ ] SPECIAL LIEN
                                                                                                   ************
_____________________________________
New Home, LLC                                                                 [ ] NEW FILING
_____________________________________
900 OLD ROSWELL LAKES PKWY SUITE 310                                          [ ] RE-FILING: PREVIOUS CASE NO. ___________________

_____________________________________
ROSWELL GA           30076
Defendant’s Name, Address, City, State, Zip Code

             SUMMONS
TO THE ABOVE NAMED-DEFENDANT:
 You are hereby required to file with the Clerk of said court and to serve a copy on the Plaintiff’s Attorney, or on Plaintiff if no Attorney, to-wit:
Name: ______________________________________________
       ASHLEY CAMERON-BIVINS

Address: ____________________________________________
         487 CHERRY STREET, PO BOX 13
City, State, Zip Code: __________________________________________________
                       MACON, GA 31201                                                                 478-742-8441
                                                                                             Phone No.:___________________________
An answer to this complaint, which is herewith served upon you, must be filed within thirty (30) days after service, not counting the day of service. If you
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Ground Floor, Room TG300, Atlanta, GA 30303.

                                                                                                         Donald Talley, Chief Clerk (electronic signature)



______________________________________________________________________________________________________________________


SERVICE INFORMATION:
Served, this _______ day of ____________________, 20______.                   _______________________________________________
                                                                               DEPUTY MARSHAL, STATE COURT OF FULTON COUNTY

WRITE VERDICT HERE:
We, the jury, find for ______________________________________________________________________________________________
_______________________________________________________________________________________________________________
This _________ day of _______________________, 20_____.                 ______________________________________ Foreperson


                                                         (STAPLE TO FRONT OF COMPLAINT)
                                                                                                                     State Court of Fulton County
                 Case 1:23-mi-99999-UNA Document 2571-4 Filed 08/11/23 Page 11 of 162                                                  **E-FILED**
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GEORGIA, FULTON COUNTY                                                                        DO NOT WRITE IN THIS SPACE      1/25/2023 12:38 PM
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STATE COURT OF FULTON COUNTY                                              CIVIL ACTION FILE #: ___________________________
                                                                                                      23EV000464
                 Civil Division



                                                                            TYPE OF SUIT                               AMOUNT OF SUIT
_____________________________________
KATAVIOUS THREATT, Individually
                                                                              [ ] ACCOUNT                   PRINCIPAL $_____________
_____________________________________
and as Next Friend of Niasia Threatt                                          [ ] CONTRACT
                                                                              [ ] NOTE                      INTEREST $______________
_____________________________________
487 Cherry Street, Macon, GA 31201
                                                                              [X ] TORT
Plaintiff’s Name, Address, City, State, Zip Code                              [ ] PERSONAL INJURY          ATTY. FEES $_____________
                                                                              [ ] FOREIGN JUDGMENT
                         vs.                                                  [ ] TROVER                   COURT COST $ ___________
                                                                              [ ] SPECIAL LIEN
                                                                                                   ************
_____________________________________
New Home, LLC                                                                 [ ] NEW FILING
_____________________________________
900 OLD ROSWELL LAKES PKWY SUITE 310                                          [ ] RE-FILING: PREVIOUS CASE NO. ___________________

_____________________________________
ROSWELL GA           30076
Defendant’s Name, Address, City, State, Zip Code

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 You are hereby required to file with the Clerk of said court and to serve a copy on the Plaintiff’s Attorney, or on Plaintiff if no Attorney, to-wit:
Name: ______________________________________________
       ASHLEY CAMERON-BIVINS

Address: ____________________________________________
         487 CHERRY STREET, PO BOX 13
City, State, Zip Code: __________________________________________________
                       MACON, GA 31201                                                                 478-742-8441
                                                                                             Phone No.:___________________________
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JURY TRIAL DEMANDED, via electronic filing or, if desired, at the e-filing public access terminal in the Self-Help Center at 185 Central Ave., S.W.,
Ground Floor, Room TG300, Atlanta, GA 30303.

                                                                                                         Donald Talley, Chief Clerk (electronic signature)



______________________________________________________________________________________________________________________


SERVICE INFORMATION:
Served, this _______ day of ____________________, 20______.                   _______________________________________________
                                                                               DEPUTY MARSHAL, STATE COURT OF FULTON COUNTY

WRITE VERDICT HERE:
We, the jury, find for ______________________________________________________________________________________________
_______________________________________________________________________________________________________________
This _________ day of _______________________, 20_____.                 ______________________________________ Foreperson


                                                         (STAPLE TO FRONT OF COMPLAINT)
                                                                                                                       State Court of Fulton County
            Case 1:23-mi-99999-UNA Document 2571-4 Filed 08/11/23 Page 12 of 162                                                         **E-FILED**
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                                                                                                                               Donald Talley, Clerk
                                                                                                                                       Civil Division
                                                             AFFIDAVIT OF SERViCE

State of Georgia                                                   County of Fulton                                       State Court

Case Number: 23EVOOO464

    Plaintiff:
    Katavious Threatt, Individually and as Next Friend of Miasia Threat
VS.

Defendant:
New Homes, LLC, Pine Ridge Macon LLC dlb/a Pine Ridge Apartments,
Tiesha Kay and John Does Nos 1-10

    For:
Ashley Cameron-Bivins
Dozier Law Firm, LLC

    Received by Perma Investigations on the 25th day of January, 2023 at 1:35 pm to be served on New homes
LLC clo Registered Agent Solutions Inc, 900 Old Roswell Lakes Parkway, Suite 310, Roswell, GA
30076.

i, Marc Perlson, being duly sworn, depose and say that on the 26th day of January, 2023 at 1:55 pm, I:


served New homes LLC clo Registered Agent Solutions Inc by delivering a true copy of the
Summons, Complaint for Damages to: Registered Agent Solutions Inc as Registered Agent, BY
LEAVING THE SAME WITH Elise Buell as Authorized to Accept at the address of: 900 Old Roswell
Lakes Parkway, Suite 310, Roswell, GA 30076.



Additional Information pertaining to this Service:
1/26/2023 1:55 pm Service was made by leaving the documents with Elise Buell, who is authorized to
accept. She can be described as a white female mid 30's with blond hair about 5'7" tall and weighs 130 lbs


I am an agent of Perma Investigations and am competent in all respects to testify regarding the matters
set forth herein. have personal knowledge of the facts stated herein and know them to be truel have no
                     I




interest in the outcome of this action and am not related to any of the parties. am 18 or more years of            I



age and have been appointed by this Court to serve process.
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                                                                                 Perma Investigations
                                           01                                    2020 Hembree Grove Drive
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                                                                                 Roswell, GA 30076
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        Case 1:23-mi-99999-UNA Document 2571-4 Filed 08/11/23 Page 13 of 162                                                            **E-FILED**
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                                                                                                                              Donald Talley, Clerk
                                                                                                                                      Civil Division
                                                   AFFIDAViT OF SERVICE

State of Georgia                                             County of Fulton                                            State Court

Case Number: 23EVOOO464

Plaintiff:
Katavious Threatt, individually and as Next Friend of Miasia Threat
VS.

Defendant:
New Homes, LLC, Pine Ridge Macon LLC dlbla Pine Ridge Apartments,
Tiesha Kay and John Does Nos 1-10

For:
Ashley CameronBivins
Dozier Law Firm, LLC

Received by Perma investigations on the 25th day of January, 2023 at 1:35 pm to be served on Pine Ridge
Macon LLC dibla Pine Ridge Apartments c/o Mitchell Bagwell, 400 Northridge Rd, Suite 1225, Attanta,
GA 30350.

i, Marc Psrlson, being duly sworn, depose and say that on the 26th day of January, 2023 at 1:30 pm, I:

served Pine Ridge Macon LLC d/b/a Pine Ridge Apartments c/o Mitchell Bagweli by delivering a true copy
of the Summons, Complaint for Damages to: Mitchell Bagweii as Authorized Agent for Pine Ridge
Macon LLC dlbla Pine Ridge Apartments, at the address of: 400 Northridge Rd, Suite 1225, Atianta,
GA 30350,            .




Additional Information pertaining to this Service:
1/26/2023 1:30 pm Service was made by leaving the documents with Mitchell Bagwell. He can be descried
as a white male about 50 years old with salt and pepper hair and weighs about 170 tbs.


l am an agent of Perma investigations and am competent in all respects to testify regarding the matters
set forth herein. have personal knowledge of the facts stated herein and know them tob etrue. have no
                         l                                                                                                l


inter est in the outcome of this action and am not related to any O the parties. am 18 or more years of           !



age and have been appointed by this Court to serve process.
                 l




                                                                                Marc Perison
                                                               8     '
        _


Subscrib d and Sworn to before                                                  Perma
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                                                                                Perma investigations
                                                                                2020 Hemp.ee Grove Drive
NOTARY PiUBLlC               MaiEXPRES                                         Rosweli, GA 3OG?B
                                         GEORGIA                                (770) 6648005
                                            01-10-2027

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Case 1:23-mi-99999-UNA Document 2571-4 Filed 08/11/23 Page 14 of 162        **E-FILED**
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                                                                  Donald Talley, Clerk
                                                                          Civil Division
Case 1:23-mi-99999-UNA Document 2571-4 Filed 08/11/23 Page 15 of 162
                                                                                   State Court of Fulton County
      Case 1:23-mi-99999-UNA Document 2571-4 Filed 08/11/23 Page 16 of 162                           **E-FILED**
                                                                                                    23EV000464
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                                                                                           Donald Talley, Clerk
                                                                                                   Civil Division
                  IN THE STATE COURT OF FULTON COUNTY
                            STATE OF GEORGIA

 KATAVIUS THREATT, Individually                    )
 and as Nex Friend of NIASIA                       )
 THREATT,                                          )
                                                   )
        Plaintiffs,                                )    CIVIL ACTION
                                                   )    FILE NO. 23EV000464
 v.                                                )
                                                   )
 PINE RIDGE MACON, LLC d/b/a                       )
 PINE RIDGE APARTMENTS, NEW                        )
 HOME, LLC, TIESHA KAY, and                        )
 JOHN DOE NOS. 1-10.,                              )
                                                   )
        Defendants.                                )


                      CONSENT MOTION TO OPEN DEFAULT

       COMES NOW Defendants Pine Ridge Macon, LLC (“Pine Ridge”) and New

Home, LLC (“New Home”) with the consent of Plaintiff Katavius Threatt (“Plaintiff”), by

and through counsel, and hereby move this Court by consent and pursuant to O.C.G.A. §

9-11-55 for an order opening default and accepting Defendants Pine Ridge’s and New

Home’s answers and payment of costs. This Consent Motion to Open Default is being

filed to open any default status created by Defendants Pine Ridge’s and New Home’s

failure to file their Answer within thirty (30) days of the filing of the Return of Service.

Plaintiff, Pine Ridge, and New Home consent to default being opened because Defendants

Pine Ridge and New Home have shown excusable neglect and providential cause.

       No judgment has been entered upon the default, so the rule permitting the opening

of default should be liberally applied to allow this action to be decided on its merits.

Therefore, the proper exercise of this Court’s broad discretion is to grant the parties’

Consent Motion to Open Default and allow Defendants Pine Ridge and New Home to
     Case 1:23-mi-99999-UNA Document 2571-4 Filed 08/11/23 Page 17 of 162




answer Plaintiff’s Complaint. Defendants Pine Ridge and New Home are paying all

outstanding court costs contemporaneously with the filing of this Consent Motion.

         Opening default. At any time before final judgment, the court, in its discretion,
         upon payment of costs, may allow the default to be opened for providential cause
         preventing the filing of required pleadings or for excusable neglect or where the
         judge, from all the facts, shall determine that a proper case has been made for the
         default to be opened, on terms to be fixed by the court. In order to allow the default
         to be thus opened, the showing shall be made under oath, shall set up a meritorious
         defense, shall offer to plead instanter, and shall announce ready to proceed with the
         trial.

O.C.G.A. § 9-11-55(b).

I.       THERE IS PROVIDENTIAL CAUSE TO OPEN DEFAULT.

         Providential cause has come to mean a basis for failing to timely answer centered in “events

over which a party or his attorney had no control”. Bowen v. Savoy, 839 S.E.2d 546, 549 (Ga.

2020). This includes, for example, sickness and acts of god. Carhart & Ross & Co. v. Jno. B. Ross

& Co., 15 Ga. 186, 188 (1854) (““Will not even the act of God, sickness, high-waters, or any other

Providential cause, protect him . . .”).

         Here, Defendant Pine Ridge’s registered agent failed to notify Pine Ridge of service until

after more than forty-five days after he had supposedly received service of process. 1 Pine Ridge’s

owner and manager was unaware of any service on Pine Ridge until after this case was already in

default, constituting providential cause because of the mistake by Pine Ridge’s registered agent. 2

Similarly, and inexplicably, New Home’s owner and manager failed to receive notification of

service on its registered agent also constituting providential cause. 3




1
  Affidavit of Akram Wassef, attached as Exhibit “1,” at ¶ 4.
2
  Id., ¶ 6.
3
  Id., ¶¶ 7-8.
       Case 1:23-mi-99999-UNA Document 2571-4 Filed 08/11/23 Page 18 of 162




II.     THERE IS EXCUSABLE NEGLECT TO OPEN DEFAULT.

        Excusable neglect would also substantiate opening the default. Excusable neglect has been

defined as a reasonable excuse of failing to answer, as distinguished from willful disregard of the

process of the Court. Georgia Farm Bldgs, Inc. v. Willard, 170 Ga. App. 327, 317 S.E. 2d 229

(1984). Analysis of whether there is excusable neglect is a fact-specific inquiry to be conducted

on a case-by-case basis. Spikes v. Holloway, 212 Ga. App. 653, 655, 442 S.E.2d 471, 473 (1994).

        As discussed above, there is a reasonable excuse for Pine Ridge’s and New Home’s failure

to file an answer. Although their registered agents seemingly received a copy of the summons and

complaint, the notification failed to reach Pine Ridge and New Home so that a timely response

could be filed. Furthermore, upon learning of this neglect on March 16, 2023, Pine Ridge’s

representative reported this lawsuit to the insurance carrier for Pine Ridge and New Home. 4 This

Motion to Open Default is subsequently being filed within eighteen days of notice. Consequently,

there is a reasonable explanation or excusable neglect to validate the opening of default here.

III.    ALL OTHER REQUIREMENTS TO OPEN DEFAULT ARE MET.

        Pine Ridge’s and New Home’s attached Verified Answers to Plaintiff’s Complaint fulfill

the meritorious defense requirement. 5 Pine Ridge’s and New Home’s Verified Answers also fulfill

their duties to plead instanter and Pine Ridge and New Home request that this Court accept the

attached Verified Answers. without requiring the same to be separately filed upon the opening of

default. Pine Ridge and New Home paid $238.00 in court costs as part of and prior to the filing

of their Motion. Pine Ridge and New Home, by and through the undersigned counsel of record,

announce ready to proceed with trial.



4
 Wassef Affidavit, ¶ 5.
5
 Proposed Verified Answers for Pine Ridge and New Home are attached hereto as Exhibit “2.” Wassef’s
Affidavit verifies Pine Ridge’s and New Home’s Answers. Wassef Affidavit, ¶ 9.
    Case 1:23-mi-99999-UNA Document 2571-4 Filed 08/11/23 Page 19 of 162




       WHEREFORE, the Plaintiff and Defendants Pine Ridge and New Home respectfully

request this Honorable Court grant this Consent Motion to Open Default and enter the Proposed

Order Opening Default.

       Respectfully submitted, this the 3rd day of April, 2023.


 GRAY, RUST, ST. AMAND,                          /s/ Chris J. Perniciaro
 MOFFETT & BRIESKE, L.L.P.                       Matthew G. Moffett
 950 East Paces Ferry Road, N.E.                 Georgia Bar No. 515323
 Suite 1700 – Salesforce Tower Atlanta           Chris J. Perniciaro
 Atlanta, Georgia 30326                          Georgia Bar No. 618477
 Telephone:    (404) 870-7448                    Attorneys for Defendants Pine Ridge
 Facsimile:    (404) 870-1072                    Macon, LLC and New Home, LLC



 CONSENTED TO BY:

                                                 /s/ Ashley Cameron-Bivins
                                                 [Signed w/express permission by Chris
                                                 J. Perniciaro]
                                                 Ashley Cameron-Bivins
                                                 Georgia State Bar No.: 914842
                                                 Attorney for Plaintiff
 DOZIER LAW FIRM, LLC
 487 Cherry Street
 P.O. Box 13
 Macon, GA 31202-0013
 478-742-8441
 ashley@dozierlaw.com
     Case 1:23-mi-99999-UNA Document 2571-4 Filed 08/11/23 Page 20 of 162




                             CERTIFICATE OF SERVICE

       This is to certify that I have this day served a copy of the foregoing CONSENT

MOTION TO OPEN DEFAULT with the Clerk of Court using the Odyssey eFileGA

electronic filing system, which will send electronic notification to the following counsel of

record or in the alternative, via United States Postal Service with adequate postage affixed

thereto to the following:

                               Ashley Cameron-Bivins
                              DOZIER LAW FIRM, LLC
                                 487 Cherry Street
                                    P.O. Box 13
                               Macon, GA 31202-0013



       Respectfully submitted, this the 3rd day of April, 2023.

 GRAY, RUST, ST. AMAND,                            /s/ Chris J. Perniciaro
 MOFFETT & BRIESKE, L.L.P.                         Matthew G. Moffett
 950 East Paces Ferry Road, N.E.                   Georgia Bar No. 515323
 Suite 1700 – Salesforce Tower Atlanta             Chris J. Perniciaro
 Atlanta, Georgia 30326                            Georgia Bar No. 618477
 Telephone:    (404) 870-7448                      Attorneys for Defendant Pine Ridge
 Facsimile:    (404) 870-1072                      Macon, LLC
                                                                                   State Court of Fulton County
      Case 1:23-mi-99999-UNA Document 2571-4 Filed 08/11/23 Page 21 of 162                           **E-FILED**
                                                                                                    23EV000464
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                                                                                           Donald Talley, Clerk
                                                                                                   Civil Division
                      IN THE STATE COURT OF FULTON COUNTY
                                STATE OF GEORGIA

 KATAVIUS THREATT, Individually and as               )
 Next Friend of NIASIA THREATT,                      )
                                                     )
        Plaintiffs,                                  )
                                                     )   CIVIL ACTION
 v.                                                  )   FILE NO. 23EV000464
                                                     )
 PINE RIDGE MACON, LLC d/b/a PINE                    )
 RIDGE APARTMENTS, NEW HOME, LLC,                    )
 TIESHA KAY, and JOHN DOE NOS. 1-10.,                )
                                                     )
        Defendants.                                  )
                                                     )
                                                     )


               DEFENDANT NEW HOME, LLC’S VERIFIED ANSWER TO
                    PLAINTIFF’S COMPLAINT FOR DAMAGES

       COMES NOW New Home, LLC (“New Home”), in the Complaint of Plaintiff Katavius

Threatt, Individually and as Next Friend of Niasia Threatt (hereinafter referred to as “Plaintiff”),

in the above-styled civil action, by and through undersigned counsel, and files this, its Answer and

Defenses thereto, further showing this honorable Court as follows:

                                       FIRST DEFENSE

       Plaintiff’s Complaint fails to state a claim upon which relief can be granted.

                                      SECOND DEFENSE

       Plaintiff’s Complaint may be barred by the statute of limitations.

                                       THIRD DEFENSE

       Defendant has breached no duty owed to Plaintiff or Niasia Threatt.

                                      FOURTH DEFENSE

       If Plaintiff or Niasia Threatt minor sustained any injuries or incurred any damages, the



                                                 1
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same were proximately caused in whole or in part by the acts or omissions of persons other than

Defendant, over whom Defendant had no control, or by the superseding intervention of causes

outside Defendant’s control. Pursuant to O.C.G.A. § 51-12-33, Defendant identifies unknown

assailant(s) that may have shot Niasia Threatt minor or contributed to the injuries as at fault

nonparties for injuring Plaintiff or Niasia Threatt. Defendant identifies these individuals as John

Does #1-3, last known addresses unknown that are at fault nonparties who caused or contributed

to the gunshot injury to Niasia Threatt as a result of their intentional, willful, wanton, reckless,

and/or negligent conduct. This Notice is that nonparties are wholly or partially at fault for the

purpose of having the jury in the trial of this case consider and apportion the intentional actions,

recklessness, negligence, and/or fault of John Does #1-3. Pursuant to this Notice, the intentional

actions, recklessness, negligence, and/or fault of John Does #1-3 shall be considered by the trier

of fact in assessing percentages of fault of all persons or entities who contributed to the personal

injuries of Plaintiff or Niasia Threatt regardless of whether the persons or entities were or could

have been named as parties to this lawsuit. O.C.G.A. §§ 51-12-33(c)-(d).

                                       FIFTH DEFENSE

       This action is or may be barred by the doctrines of contributory/comparative negligence,

equal knowledge, and assumption of the risk.

                                       SIXTH DEFENSE

       Plaintiff may have failed to join an indispensable party under O.C.G.A. § 9-11-19.

                                     SEVENTH DEFENSE

       Defendant asserts the defenses of insufficiency of process and insufficiency of service of

process.




                                                 2
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                                     EIGHTH DEFENSE

       Defendant reserves the right to assert any additional affirmative defenses as may be

disclosed during the course of additional investigation and discovery.

                                                1.

       Paragraph 1 of Plaintiff’s Complaint is admitted.

                                                2.

       Paragraph 2 of Plaintiff’s Complaint is denied.

                                                3.

       Defendant New Home is without knowledge or information sufficient to allow it to either

admit or deny the allegations contained in Paragraph 3 of Plaintiff’s Complaint, which therefore

are denied.

                                                4.

       Defendant New Home is without knowledge or information sufficient to allow it to either

admit or deny the allegations contained in Paragraph 4 of Plaintiff’s Complaint, which therefore

are denied.

                                                5.

       In response to Paragraph 5, Defendant New Home admits that Defendant Pine Ridge

owned the Pine Ridge Apartments on January 20, 2021, and continues to own the premises. All

remaining allegations of Paragraph 5 not expressly admitted herein are denied.




                                                3
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                                                6.

       In response to Paragraph 6, Defendant New Home denies that it owned the Pine Ridge

Apartments on January 20, 2021. All remaining allegations of Paragraph 6 not expressly admitted

herein are denied.

                                                7.

       Defendant New Home is without knowledge or information sufficient to allow it to either

admit or deny the allegations contained in Paragraph 7 of Plaintiff’s Complaint, which therefore

are denied.

                                                8.

       Defendant New Home is without knowledge or information sufficient to allow it to either

admit or deny the allegations contained in Paragraph 8 of Plaintiff’s Complaint, which therefore

are denied.

                                                9.

       Paragraph 9 states a legal conclusion to which no response is owed. To the extent there

are facts alleged in Paragraph 9 of Plaintiff’s Complaint requiring a response, those facts are

denied, including all subparagraphs a) through and including t).

                                               10.

       Paragraph 10 of Plaintiff’s Complaint is denied.

                                               11.

       Paragraph 11 of Plaintiff’s Complaint is denied.




                                                4
    Case 1:23-mi-99999-UNA Document 2571-4 Filed 08/11/23 Page 25 of 162




                                                 12.

          Defendant New Home is without knowledge or information sufficient to allow it to either

admit or deny the allegations contained in Paragraph 12 of Plaintiff’s Complaint, which therefore

are denied.

                                                 13.

          Paragraph 13 states a legal conclusion to which no response is owed. To the extent there

are facts alleged in Paragraph 13 of Plaintiff’s Complaint requiring a response, those facts are

denied.

                                                 14.

          Paragraph 14 states a legal conclusion to which no response is owed. To the extent there

are facts alleged in Paragraph 14 of Plaintiff’s Complaint requiring a response, those facts are

denied.

                                                 15.

          Paragraph 15 states a legal conclusion to which no response is owed.

                                                 16.

          Paragraph 16 states a legal conclusion to which no response is owed. To the extent there

are facts alleged in Paragraph 16 of Plaintiff’s Complaint requiring a response, those facts are

denied.

                                                 17.

          Paragraph 17 states a legal conclusion to which no response is owed. To the extent there

are facts alleged in Paragraph 17 of Plaintiff’s Complaint requiring a response, those facts are

denied.




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       In response to Plaintiff’s unnumbered WHEREFORE paragraph following Paragraph 17,

Defendant New Home denies any and all facts and allegations contained therein requiring a

response.



       WHEREFORE, having fully responded to the averments in Plaintiff’s Complaint for

Damages, Defendant New Home, LLC, respectfully prays:

       (a)    That judgment is rendered in favor of New Home, LLC and against Plaintiff;

       (b)    That New Home, LLC be discharged with all costs cast against Plaintiff;

       (c)    That this matter be tried by a jury of twelve persons regarding any issues not

              subject to summary adjudication; and

       (d)    For such other and further relief as is just and proper.


       Respectfully submitted, this the 3rd day of April, 2023.

 GRAY, RUST, ST. AMAND,                             /s/ Chris J. Perniciaro
 MOFFETT & BRIESKE, L.L.P.                          Matthew G. Moffett
 950 East Paces Ferry Road, N.E.                    Georgia Bar No. 515323
 Suite 1700 – Salesforce Tower Atlanta              Chris J. Perniciaro
 Atlanta, Georgia 30326                             Georgia Bar No. 618477
 Telephone:    (404) 870-7448                       Attorneys for Defendant New Home, LLC
 Facsimile:    (404) 870-1072




                                                6
     Case 1:23-mi-99999-UNA Document 2571-4 Filed 08/11/23 Page 27 of 162




                                 CERTIFICATE OF SERVICE

       This is to certify that I have this day served a copy of the foregoing DEFENDANT NEW

HOME, LLC’S VERIFIED ANSWER AND DEFENSES TO PLAINTIFF’S COMPLAINT

FOR DAMAGES with the Clerk of Court using the Odyssey eFileGA electronic filing system,

which will send electronic notification to the following counsel of record or in the alternative, via

United States Postal Service with adequate postage affixed thereto to the following:

                                   Ashley Cameron-Bivins
                                  DOZIER LAW FIRM, LLC
                                     487 Cherry Street
                                        P.O. Box 13
                                   Macon, GA 31202-0013


       Respectfully submitted, this the 3rd day of April, 2023.

 GRAY, RUST, ST. AMAND,                              /s/ Chris J. Perniciaro
 MOFFETT & BRIESKE, L.L.P.                           Matthew G. Moffett
 950 East Paces Ferry Road, N.E.                     Georgia Bar No. 515323
 Suite 1700 – Salesforce Tower Atlanta               Chris J. Perniciaro
 Atlanta, Georgia 30326                              Georgia Bar No. 618477
 Telephone:    (404) 870-7448                        Attorneys for Defendant New Home, LLC
 Facsimile:    (404) 870-1072




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                                                                               State Court of Fulton County
      Case 1:23-mi-99999-UNA Document 2571-4 Filed 08/11/23 Page 28 of 162                       **E-FILED**
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                                                                                       Donald Talley, Clerk
                                                                                               Civil Division
                      IN THE STATE COURT OF FULTON COUNTY
                                STATE OF GEORGIA

 KATAVIUS THREATT, Individually and as            )
 Next Friend of NIASIA THREATT,                   )
                                                  )
        Plaintiffs,                               )
                                                  )   CIVIL ACTION
 v.                                               )   FILE NO. 23EV000464
                                                  )
 PINE RIDGE MACON, LLC d/b/a PINE                 )
 RIDGE APARTMENTS, NEW HOME, LLC,                 )
 TIESHA KAY, and JOHN DOE NOS. 1-10.,             )
                                                  )
        Defendants.                               )
                                                  )
                                                  )


                           DEFENDANT NEW HOME, LLC’S
                         DEMAND FOR TWELVE PERSON JURY

       COMES NOW New Home, LLC (“Defendant”), in the Complaint of Plaintiff Katavius

Threatt, Individually and as Next Friend of Niasia Threatt, by and through undersigned counsel,

pursuant to O.C.G.A. § 15-12-122(a)(2), and hereby demands that this case be tried by a jury of

twelve persons.

       Respectfully submitted, this the 3rd day of April, 2023.


 GRAY, RUST, ST. AMAND,                          /s/ Chris J. Perniciaro
 MOFFETT & BRIESKE, LLP                          Matthew G. Moffett
 950 East Paces Ferry Road, N.E.                 Georgia Bar No. 515323
 Suite 1700 – Salesforce Tower Atlanta           Chris J. Perniciaro
 Atlanta, Georgia 30326                          Georgia Bar No. 618477
 Telephone:    (404) 870-7448                    Attorneys for Defendant New Home, LLC
 Facsimile:    (404) 870-1072
     Case 1:23-mi-99999-UNA Document 2571-4 Filed 08/11/23 Page 29 of 162




                                    CERTIFICATE OF SERVICE

       This is to certify that I have this day filed a copy of the foregoing DEFENDANT NEW

HOME, LLC’S DEMAND FOR TWELVE PERSON JURY with the Clerk of Court using the

Odyssey eFileGA electronic filing system, which will send electronic notification to the following

counsel of record or in the alternative, via United States Postal Service with adequate postage

affixed thereto to the following:

                                      Ashley Cameron-Bivins
                                     DOZIER LAW FIRM, LLC
                                        487 Cherry Street
                                           P.O. Box 13
                                      Macon, GA 31202-0013

       Respectfully submitted, this the 3rd day of April, 2023.

 GRAY, RUST, ST. AMAND,                           /s/ Chris J. Perniciaro
 MOFFETT & BRIESKE, L.L.P.                        Matthew G. Moffett
 950 East Paces Ferry Road, N.E.                  Georgia Bar No. 515323
 Suite 1700 – Salesforce Tower Atlanta            Chris J. Perniciaro
 Atlanta, Georgia 30326                           Georgia Bar No. 618477
 Telephone:    (404) 870-7448                     Attorneys for Defendant New Home, LLC
 Facsimile:    (404) 870-1072
                                                                                      State Court of Fulton County
      Case 1:23-mi-99999-UNA Document 2571-4 Filed 08/11/23 Page 30 of 162                              **E-FILED**
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                                                                                              Donald Talley, Clerk
                                                                                                      Civil Division
                       IN THE STATE COURT OF FULTON COUNTY
                                 STATE OF GEORGIA

 KATAVIUS THREATT, Individually and as                )
 Nex Friend of NIASIA THREATT,                        )
                                                      )
         Plaintiffs,                                  )
                                                      )   CIVIL ACTION
 v.                                                   )   FILE NO. 23EV000464
                                                      )
 PINE RIDGE MACON, LLC d/b/a PINE                     )
 RIDGE APARTMENTS, NEW HOME, LLC,                     )
 TIESHA KAY, and JOHN DOE NOS. 1-10.,                 )
                                                      )
         Defendants.                                  )
                                                      )
                                                      )


         DEFENDANT PINE RIDGE MACON, LLC’S VERIFIED ANSWER TO
                 PLAINTIFF’S COMPLAINT FOR DAMAGES

       COMES NOW Pine Ridge Macon, LLC (“Pine Ridge”), in the Complaint of Plaintiff

Katavius Threatt, Individually and as Next Friend of Niasia Threatt (hereinafter referred to as

“Plaintiff”), in the above-styled civil action, by and through undersigned counsel, and files this, its

Answer and Defenses thereto, further showing this honorable Court as follows:

                                         FIRST DEFENSE

       Plaintiff’s Complaint fails to state a claim upon which relief can be granted.

                                       SECOND DEFENSE

       Plaintiff’s Complaint may be barred by the statute of limitations.

                                        THIRD DEFENSE

       Defendant has breached no duty owed to Plaintiff or Niasia Threatt.

                                       FOURTH DEFENSE

       If Plaintiff or Niasia Threatt minor sustained any injuries or incurred any damages, the



                                                  1
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same were proximately caused in whole or in part by the acts or omissions of persons other than

Defendant, over whom Defendant had no control, or by the superseding intervention of causes

outside Defendant’s control. Pursuant to O.C.G.A. § 51-12-33, Defendant identifies unknown

assailant(s) that may have shot Niasia Threatt minor or contributed to the injuries as at fault

nonparties for injuring Plaintiff or Niasia Threatt. Defendant identifies these individuals as John

Does #1-3, last known addresses unknown that are at fault nonparties who caused or contributed

to the gunshot injury to Niasia Threatt as a result of their intentional, willful, wanton, reckless,

and/or negligent conduct. This Notice is that nonparties are wholly or partially at fault for the

purpose of having the jury in the trial of this case consider and apportion the intentional actions,

recklessness, negligence, and/or fault of John Does #1-3. Pursuant to this Notice, the intentional

actions, recklessness, negligence, and/or fault of John Does #1-3 shall be considered by the trier

of fact in assessing percentages of fault of all persons or entities who contributed to the personal

injuries of Plaintiff or Niasia Threatt regardless of whether the persons or entities were or could

have been named as parties to this lawsuit. O.C.G.A. §§ 51-12-33(c)-(d).

                                       FIFTH DEFENSE

       This action is or may be barred by the doctrines of contributory/comparative negligence,

equal knowledge, and assumption of the risk.

                                       SIXTH DEFENSE

       Plaintiff may have failed to join an indispensable party under O.C.G.A. § 9-11-19.

                                     SEVENTH DEFENSE

       Defendant asserts the defenses of insufficiency of process and insufficiency of service of

process.




                                                 2
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                                     EIGHTH DEFENSE

       Defendant reserves the right to assert any additional affirmative defenses as may be

disclosed during the course of additional investigation and discovery.

                                                1.

       Paragraph 1 of Plaintiff’s Complaint is admitted.

                                                2.

       Paragraph 2 of Plaintiff’s Complaint is denied.

                                                3.

       Defendant Pine Ridge is without knowledge or information sufficient to allow it to either

admit or deny the allegations contained in Paragraph 3 of Plaintiff’s Complaint, which therefore

are denied.

                                                4.

       Defendant Pine Ridge is without knowledge or information sufficient to allow it to either

admit or deny the allegations contained in Paragraph 4 of Plaintiff’s Complaint, which therefore

are denied.

                                                5.

       In response to Paragraph 5, Defendant Pine Ridge admits that it owned the Pine Ridge

Apartments on January 20, 2021, and continues to own the premises. All remaining allegations of

Paragraph 5 not expressly admitted herein are denied.




                                                3
    Case 1:23-mi-99999-UNA Document 2571-4 Filed 08/11/23 Page 33 of 162




                                                6.

       In response to Paragraph 6, Defendant Pine Ridge denies that Defendant New Home owned

the Pine Ridge Apartments on January 20, 2021. All remaining allegations of Paragraph 6 not

expressly admitted herein are denied.

                                                7.

       Defendant Pine Ridge is without knowledge or information sufficient to allow it to either

admit or deny the allegations contained in Paragraph 7 of Plaintiff’s Complaint, which therefore

are denied.

                                                8.

       Defendant Pine Ridge is without knowledge or information sufficient to allow it to either

admit or deny the allegations contained in Paragraph 8 of Plaintiff’s Complaint, which therefore

are denied.

                                                9.

       Paragraph 9 states a legal conclusion to which no response is owed. To the extent there

are facts alleged in Paragraph 9 of Plaintiff’s Complaint requiring a response, those facts are

denied, including all subparagraphs a) through and including t).

                                               10.

       Paragraph 10 of Plaintiff’s Complaint is denied.

                                               11.

       Paragraph 11 of Plaintiff’s Complaint is denied.




                                                4
    Case 1:23-mi-99999-UNA Document 2571-4 Filed 08/11/23 Page 34 of 162




                                                 12.

          Defendant New Home is without knowledge or information sufficient to allow it to either

admit or deny the allegations contained in Paragraph 12 of Plaintiff’s Complaint, which therefore

are denied.

                                                 13.

          Paragraph 13 states a legal conclusion to which no response is owed. To the extent there

are facts alleged in Paragraph 13 of Plaintiff’s Complaint requiring a response, those facts are

denied.

                                                 14.

          Paragraph 14 states a legal conclusion to which no response is owed. To the extent there

are facts alleged in Paragraph 14 of Plaintiff’s Complaint requiring a response, those facts are

denied.

                                                 15.

          Paragraph 15 states a legal conclusion to which no response is owed.

                                                 16.

          Paragraph 16 states a legal conclusion to which no response is owed. To the extent there

are facts alleged in Paragraph 16 of Plaintiff’s Complaint requiring a response, those facts are

denied.

                                                 17.

          Paragraph 17 states a legal conclusion to which no response is owed. To the extent there

are facts alleged in Paragraph 17 of Plaintiff’s Complaint requiring a response, those facts are

denied.




                                                  5
    Case 1:23-mi-99999-UNA Document 2571-4 Filed 08/11/23 Page 35 of 162




       In response to Plaintiff’s unnumbered WHEREFORE paragraph following Paragraph 17,

Defendant Pine Ridge denies any and all facts and allegations contained therein requiring a

response.



       WHEREFORE, having fully responded to the averments in Plaintiff’s Complaint for

Damages, Defendant Pine Ridge Macon, LLC, respectfully prays:

       (a)    That judgment is rendered in favor of Pine Ridge Macon, LLC and against

              Plaintiff;

       (b)    That Pine Ridge Macon, LLC be discharged with all costs cast against Plaintiff;

       (c)    That this matter be tried by a jury of twelve persons regarding any issues not

              subject to summary adjudication; and

       (d)    For such other and further relief as is just and proper.


       Respectfully submitted, this the 3rd day of April, 2023.

 GRAY, RUST, ST. AMAND,                             /s/ Chris J. Perniciaro
 MOFFETT & BRIESKE, L.L.P.                          Matthew G. Moffett
 950 East Paces Ferry Road, N.E.                    Georgia Bar No. 515323
 Suite 1700 – Salesforce Tower Atlanta              Chris J. Perniciaro
 Atlanta, Georgia 30326                             Georgia Bar No. 618477
 Telephone:    (404) 870-7448                       Attorneys for Defendant Pine Ridge Macon,
 Facsimile:    (404) 870-1072                       LLC




                                                6
     Case 1:23-mi-99999-UNA Document 2571-4 Filed 08/11/23 Page 36 of 162




                                 CERTIFICATE OF SERVICE

       This is to certify that I have this day served a copy of the foregoing DEFENDANT PINE

RIDGE MACON, LLC’S VERIFIED ANSWER AND DEFENSES TO PLAINTIFF’S

COMPLAINT FOR DAMAGES with the Clerk of Court using the Odyssey eFileGA electronic

filing system, which will send electronic notification to the following counsel of record or in the

alternative, via United States Postal Service with adequate postage affixed thereto to the following:

                                   Ashley Cameron-Bivins
                                  DOZIER LAW FIRM, LLC
                                     487 Cherry Street
                                        P.O. Box 13
                                   Macon, GA 31202-0013



       Respectfully submitted, this the 3rd day of April, 2023.

 GRAY, RUST, ST. AMAND,                              /s/ Chris J. Perniciaro
 MOFFETT & BRIESKE, L.L.P.                           Matthew G. Moffett
 950 East Paces Ferry Road, N.E.                     Georgia Bar No. 515323
 Suite 1700 – Salesforce Tower Atlanta               Chris J. Perniciaro
 Atlanta, Georgia 30326                              Georgia Bar No. 618477
 Telephone:    (404) 870-7448                        Attorneys for Defendant Pine Ridge Macon,
 Facsimile:    (404) 870-1072                        LLC




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                                                                                State Court of Fulton County
      Case 1:23-mi-99999-UNA Document 2571-4 Filed 08/11/23 Page 37 of 162                        **E-FILED**
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                                                                                                Civil Division
                      IN THE STATE COURT OF FULTON COUNTY
                                STATE OF GEORGIA

 KATAVIUS THREATT, Individually and as            )
 Next Friend of NIASIA THREATT,                   )
                                                  )
        Plaintiffs,                               )
                                                  )   CIVIL ACTION
 v.                                               )   FILE NO. 23EV000464
                                                  )
 PINE RIDGE MACON, LLC d/b/a PINE                 )
 RIDGE APARTMENTS, NEW HOME, LLC,                 )
 TIESHA KAY, and JOHN DOE NOS. 1-10.,             )
                                                  )
        Defendants.                               )
                                                  )
                                                  )


                          DEFENDANT PINE RIDGE MACON, LLC’S
                           DEMAND FOR TWELVE PERSON JURY

       COMES NOW Pine Ridge Macon, LLC (“Defendant”), in the Complaint of Plaintiff

Katavius Threatt, Individually and as Next Friend of Niasia Threatt, by and through undersigned

counsel, pursuant to O.C.G.A. § 15-12-122(a)(2), and hereby demands that this case be tried by a

jury of twelve persons.

       Respectfully submitted, this the 3rd day of April, 2023.


 GRAY, RUST, ST. AMAND,                          /s/ Chris J. Perniciaro
 MOFFETT & BRIESKE, LLP                          Matthew G. Moffett
 950 East Paces Ferry Road, N.E.                 Georgia Bar No. 515323
 Suite 1700 – Salesforce Tower Atlanta           Chris J. Perniciaro
 Atlanta, Georgia 30326                          Georgia Bar No. 618477
 Telephone:    (404) 870-7448                    Attorneys for Defendant New Home, LLC
 Facsimile:    (404) 870-1072
     Case 1:23-mi-99999-UNA Document 2571-4 Filed 08/11/23 Page 38 of 162




                                CERTIFICATE OF SERVICE

       This is to certify that I have this day filed a copy of the foregoing DEFENDANT PINE

RIDGE MACON, LLC’S DEMAND FOR TWELVE PERSON JURY with the Clerk of Court

using the Odyssey eFileGA electronic filing system, which will send electronic notification to the

following counsel of record or in the alternative, via United States Postal Service with adequate

postage affixed thereto to the following:

                                   Ashley Cameron-Bivins
                                  DOZIER LAW FIRM, LLC
                                     487 Cherry Street
                                        P.O. Box 13
                                   Macon, GA 31202-0013

       Respectfully submitted, this the 3rd day of April, 2023.

 GRAY, RUST, ST. AMAND,                           /s/ Chris J. Perniciaro
 MOFFETT & BRIESKE, L.L.P.                        Matthew G. Moffett
 950 East Paces Ferry Road, N.E.                  Georgia Bar No. 515323
 Suite 1700 – Salesforce Tower Atlanta            Chris J. Perniciaro
 Atlanta, Georgia 30326                           Georgia Bar No. 618477
 Telephone:    (404) 870-7448                     Attorneys for Defendant New Home, LLC
 Facsimile:    (404) 870-1072
                                                                                State Court of Fulton County
      Case 1:23-mi-99999-UNA Document 2571-4 Filed 08/11/23 Page 39 of 162                        **E-FILED**
                                                                                                 23EV000464
                                                                                          4/3/2023 12:39 PM
                                                                                        Donald Talley, Clerk
                                                                                                Civil Division
                      IN THE STATE COURT OF FULTON COUNTY
                                STATE OF GEORGIA

 KATAVIUS THREATT, Individually and as            )
 Nex Friend of NIASIA THREATT,                    )
                                                  )
        Plaintiffs,                               )
                                                  )       CIVIL ACTION
 v.                                               )       FILE NO. 23EV000464
                                                  )
 PINE RIDGE MACON, LLC d/b/a PINE                 )
 RIDGE APARTMENTS, NEW HOME, LLC,                 )
 TIESHA KAY, and JOHN DOE NOS. 1-10.,             )
                                                  )
        Defendants.                               )
                                                  )
                                                  )


                  ORDER ON CONSENT MOTION TO OPEN DEFAULT

       Pursuant to O.C.G.A. § 9-11-55, the Court hereby ORDERS that Consent Motion to Open

Default, submitted by Defendants Pine Ridge Macon, LLC and New Home, LLC with the consent

of Plaintiff, be in all respects GRANTED.

       The Court ORDERS that default be opened as to Defendants Pine Ridge Macon, LLC and

New Home, LLC and that Defendants Pine Ridge Macon, LLC’s and New Home, LLC’s

previously filed verified answers and payment of costs are accepted.

       SO ORDERED, this ____ day of ______________, 2023.



                                                      ________________________________
                                                      Honorable
                                                      Judge, State Court of Fulton County
Prepared by:
/s/ Chris J. Perniciaro
Chris J. Perniciaro
Georgia Bar No. 618477
Gray, Rust, St. Amand, Moffett, & Brieske, LLP
950 East Paces Ferry Rd., N.E. Suite 1700-Salesforce Tower Atlanta


                                            Page 1 of 2
    Case 1:23-mi-99999-UNA Document 2571-4 Filed 08/11/23 Page 40 of 162




Atlanta, Georgia 30326
Attorney for Defendants Pine Ridge Macon, LLC and New Home, LLC

 CONSENTED TO BY:

                                            /s/ Ashley Cameron-Bivins
                                            (Signed w/express permission by Chris J.
                                            Perniciaro, Esq]
                                            Ashley Cameron-Bivins
                                            Georgia State Bar No.: 914842
                                            Attorney for Plaintiff
 DOZIER LAW FIRM, LLC
 487 Cherry Street
 P.O. Box 13
 Macon, GA 31202-0013
 478-742-8441
 ashley@dozierlaw.com




                                      Page 2 of 2
                                                                                State Court of Fulton County
      Case 1:23-mi-99999-UNA Document 2571-4 Filed 08/11/23 Page 41 of 162                        **E-FILED**
                                                                                                 23EV000464
                                                                                            4/4/2023 8:14 PM
                                                                                        Donald Talley, Clerk
                                                                                                Civil Division
                      IN THE STATE COURT OF FULTON COUNTY
                                STATE OF GEORGIA

 KATAVIUS THREATT, Individually and as            )
 Nex Friend of NIASIA THREATT,                    )
                                                  )
        Plaintiffs,                               )
                                                  )       CIVIL ACTION
 v.                                               )       FILE NO. 23EV000464
                                                  )
 PINE RIDGE MACON, LLC d/b/a PINE                 )
 RIDGE APARTMENTS, NEW HOME, LLC,                 )
 TIESHA KAY, and JOHN DOE NOS. 1-10.,             )
                                                  )
        Defendants.                               )
                                                  )
                                                  )


                  ORDER ON CONSENT MOTION TO OPEN DEFAULT

       Pursuant to O.C.G.A. § 9-11-55, the Court hereby ORDERS that Consent Motion to Open

Default, submitted by Defendants Pine Ridge Macon, LLC and New Home, LLC with the consent

of Plaintiff, be in all respects GRANTED.

       The Court ORDERS that default be opened as to Defendants Pine Ridge Macon, LLC and

New Home, LLC and that Defendants Pine Ridge Macon, LLC’s and New Home, LLC’s

previously filed verified answers and payment of costs are accepted.

       SO ORDERED, this ____ day of ______________, 2023.



                                                      ________________________________
                                                      Honorable
                                                      Judge, State Court of Fulton County
Prepared by:
/s/ Chris J. Perniciaro
Chris J. Perniciaro
Georgia Bar No. 618477
Gray, Rust, St. Amand, Moffett, & Brieske, LLP
950 East Paces Ferry Rd., N.E. Suite 1700-Salesforce Tower Atlanta


                                            Page 1 of 2
    Case 1:23-mi-99999-UNA Document 2571-4 Filed 08/11/23 Page 42 of 162




Atlanta, Georgia 30326
Attorney for Defendants Pine Ridge Macon, LLC and New Home, LLC

 CONSENTED TO BY:

                                            /s/ Ashley Cameron-Bivins
                                            (Signed w/express permission by Chris J.
                                            Perniciaro, Esq]
                                            Ashley Cameron-Bivins
                                            Georgia State Bar No.: 914842
                                            Attorney for Plaintiff
 DOZIER LAW FIRM, LLC
 487 Cherry Street
 P.O. Box 13
 Macon, GA 31202-0013
 478-742-8441
 ashley@dozierlaw.com




                                      Page 2 of 2
                                                                                     State Court of Fulton County
      Case 1:23-mi-99999-UNA Document 2571-4 Filed 08/11/23 Page 43 of 162                             **E-FILED**
                                                                                                      23EV000464
                                                                                                 4/6/2023 2:07 PM
                                                                                             Donald Talley, Clerk
                                                                                                     Civil Division
TO:            All Judges, Clerks of Court, and Counsel of Record

FROM:          Matthew G. Moffett, Esq.
               GRAY, RUST, ST. AMAND, MOFFETT & BRIESKE, L.L.P.

RE:            Notice of Leave of Absence

DATE:          April 6, 2023


         COMES NOW Matthew G. Moffett and respectfully notifies all Judges before whom he

has cases pending, all affected Clerks of Court, and all Opposing Counsel, that he will be on leave

pursuant to Georgia Uniform Court Rule 16. See the attached Exhibit “A” for the list of pending

cases.

         1.    The period of leave during which time Applicant will be away from the practice of

               law is:

               •         May 5, 2023: Daughter’s graduation event – out of town;
               •         June 6-7, 2023: SP+ Counsel meeting;
               •         June 14-16, and June 19, 2023: Georgia Defense Lawyers Association
                         annual meeting – out of town;
               •         July 24-28, 2023: Federation of Defense and Corporate Counsel annual
                         meeting – out of town;
               •         August 23-25, 2023: GDLA Trial Academy faculty; and
               •         October 19-20, 2023: Out of town - family event.


         2.    All affected judges and opposing counsel shall have ten days from the date of this

               Notice to object to it. If no objections are filed, the leave shall be granted.




                                            Page 1 of 3
   Case 1:23-mi-99999-UNA Document 2571-4 Filed 08/11/23 Page 44 of 162




      Respectfully submitted, this the 6th day of April, 2023.

GRAY, RUST, ST. AMAND,
MOFFETT & BRIESKE, L.L.P.
950 East Paces Ferry Road, N.E.                  /s/ Matthew G. Moffett
Suite 1700 – Salesforce Tower Atlanta            Matthew G. Moffett
Atlanta, Georgia 30326                           Georgia Bar No. 515323
Telephone:    (404) 870-7390
Facsimile:    (404) 870-1030




                                          Page 2 of 3
     Case 1:23-mi-99999-UNA Document 2571-4 Filed 08/11/23 Page 45 of 162




                                  CERTIFICATE OF SERVICE

        This is to certify that I have this day served a copy of the foregoing Notice of Leave of

Absence with the Clerk of Court, using the Court’s electronic filing-and-service system, which will

send electronic notification to all parties having appeared of record in this action for the case listed

on the attached “Exhibit A.”



        Respectfully submitted, this 6th day of April, 2023.


 GRAY, RUST, ST. AMAND,
 MOFFETT & BRIESKE, L.L.P.
 950 East Paces Ferry Road, N.E.                     /s/ Matthew G. Moffett
 Suite 1700 – Salesforce Tower Atlanta               Matthew G. Moffett
 Atlanta, Georgia 30326                              Georgia Bar No. 515323
 Telephone:    (404) 870-7390
 Facsimile:    (404) 870-1030




                                             Page 3 of 3
       Case 1:23-mi-99999-UNA Document 2571-4 Filed 08/11/23 Page 46 of 162

                                   Matthew G. Moffett, Esq.
                                 Leave of Absence - Exhibit A
                             Cases Listed by Court and Alphabetically

 State Court of Fulton County                  Judge                       Opposing Counsel

Katavius Threatt, Individually    Honorable Fred C. Eady            Ashley Cameron-Bivins, Esq.
and as Next Friend of Niasia      Judge, State Court of Fulton      DOZIER LAW FIRM, LLC
Threatt v. Pine Ridge Macon,      County                            487 Cherry Street
LLC d/b/a Pine Ridge              185 Central Ave SW                P.O. Box 13
Apartments, New Home, LLC,        Courtroom 3B/T-3755               Macon, Georgia 31202-0013
Tiesha Kay, and John Doe Nos.     Atlanta, GA 30303                 Email: ashley@dozierlaw.com
1-10

23EV000464

Our File No. 4460.0042




                                            Page 1 of 1
                                                                               State Court of Fulton County
    Case 1:23-mi-99999-UNA Document 2571-4 Filed 08/11/23 Page 47 of 162                         **E-FILED**
                                                                                                23EV000464
                                                                                         4/7/2023 12:53 PM
                                                                                       Donald Talley, Clerk
                                                                                               Civil Division
                    IN THE STATE COURT OF FULTON COUNTY
                              STATE OF GEORGIA

KATAVIUS THREATT, Individually and as)
Next Friend of NIASIA THREATT,       )
                                     )
      Plaintiffs,                    )
                                     )               CIVIL ACTION
v.                                   )               FILE NO. 23EV000464
                                     )
PINE RIDGE MACON, LLC d/b/a PINE     )
RIDGE APARTMENTS, NEW HOME, LLC, )
TIESHA KAY, and JOHN DOE NOS. 1-10., )
                                     )
      Defendants.                    )
                                     )
                                     )

        RULE 5.2 CERTIFICATE OF SERVICE OF DISCOVERY MATERIALS

       THIS CERTIFIES that pursuant to Uniform Rule of State Court 5.2, I have this day

served a copy of the following discovery documents upon counsel in the above-styled action:

       1. Defendant Pine Ridge Macon, LLC d/b/a Pine Ridge Apartments’ First
          Continuing Interrogatories to Plaintiff Katavius Threatt, Individually and as
          Next Friend of Niasia Threatt; and

       2. Defendant Pine Ridge Macon, LLC d/b/a Pine Ridge Apartments’ Request for
          Production of Documents and Things to Plaintiff Katavius Threatt, Individually
          and as Next Friend of Niasia Threatt

       Respectfully submitted this 7th day of April, 2023.

GRAY, RUST, ST. AMAND,
MOFFETT & BRIESKE, L.L.P.                        /s/ Chris J. Perniciaro
950 East Paces Ferry Road, N.E.                  Matthew G. Moffett
Suite 1700 – Salesforce Tower Atlanta            Georgia State Bar No.: 515323
Atlanta, Georgia 30326                           Chris J. Perniciaro
Telephone: (404) 870-7448                        Georgia State Bar No.: 618477
Facsimile:    (404) 870-1030                     Attorneys for Pine Ridge Macon, LLC d/b/a
                                                 Pine Ridge Apartments and New Home, LLC




                                          Page 1 of 2
     Case 1:23-mi-99999-UNA Document 2571-4 Filed 08/11/23 Page 48 of 162




                                 CERTIFICATE OF SERVICE

       This is to certify that I have this day served a copy of the foregoing RULE 5.2

CERTIFICATE OF SERVICE OF DISCOVERY MATERIALS with the Clerk of Court using

the Court’s electronic filing-and-service system, which will send electronic notification to all

parties having appeared of record in this action:

                                   Ashley Cameron-Bivins
                                  DOZIER LAW FIRM, LLC
                                     487 Cherry Street
                                        P.O. Box 13
                                   Macon, GA 31202-0013

       Dated this 7th day of April, 2023.

GRAY, RUST, ST. AMAND,
MOFFETT & BRIESKE, L.L.P.                           /s/ Chris J. Perniciaro
950 East Paces Ferry Road, N.E.                     Matthew G. Moffett
Suite 1700 – Salesforce Tower Atlanta               Georgia State Bar No.: 515323
Atlanta, Georgia 30326                              Chris J. Perniciaro
Telephone: (404) 870-7448                           Georgia State Bar No.: 618477
Facsimile:    (404) 870-1030                        Attorneys for Pine Ridge Macon, LLC d/b/a
                                                    Pine Ridge Apartments and New Home, LLC




                                            Page 2 of 2
                                                           State Court of Fulton County
Case 1:23-mi-99999-UNA Document 2571-4 Filed 08/11/23 Page 49 of 162         **E-FILED**
                                                                            23EV000464
                                                                     5/23/2023 1:16 PM
                                                                   Donald Talley, Clerk
                                                                           Civil Division
                                                           State Court of Fulton County
Case 1:23-mi-99999-UNA Document 2571-4 Filed 08/11/23 Page 50 of 162         **E-FILED**
                                                                            23EV000464
                                                                    5/24/2023 12:24 PM
                                                                   Donald Talley, Clerk
                                                                           Civil Division
                                                                                      State Court of Fulton County
      Case 1:23-mi-99999-UNA Document 2571-4 Filed 08/11/23 Page 51 of 162                              **E-FILED**
                                                                                                       23EV000464
                                                                                                6/20/2023 1:17 PM
                                                                                              Donald Talley, Clerk
                                                                                                      Civil Division
TO:             All Judges, Clerks of Court, and Counsel of Record

FROM:           Matthew G. Moffett, Esq.
                GRAY, RUST, ST. AMAND, MOFFETT & BRIESKE, L.L.P.

RE:             Notice of Leave of Absence

DATE:           June 20, 2023


         COMES NOW Matthew G. Moffett and respectfully notifies all Judges before whom he

has cases pending, all affected Clerks of Court, and all Opposing Counsel, that he will be on leave

pursuant to Georgia Uniform Court Rule 16. See the attached Exhibit “A” for the list of pending

cases.

         1.     The period of leave during which time Applicant will be away from the practice of

                law is:

                •         July 24-28, 2023: Federation of Defense and Corporate Counsel annual
                          meeting – out of town;
                •         August 23-25, 2023: GDLA Trial Academy - faculty;
                •         September 21-22, 2023: Client seminar;
                •         September 25-29 and October 2-6, 2023: Anniversary trip; and
                •         October 19-20, 2023: Out of town - family event.


         2.     All affected judges and opposing counsel shall have ten days from the date of this

                Notice to object to it. If no objections are filed, the leave shall be granted.

         Respectfully submitted, this the 20th day of June, 2023.

 GRAY, RUST, ST. AMAND,
 MOFFETT & BRIESKE, L.L.P.
 950 East Paces Ferry Road, N.E.                     /s/ Matthew G. Moffett
 Suite 1700 – Salesforce Tower Atlanta               Matthew G. Moffett
 Atlanta, Georgia 30326                              Georgia Bar No. 515323
 Telephone:    (404) 870-7390
 Facsimile:    (404) 870-1030



                                             Page 1 of 2
     Case 1:23-mi-99999-UNA Document 2571-4 Filed 08/11/23 Page 52 of 162




                                  CERTIFICATE OF SERVICE

        This is to certify that I have this day served a copy of the foregoing Notice of Leave of

Absence with the Clerk of Court, using the Court’s electronic filing-and-service system, which will

send electronic notification to all parties having appeared of record in this action for the case listed

on the attached “Exhibit A.”



        Respectfully submitted, this 20th day of June, 2023.


 GRAY, RUST, ST. AMAND,
 MOFFETT & BRIESKE, L.L.P.
 950 East Paces Ferry Road, N.E.                     /s/ Matthew G. Moffett
 Suite 1700 – Salesforce Tower Atlanta               Matthew G. Moffett
 Atlanta, Georgia 30326                              Georgia Bar No. 515323
 Telephone:    (404) 870-7390
 Facsimile:    (404) 870-1030




                                             Page 2 of 2
          Case 1:23-mi-99999-UNA Document 2571-4 Filed 08/11/23 Page 53 of 162
                                                Matthew G. Moffett, Esq.
                                              Leave of Absence - Exhibit A
                                          Cases Listed by Court and Alphabetically

State Court of Clayton County             Judge                                      Opposing Counsel


Krista Barnes v.                          Honorable Tammi Hayward                    J. Martin Futrell, Esq.
Pilotwastesolutions.com, LLC and Jaime    Judge, State Court of Clayton County       WLG ATLANTA, LLC
Rechy                                     Harold R. Banke Justice Center             Bank of America Plaza
                                          9151 Tara Boulevard                        600 Peachtree Street NE, Suite 4010
2022CV01659                               Room 3JC402                                Atlanta, Georgia 30308
                                          Jonesboro, GA 30236                        Email:
Our File No. 4468.0015                                                               martin.futrell@witheritelaw.com
Calvin Brown v. The Kroger Co., CRS       Honorable Tammi Long Hayward               Michael Johnson, Esq.
Center T1C 1 LLC, Michael Ferguson,       Judge, State Court of Clayton County       MORGAN & MORGAN ATLANTA
ABC Corp 1-3, and John Doe 1-3            9151 Tara Boulevard                        PLLC
                                          Room 3JC402                                Post Office Box 57007
2022CV01175                               Jonesboro, Georgia 30236                   Atlanta, Georgia 30343-1007
                                                                                     Email: majohnson@forthepeople.com
Our File No. 3558.0545
                                                                                     Gwendolyn D. Havlik, Esq.
                                                                                     DREW ECKL & FARNHAM, LLP
                                                                                     303 Peachtree St., NE, Suite 3500
                                                                                     Atlanta, Georgia 30308
                                                                                     Email: havlikg@deflaw.com

Joan Livermore, as Administrator of the   Honorable Tammi Hayward                    Miranda N. Hanley, Esq.
Estate of Mary Chappell v. Mission        Judge, State Court of Clayton County       SMITH, WELCH, WEBB & WHITE,
Health Communities, LLC, Mission          Harold R. Banke Justice Center             LLC
Health of Georgia, LLC and Arrowhead      9151 Tara Boulevard                        280 Country Club Drive
Operator, LLC                             Room 3JC402                                Suite 300
                                          Jonesboro, GA 30236                        Stockbridge, GA 30281
2021CV01695                                                                          Email: mhanley@smithwelchlaw.com

Our File No. 3530.0022
Bennie Evans v. John Henderson, Jr.,      Honorable Tammi Hayward                    Dwayne L. Brown, Esq.
Bhugesh Investments, LLC and Chubb        Judge, State Court of Clayton County       LAW OFFICE OF DWAYNE L.
Insurance Company                         Harold R. Banke Justice Center             BROWN
                                          9151 Tara Boulevard                        3390 Peachtree Road, Suite 1100
2022CV02437                               Jonesboro, GA 30236                        Atlanta, Georgia 30326
                                                                                     Email: dbrown@dbrownatty.com
Our File No. 4021.0002
                                                                                     Marriah N. Paige, Esq.
                                                                                     Joshua S. Wood, Esq.
                                                                                     WEINBERG WHEELER HUDGINS
                                                                                     GUNN & DIAL, LLC
                                                                                     3344 Peachtree Road NE, Suite 2400
                                                                                     Atlanta, Georgia 30326
                                                                                     Email: jwood@wwhgd.com
                                                                                     Email: mpaige@wwhgd.com

John Goodman v. The Kroger Co. and        Honorable Michael T. Garrett               Richard D. Hobbs, Esq.
Joseph Powell                             Judge, State Court of Clayton County       RICHARD D. HOBBS AND
                                          Harold R. Banke Justice Center             ASSOCIATES P.C.
2022CV00810                               9151 Tara Boulevard                        101 Devant Street, Suite 403
                                          Room 3JC102                                Fayetteville, GA 30214
Our File No. 3558.0539                    Jonesboro, GA 30236                        Email: thelitigator@bellsouth.net




                                                       Page 1 of 38
           Case 1:23-mi-99999-UNA Document 2571-4 Filed 08/11/23 Page 54 of 162
                                                Matthew G. Moffett, Esq.
                                              Leave of Absence - Exhibit A
                                          Cases Listed by Court and Alphabetically


B.J., An Adult Female v. Park at Tara     Honorable Tammy Hayward                    Shean D. Williams, Esq.
Lake Owner, LLC                           Judge, State Court of Clayton County       Samuel L. Starks, Esq.
Pinnacle Property Management              Harold R. Banke Justice Center             Sydni S. Marshall, Esq.
Services, LLC, Rich Camacho and XYZ       9151 Tara Boulevard                        THE COCHRAN FIRM-ATLANTA
Security                                  Room 3JC402                                100 Peachtree Street, NW
                                          Jonesboro, GA 30236                        Suite 2600
2022CV02082                                                                          Atlanta, GA 30303
                                                                                     Email: SWilliams@cochranfirmatl.com
Our File No. 3556.0435                                                               Email:
                                                                                     sstarks@cochranfirmatl.com
                                                                                     Email: smarshall@cochranfirmatl.com
E.J., An Adult Female v. Park at Tara     Honorable M. Garrett                       Shean D. Williams, Esq.
Lake Owner, LLC, Pinnacle Property        Judge, State Court of Clayton County       Samuel L. Starks, Esq.
Management Services, LLC, Rich            Harold R. Banke Justice Center             Sydni S. Marshall, Esq.
Camacho and XYZ Security                  9151 Tara Boulevard                        THE COCHRAN FIRM-ATLANTA
                                          Room 3JC402                                100 Peachtree Street, NW
2022CV02084                               Jonesboro, GA 30236                        Suite 2600
                                                                                     Atlanta, GA 30303
Our File No. 3556.0435                                                               Email: SWilliams@cochranfirmatl.com
                                                                                     Email:
                                                                                     sstarks@cochranfirmatl.com
                                                                                     Email: smarshall@cochranfirmatl.com
Andrew Kaiser, ESQ. as the                Honorable Michael T. Garrett               Darren W. Penn, Esq.
Administrator of the Estate of Leonardo   Judge, State Court of Clayton County       PENN LAW GROUP LLC
De Jesus Vazquez and Leonardo De          Harold R. Banke Justice Center             4200 Northside Parkway, NW
Jesus Santiago Individually, and as the   9151 Tara Boulevard                        Building One, Suite 100
Parent of Leonardo De Jesus Vazquez v.    Room 3JC102                                Atlanta, Georgia 30327
Kroger, et al.                            Jonesboro, GA 30236                        Email: Darren@pennlawgroup.com

2019CV00978                                                                          Ms. Alexandra Catherine Cole, Esq.
                                                                                     David N. Dreyer, Esq.
Our File No. 3556.0433                                                               PENN LAW LLC
                                                                                     Building One Suite 100
                                                                                     4200 Northside Parkway NW
                                                                                     Atlanta, Georgia 30327
                                                                                     Email: sachi@pennlawgroup.com

                                                                                     Uchenna Ekuma-Nkama, Esq.
                                                                                     Matthew Martin, Esq.
                                                                                     DENTONS US LLP
                                                                                     303 Peachtree Street NE Suite 5300
                                                                                     Atlanta, Georgia 30308
                                                                                     Email: uchenna.ekuma-
                                                                                     nkama@dentons.com
                                                                                     Email: Matt.martin@dentons.com

                                                                                     Gerardo (Jerry) Alcazar, Esq.
                                                                                     Blackwell Burke PA
                                                                                     421 South Seventh St. Ste. 2500
                                                                                     Minneapolis, MN 55414
                                                                                     Email: galcazar@blackwellburke.com

                                                                                     Charles M. McDaniel, Jr., Esq.
                                                                                     CARLOCK, COPELAND & STAIR,


                                                       Page 2 of 38
           Case 1:23-mi-99999-UNA Document 2571-4 Filed 08/11/23 Page 55 of 162
                                                Matthew G. Moffett, Esq.
                                              Leave of Absence - Exhibit A
                                          Cases Listed by Court and Alphabetically

                                                                                     LLP
                                                                                     191 Peachtree Tower, Suite 3600
                                                                                     Atlanta, GA 30303
                                                                                     Email:
                                                                                     cmcdaniel@carlockcopeland.com

                                                                                     K. Chris Collins, Esq.
                                                                                     HUSCH BLACKWELL LLP
                                                                                     736 Georgia Ave, Ste 300
                                                                                     Chattanooga, TN 37402-2059
                                                                                     Email:
                                                                                     Chris.collins@huschblackwell.com

                                                                                     James Felton Taylor III
                                                                                     James William Hardee
                                                                                     FAIN MAJOR & BRENNAN P.C.
                                                                                     100 Glenridge Point Pkwy
                                                                                     Suite 500
                                                                                     Atlanta, GA 30342-1440
                                                                                     Email: jtaylor@fainmajor.com
                                                                                     Email: jhardee@fainmajor.com

                                                                                     Scott D. Huray, Esq.
                                                                                     LEWIS BRISBOIS, BISGAARD &
                                                                                     SMITH, LLP
                                                                                     600 Peachtree St., NE
                                                                                     Suite 4700
                                                                                     Atlanta, Georgia 30308
                                                                                     Email: scott.huray@lewisbrisbois.com

                                                                                     Matthew George McLaughlin, Esq.
                                                                                     MCLAUGHLIN LAW FIRM
                                                                                     11575 Great Oaks Way Suite 100
                                                                                     Alpharetta, GA 30022
                                                                                     Email: mamclaughlin@mgmesq.com

Alberta Saunders v. Sabatini Atlanta      Honorable Sonyja George                    Shellea D.Crochet, Esq.
Enterprises, Inc.; The Kroger Co.; and    Judge, State Court of Clayton County       MORGAN & MORGAN ATLANTA
Elijah Joel Cantrell                      9151 Tara Boulevard                        PLLC
                                          Room 3JC101                                191 Peachtree Street, N.E.
2023CV00568                               Jonesboro, GA 30236                        Suite 4200
                                                                                     Atlanta, Georgia 30303
Our File Number: 3558.0588                                                           Email: scrochet@forthepeople.com
Ralph Brandon Shepard III v. Stonecrest   Honorable Tammi Hayward                    Shean D. Williams, Esq.
Heights Community Association, Inc.,      Judge, State Court of Clayton County       Samuel L. Starks, Esq.
Community Management Associates,          Harold R. Banke Justice Center             Sydni S. Marshall, Esq.
Inc., Annmarie Dallen, Gary Boykins,      9151 Tara Boulevard                        THE COCHRAN FIRM ATLANTA
Sr., and John Doe Security Company        Jonesboro, GA 30236                        100 Peachtree Street, NW
                                                                                     Suite 2600
2021CV01295                                                                          Atlanta, GA 30303
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Our File No. 3011.0012                                                               Email: sstarks@cochranfirmatl.com
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                                                                                     William T. Mitchell, Esq.



                                                       Page 3 of 38
          Case 1:23-mi-99999-UNA Document 2571-4 Filed 08/11/23 Page 56 of 162
                                               Matthew G. Moffett, Esq.
                                             Leave of Absence - Exhibit A
                                         Cases Listed by Court and Alphabetically

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Nadra Williams, Individually and as      Honorable Linda S. Cowen                   Marla Eastwood, Esq.
Administrator of The Estate of Curtis    Judge, State Court of Clayton County       Daniel Beer, Esq.
Monroe Williams, Deceased, and as        Harold R. Banke Justice Center             SHIVER HAMILTON
Natural Born Child and Surviving Next    9151 Tara Boulevard                        3490 Piedmont Rd. NE, Suite 640
of Kin of Curtis Monroe Williams,        Room 3JC101                                Atlanta, GA 30305
Deceased, and Yolanda Georges, Markia    Jonesboro, GA 30236                        Email: marla@shiverhamilton.com
Williams, and Curtis Williams, Jr.,                                                 Email: daniel@shiverhamilton.com
Individually and as Natural Born
Children and Surviving Next of Kin of                                               Taylor Hanks, Esq.
Curtis Monroe Williams, Deceased v.                                                 Andrew D. Horowitz, Esq.
A1 Contracting, LLC, Luna General                                                   DREW, ECKL & FARNHAM
Construction, Inc., City of Union City                                              303 Peachtree Street, NE, Suite 3500
                                                                                    Atlanta, GA 30308
2020CV00374                                                                         Email: hankst@deflaw.com

Our File No. 3230.0001                                                              Daniel J. Kingsley, Esq.
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Vivian D. Williams v. Atonies London     Honorable Michael Garrett                  Paul B. Mazur, Esq.
and Jamco Properties, Inc., and Woods    Judge, State Court of Clayton County       PAUL B. MAZUR, P.C.
at Southlake, LLC and John Does 1 – 3    9151 Tara Boulevard                        44 Broad Street, N.W.
                                         Jonesboro, GA 30236                        Suite 600
2017CV02072                                                                         Atlanta, GA 30303
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Our File No. 3556.0414
                                                                                    John D. Hadden, Esq.
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           Case 1:23-mi-99999-UNA Document 2571-4 Filed 08/11/23 Page 57 of 162
                                                 Matthew G. Moffett, Esq.
                                               Leave of Absence - Exhibit A
                                           Cases Listed by Court and Alphabetically

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Superior Court of Clayton County           Judge                                      Opposing Counsel


Dianne Rheinschmidt and David              Honorable Geronda V. Carter                Justin Oliverio, Esq.
Rheinschmidt v. The Kroger Co. and         Judge, Superior Court of Clayton County    THE MILLAR LAW FIRM
Shomari Spencer                            9151 Tara Boulevard                        151 N. Main Street
                                           Room 4JC401                                Jonesboro, GA 30236
2021CV03410-09                             Jonesboro, Georgia 30236                   Email: justin@atlantaadvocate.com

Our File No. 3558.0512

State Court of Coweta County               Judge                                      Opposing Counsel


James English and Rebecca English vs.      Judge John Herbert Cranford                Bhrett J. Pizza, Esq.
Elite Burgers, LLC d/b/a Wendy’s           72 Greenville Street                       BHRETT J. PIZZA, ATTORNEY AT
                                           Coweta County Justice Center               LAW, P.C.
22SV0316E                                  P.O. Box 1925                              216 Alexander Street
                                           Newnan, Georgia 30264                      Marietta, Georgia 30060
Our File No. 16000.0644                                                               Email: pizzalawga@hotmail.com
Christopher Hofmann v. Dewayne             Honorable Seay Vanpatten Poulakos          Riley W. Snider, Esq.
Lamont Hand, Sunbelt Rentals, Inc., and    Judge, State Court of Coweta County        Jason B. Green, Esq.
Travelers Property Casualty Company of     72 Greenville Street                       MORGAN & MORGAN ATLANTA
America                                    P.O. Box 1925                              PLLC
                                           Newnan, GA 30264                           178 South Main Street
21SV0527E                                                                             Unit 300
                                                                                      Alpharetta, GA 30009
Our File No. 3562.0017                                                                Email: rsnider@forthepeople.com
                                                                                      Email: jgreen@forthepeople.com
State Court of DeKalb County               Judge                                      Opposing Counsel


Cedric Asher and Charees Asher v.          Honorable Mike Jacobs                      Stephen R. Fowler
Frederick North and Zurix Building         Judge, State Court of DeKalb County        M. Andrew Echols
Solutions, LLC                             556 N. McDonough St.                       The Fowler Firm, LLC
                                           Suite 3230                                 Peachtree 25th Building
23A00379                                   Decatur, GA 30030                          1720 Peachtree Street NW
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Our File No. 853.0040                                                                 Atlanta, GA 30309
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Isjonle Shuntay Aught, Individually, and   Honorable Janis C. Gordon                  Michael A. Prieto, Esq.
as Anticipated Administrator of the        Judge, State Court of DeKalb County        Jonathan Marigliano, Esq.
Estate of Devora Aught v.                  556 N McDonough Street                     Joan M. Woolley, Esq.



                                                        Page 5 of 38
           Case 1:23-mi-99999-UNA Document 2571-4 Filed 08/11/23 Page 58 of 162
                                                Matthew G. Moffett, Esq.
                                              Leave of Absence - Exhibit A
                                          Cases Listed by Court and Alphabetically

Meadowbrook Operator, LLC d/b/a           Suite 300                                  PRIETO, MARIGLIANO, HOLBERT
Meadowbrook Health and Rehab;             Decatur, Georgia 30030                     & PRIETO, LLC
Mission Health of Georgia, LLC;                                                      1555 Mount Vernon Road
John/Jane Does I and II; and ABC                                                     Atlanta, GA 30338
Corporation                                                                          Email: mprieto@pmhplaw.com
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20A81596                                                                             Email: jwoolley@pmhplaw.com

Our Case No. 3530.0020
Brandon Avila v. FCCI Insurance           Honorable Johnny Panos                     Zachary S. Shewmaker, Esq.
Company, Road Tested Parts, LLC, and      Judge, State Court of DeKalb County        Jarrett L. Miller, Esq.
Kenric Heard,                             556 N. McDonough St.                       HORST SHEWMAKER, LLC
23A01706                                  Suite 2230                                 10745 Westside Way, Suite 165
Our File No. 853.0042                     Decatur, GA 30030                          Alpharetta, Georgia 30009
Kelly Blake and William Blake as parent   Honorable Kimberly K. Anderson             R. Randy Edwards, Esq.
and natural guardians of William Blake,   Judge, State Court of DeKalb County        COCHRAN & EDWARDS, LLC
Jr a minor v. Dynamo Pool                 556 N. McDonough St                        2950 Atlanta Road SE
Management, Inc.                          Suite 2210                                 Smyrna, GA 30080
                                          Decatur, GA 30030                          Email:
21A03053                                                                             randy@cochranedwardslaw.com
                                                                                     Email: eric@cochranedwardslaw.com
Our File No. 3024.0035
Joel Dobbins vs. J&S Specialty            Honorable Kimberly Anderson                Michael L. Goldberg, Esq.
Services, LLC d/b/a Jimmy’s Tequila &     Judge, State Court of DeKalb County        Eric J.D. Rogers, Esq.
Carnes and Calaveritas Holdings, LLC      DeKalb County Courthouse                   Daniel J. Kingsley, Esq.
d/b/a Jimmy’s Tequila & Carnes            556 N. McDonough St.                       Three Alliance Center
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22A02699                                  Decatur, GA 30030                          Atlanta, Georgia 30326-4302
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Our File No. 3011.0021                                                               Email: eric@friedgoldberg.com
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Christian Escalera v. The Kroger Co.,     Honorable Kimberly K. Anderson             Michael L. Goldberg, Esq.
ACE American Insurance Company, and       Judge, State Court of DeKalb County        Eric J.D. Rogers, Esq.
Quitavis Scandrett                        556 N. McDonough St.                       Daniel J. Kingsley, Esq.
                                          Suite 2210                                 FRIED GOLDBERG, LLC
23A00501                                  Decatur, GA 30030                          Three Alliance Center
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Our File No. 3558.0583                                                               Atlanta, Georgia 30326-4302
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Jennifer Giles, Individually, and as      Honorable Dax E. Lopez                     Michael A. Prieto, Esq.
Administrator of the Estate of Barbara    Judge, State Court of DeKalb County        William F. Holbert, Esq.
Giles, Deceased, v.                       DeKalb County Courthouse                   Elizabeth Evinger, Esq.
Meadowbrook Operator, LLC d/b/a           556 N. McDonough Street                    PRIETO, MARIGLIANO,
Meadowbrook Health and Rehab;             Suite 3240                                 HOLBERT & PRIETO, LLC
Mission Health of Georgia, LLC;           Decatur, GA 30030                          1555 Mount Vernon Road
Georgia Long Term Care and                                                           Atlanta, GA 30338


                                                       Page 6 of 38
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                                               Matthew G. Moffett, Esq.
                                             Leave of Absence - Exhibit A
                                         Cases Listed by Court and Alphabetically

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Frinks, MD; Chae Lee, NP; John/Jane                                                 Email: bholbert@prnhplaw.com
Does I and II; and ABC Corporation                                                  Email: eevinger@pmhplaw.com

21A01880                                                                            Heather H. Miller, Esq.
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Our File No. 3530.0021                                                              MCGREW MILLER BOMAR &
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Gabriel Green v. Confidential Security   Honorable Mike Jacobs                      Jeffry M. Dougan, Esq.
Agency Inc., Department of Health and    Judge, State Court of DeKalb County        PRINCENTHAL, MAY & WILSON,
Human Services, CGL Facility             556 N McDonough Street                     LLC
Management, LLC, and John Does 1-3       Suite 3230                                 750 Hammond Drive
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21A-00427                                                                           Sandy Springs, Georgia 30328
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Our File No. 3556.0451
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LaRon Harper v. The Kroger Co.,          Honorable Kimberly A. Alexander            Jameson Sackey, Esq.
Southern Cleaning Service Inc., Teresa   Judge, State Court of DeKalb County        MONGE & ASSOCIATES
Jackson, and John Doe 3                  556 N. McDonough St.                       8205 Dunwoody Place, Building 19
                                         Suite 2220                                 Atlanta, Georgia 30350
20A83911                                 Decatur, GA 30030                          Email: Jameson@Monge.Lawyer

Our File No. 3558.0485

Marie Hughes, as Administrator of the    Honorable Ana Maria Martinez               Jeff P. Shiver, Esq.
Estate of George Hughes, deceased v.     Judge, State Court of Dekalb County        SHIVER HAMILTON, LLC
Venetian Hills Apartments, LLC and       556 N. McDonough Street                    One Securities Centre
John Maughan                             Suite 3240                                 3490 Piedmont Rd., NE
                                         Decatur, GA 30030                          Suite 640
19A73694                                                                            Atlanta, GA 30305
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Our File No. 528.0001
                                                                                    Warner S. Fox, Esq.
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                                                      Page 7 of 38
           Case 1:23-mi-99999-UNA Document 2571-4 Filed 08/11/23 Page 60 of 162
                                                Matthew G. Moffett, Esq.
                                              Leave of Absence - Exhibit A
                                          Cases Listed by Court and Alphabetically

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LaJuna Jarrell, individually and as       Honorable Alvin T. Wong                    Jonathan W. Johnson, Esq.
Administrator of the Estate of Ahmaud     Judge, State Court of Dekalb County        JONATHAN W. JOHNSON, LLC
Jarrell, deceased v. The Forest at        DeKalb County Courthouse                   2296 Henderson Mill Road, Suite 406
Columbia 2019, LP, The Forest at          556 N. McDonough Street                    Atlanta, Georgia 30345
Columbia, LLC, Yellow Stone Group,        Decatur, GA 30030                          Email:
LLC, XYZ Corporations 1-3 and John                                                   jwj@jonathanjohnsonatlantalawyer.co
Does 1-3                                                                             m

23A00093                                                                             S.K. Rod Dixon, Esq.
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Our File No. 531.0002                                                                The Waterstone, Suite 272
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Alecia B. Kelley, Carlos R. Henry III,    Honorable Kimberly A. Alexander            Alan G. Parker
Steven Middlebrooks, Jahlil Hill-         Judge, State Court of DeKalb County        ALAN PARKER LAW FIRM, LLC
Armstrong v. MDA Prime, LLC, Sadiya       556 N. McDonough St.                       226 North McDonough Street, Suite A
Investments Inc.                          Suite 2220                                 Jonesboro, Georgia 30236
                                          Decatur, GA 30030                          Email: Parkerlaw1983@gmail.com
22A02654
                                                                                     Jerald R. Hanks, Esq.
Our File No. 3525.0023                                                               Brando G. Day, Esq.
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Shenia Moore, Individually as Surviving   Honorable Alvin T. Wong                    Gretchen H. Wagner, Esq.
Daughter of Florence Moore, deceased,     Judge, State Court of DeKalb County        Katherine G. Hughes, Esq.


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           Case 1:23-mi-99999-UNA Document 2571-4 Filed 08/11/23 Page 61 of 162
                                                Matthew G. Moffett, Esq.
                                              Leave of Absence - Exhibit A
                                          Cases Listed by Court and Alphabetically

and as Anticipated Administrator of the   DeKalb County Courthouse                   WAGNER HUGHES, LLC
Estate of Florence Moore, deceased, v.    556 N. McDonough Street                    2860 Piedmont Rd., NE
Meadowbrook Operator, LLC d/b/a           Suite 2240                                 Suite 130
Meadowbrook Health and Rehab,             Decatur, GA 30030                          Atlanta, GA 30305
Mission Health of Georgia, LLC. GBD,                                                 Email:
LLC, Frederick K. Youngman, John                                                     gwagner@wagnerhugheslaw.com
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22A03147

Our File No. 3530.0030

Shakera Reese, as mother and natural      Honorable Alvin T. Wong                    Shean D. Williams, Esq.
parent of Samiya Reese, a minor, and      Judge, State Court of DeKalb County        Gary B. Andrews, Esq.
Sariyah Reese, a minor v. CC Clarkston,   556 N. McDonough Street                    Sydni S. Marshall, Esq.
LLC, Alexander Properties Group, Inc.,    Suite 2240                                 THE COCHRAN FIRM – ATLANTA
et al.                                    Decatur, GA 30030                          100 Peachtree Street, NW
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Our File No. 4460.0026                                                               Email: gandrews@cochranfirmatl.com
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Kaaliyah Smith v. Barclay Blanchard       Honorable Wayne M. Purdom                  R. Lee Page, Jr., Esq.
and Jean Blanchard                        Judge, State Court of DeKalb County        FARAH & FARAH, P.A.
                                          556 N. McDonough St.                       2310 Parklake Drive, NE
23A00542                                  Suite 3220                                 Suite 262
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Our File No. 504.1125                                                                Email: Rlp-
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Augusta Starling v. The Kroger Co., and   Honorable Johnny Panos                     Minerva A. Steele, Esq.
Ariel Belvedere Owner Holdings, LLC,      Judge, State Court of DeKalb County        Steele Law, LLC
and Ariel Belvedere Owner, LLC, 1045,     3rd Floor Administrative Tower             3340 Peachtree Road
LLC, CBRE, Inc., John Doe Company         556 N. McDonough St. #300                  Suite 1800
and John Doe                              Decatur, GA 30030                          Atlanta, GA 30326


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                                                 Matthew G. Moffett, Esq.
                                               Leave of Absence - Exhibit A
                                           Cases Listed by Court and Alphabetically

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22A01456
                                                                                      Brian F. Williams, Esq.
Our File No. 3558.0544                                                                John H.A. Brogdon, Esq.
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Willie Swift and Glenn Ellis v. Rahmell    Honorable Kimberly Anderson                James A. Rice, Jr., Esq.
Mitchell, G’s Hauling LLC, and Graphic     Judge, State Court of DeKalb County        JAMES A. RICE, JR., P.C.
Arts Mutual Insurance Company              556 N. McDonough St.                       563 Spring Street, NW
                                           Suite 2210                                 Atlanta, GA 30308
20A81176                                   Decatur, GA 30030                          Email: jim@ricefirm.com

Our File No. 16000.0630                                                               Wayne S. Melnick Esq.
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Detral Treadwell and Lillie Treadwell v.   Honorable Kimberly A. Alexander            Danielle B. Obiorah, Esq.
The Kroger Company                         Judge, State Court of DeKalb County        Teri D. Fields, Esq.
                                           556 N. McDonough St.                       OBIORAH FIELDS, LLC
19A74711                                   Suite 2220                                 157 South McDonough Street
                                           Decatur, GA 30030                          Jonesboro, GA 30236
Our File No. 3558.0420                                                                Email: dbo@obiorahfields.com
Carolyn Wilson v. The Kroger Company       Honorable Kimberly Anderson                Michael A. Baskin, Esq.
                                           Judge, State Court of DeKalb County        THE BASKIN LAW GROUP, P.C.
22A02632                                   556 N. McDonough St.                       Peachtree Center North Tower
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Our File No. 3558.0569                     Decatur, GA 30030                          Atlanta, GA 30303
                                                                                      Email: mbaskin@baskinlg.com
Superior Court of DeKalb County            Judge                                      Opposing Counsel

Georgia Insurers Insolvency Pool           Honorable Tangela Barrie                   Michael J. Gorby, Esq.
v. Modivcare Solutions, LLC f/k/a          Judge, Superior Court of DeKalb County     Amy C. M. Burns, Esq.
Logisticare Solutions, LLC                 556 North McDonough Street                 Whitney B. Arp, Esq.
                                           Room 5230                                  GORBY, PETERS & ASSOCIATES,
21CV9783                                   Decatur, GA 30030                          LLC
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Our File No. 3523.0001                                                                Atlanta, GA 30328
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Catrina Langston v. The Kroger Co.         Honorable Nora Polk                        Brandon Price-Crum, Esq.
                                           Judge, Superior Court of DeKalb County     SERIOUS INJURY LAW GROUP, PC
22CV3947                                   556 North McDonough Street                 2901 Zelda Road
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Dionna Mccord, as Surviving Natural        Honorable Nora Polk                        Natalee Drummond-Fairley, Esq.


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                                                Matthew G. Moffett, Esq.
                                              Leave of Absence - Exhibit A
                                          Cases Listed by Court and Alphabetically

Parent and Administrator of The Estate    Judge, Superior Court of DeKalb County     THE FAIRLEY FIRM, LLC
of Dy'shea Hall v.                        556 North McDonough Street                 1745 Phoenix Boulevard, Suite 400
Sabatini Atlanta Enterprises, Inc., The   Room 6210                                  Atlanta, Georgia 30349
Kroger Co. and Michael Mongo              Decatur, GA 30030                          Email: natalee@fairleyfirm.com

23CV2713                                                                             Michael D. Johnson, Esq.
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Micah Smith, Individually V. David                                                   Terry D. Jackson
Clark & Antonio Valenzuela,                                                          TERRY D. JACKSON, P.C.
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Individually, And John & Jane Doe
Individuals & Entities (1-3),                                                        Patrick J. O’Connor
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MICAH SMITH, Individually, and as                                                    Andrew Lampros, Esq.



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           Case 1:23-mi-99999-UNA Document 2571-4 Filed 08/11/23 Page 64 of 162
                                                Matthew G. Moffett, Esq.
                                              Leave of Absence - Exhibit A
                                          Cases Listed by Court and Alphabetically

the Court Appointed Personal                                                         Patrick J. Hannon, Esq.
Administrator of The Estate of                                                       HALL & LAMPROS, LLP
SYDNEY SMITH,                                                                        400 Galleria Pkwy, Suite 1150
                                                                                     Atlanta, GA 30339
v.                                                                                   Email: alampros@hallandlampros.com
                                                                                     Email: patrick@hallandlampros.com
Ann Herrera, The Court Appointed
Personal Administrator Of The Estate Of                                              Terry D. Jackson, Esq.
Robert Steven Smith, David Clark &                                                   TERRY D. JACKSON, P.C.
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Doe Individuals & Entities (1-3),                                                    Hilliard V. Castilla, Esq.
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19CV8282                                                                             WALDON ADELMAN CASTILLA,
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AND                                                                                  900 Circle 75 Parkway, Suite 1040
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ANN HERRERA, the Court Appointed                                                     hcastilla@wachp.com
Personal Administrator of the Estate of                                              mhurst@wachp.com
ROBERT STEVEN SMITH,
                                                                                     Patrick J. O’Connor, Esq.
Cross-Claim & Third Party Plaintiff,                                                 Joey Logan-Pugh, Esq.
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v.                                                                                   OFFICE OF THE FULTON COUNTY
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And Jane Doe and Jane Doe, Individuals                                               Maren R. Cave, Esq.
& Entities (1-3) and John Doe,                                                       Jennifer Nichols, Esq.
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Shana Williams v. The Kroger Co.          Honorable Mark Anthony Scott               Randolph Frails, Esq.
                                          Judge, Superior Court of DeKalb County     Edwin A. Wilson, Esq.
22CV9696                                  556 North McDonough Street                 Stacy Y. Norris, Esq.
                                          Decatur, GA 30030                          FRAILS & WILSON, LLC
Our File No. 3558.0575                                                               211 Pleasant Home Road, Suite A-1



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          Case 1:23-mi-99999-UNA Document 2571-4 Filed 08/11/23 Page 65 of 162
                                               Matthew G. Moffett, Esq.
                                             Leave of Absence - Exhibit A
                                         Cases Listed by Court and Alphabetically

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State Court of Forsyth County            Judge                                      Opposing Counsel

Daniel Mygrant v. Reid & Reid            Honorable T. Russell McClelland            Peter A. Law, Esq.
Construction, LLC, Reid & Reid           Judge, State Court of Forsyth County       E. Michael Moran, Esq.
Contractors, LLLP and Dylan Lane Reid    101 East Courthouse Square                 Brian C. Kaplan, Esq.
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Superior Court of Forsyth County         Judge                                      Opposing Counsel

Sudhakar Malapati v. Atlanta Gas Light   Honorable Phillip C. Smith                 Harold L. Johnson, Esq.
Company, Southern Company Gas,           Judge, Superior Court of Forsyth County    WAKHISI-DOUGLAS, LLC
Southeast Connections LLC, Artera        101 East Courthouse Square                 2002 Summit Blvd.
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21CV-1116-1                                                                         Email: hljohnson@wd-law.net

Our File No. 4486.0004                                                              Daniel J. Huff, Esq.
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                                               Matthew G. Moffett, Esq.
                                             Leave of Absence - Exhibit A
                                         Cases Listed by Court and Alphabetically

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State Court of Fulton County             Judge                                      Opposing Counsel


Lamar Astin v. Hickory Park, LTD (L.P)   Honorable Myra H. Dixon                    Brian C. Mickelsen, Esq.
and Ledic Realty Management, LLC,        Judge, State Court of Fulton County        MICKELSEN DALTON, LLC
now known as Envolve Community           185 Central Avenue, SW                     25 Society Street
Management, LLC d/b/a/ Envolve           Suite T-3655                               Charleston, SC 29401
Community Services, LLC, and Envolve     Atlanta, Georgia 30303                     Email: brian@mickelsendalton.com
Community Management, LLC d/b/a
Envolve Community Services, LLC and
Lisa Martin-Poore, Olivia Lewis, and
John Does 1-10

21EV007502

Our File No. 3525.0004
Linwood Burns and Octavia Burns v.       Honorable Susan E. Edlein                  Matthew B. Stoddard, Esq.
Great Divide Insurance Company,          Judge, State Court of Fulton County        Keith N. Evra, Esq.
Prewett Enterprises, Inc. d/b/a B&P      Justice Center Tower, Suite 2655           THE STODDARD FIRM
Enterprises, and Larry Dorsey            185 Central Avenue, SW                     1534 N. Decatur Rd., NE
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Our File No. 4468.0003                                                              Email: pleadings@legalhelpga.com

Johnny Butts v. David Crooke, Georgia    Honorable Susan E. Edlein                  Michael M. Smith, Esq.
Power Company, Asplundh Tree Expert,     Judge, State Court of Fulton County        CLARK & SMITH LAW FIRM, LLC
Llc, Kendall Vegetation                  185 Central Ave SW,                        150 College Street
Services d/b/a Seelbach And              Atlanta, GA 30303                          Macon, Georgia 31201
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Service Company, LLC And
Gunnison Tree Services, LLC                                                         Callie D. Bryan, Esquire
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                                              Matthew G. Moffett, Esq.
                                            Leave of Absence - Exhibit A
                                        Cases Listed by Court and Alphabetically

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Earlin Clemmons v. Dolly Enterprises,   Honorable Patsy Y. Porter                  Andre Dennis, Esq.
Inc.                                    Judge, State Court of Fulton County        Rian Banks, Esq.
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Community Association Underwriters of   Honorable John R. Mather                   Katrina L. Williams Watson, Esq.
America, Inc. 2 Caufield Place          Judge, State Court of Fulton County        THE WILLIAMS WATSON LAW
Newtown, PA 18940 v. Thrasher           185 Central Ave SW                         FIRM, LLC
Electric, LLC, d/b/a TE Certified       Atlanta, GA 30303                          265 South Culver Street
Electricians, Heating & Cooling 9800                                               Lawrenceville, GA 30046
Old Dogwood Road Roswell, GA 30075                                                 Email: kwilliams@thewwlf.com

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Our File No. 16000.0664                                                            301 E. Germantown Pike
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Joseph Coscia and Tiffany Coscia v.     Honorable Patsy Y. Porter                  Don C. Keenen, Esq.
Kids II, Inc.                           Judge, State Court of Fulton County        THE KEENAN LAW FIRM
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           Case 1:23-mi-99999-UNA Document 2571-4 Filed 08/11/23 Page 68 of 162
                                                 Matthew G. Moffett, Esq.
                                               Leave of Absence - Exhibit A
                                           Cases Listed by Court and Alphabetically

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Darlington Amadi v. Providence             Judge, State Court of Fulton County        PEACHTREE INJURY LAW, LLC
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Jane Doe 1 v. Pace Academy, Inc., et al.   Honorable Myra H. Dixon                    Tricia P. Hoffler Esq.
                                           Judge, State Court of Fulton County        THE CK HOFFLER FIRM



                                                        Page 16 of 38
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                                                 Matthew G. Moffett, Esq.
                                               Leave of Absence - Exhibit A
                                           Cases Listed by Court and Alphabetically

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Jane Doe 2 v. Pace Academy, Inc., et al.   Honorable Myra H. Dixon                    Tricia P. Hoffler Esq.
                                           Judge, State Court of Fulton County        THE CK HOFFLER FIRM
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Tomkica Essix v.                           Honorable Diane E. Bessen                  Kendrick K. McWilliams, Sr. Esq
Pilotwastesolutions.com, et al.            Judge, State Court of Fulton County        HAGEN ROSSKOPF, LLC
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23EV001007                                 3D/T-3855                                  Decatur, Georgia 30030-3300
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Our File No. 4468.0020
Kyle A. Glenn v. Mid-America               Honorable Patsy Y. Porter                  Michael P. Walker, Esq.
Apartments, LP; Post Alexander II,         Judge, State Court of Fulton County        PIASTA NEWBERN WALKER, LLC
LLC; Development Authority of Fulton       185 Central Ave., SW                       3301 Windy Ridge Parkway, Suite 110
County; Thyssenkrupp Elevator              Suite T-2855                               Atlanta, Georgia 30339
Corporation; Mid America Apartment         Atlanta, GA 30303                          Email: mike@pnwlaw.com


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          Case 1:23-mi-99999-UNA Document 2571-4 Filed 08/11/23 Page 70 of 162
                                                Matthew G. Moffett, Esq.
                                              Leave of Absence - Exhibit A
                                          Cases Listed by Court and Alphabetically

Communities, Inc.; XYZ Entity 1; and
XYZ Entity 2                                                                         Mary-Margaret F. Noland, Esq.
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Corisa Goodman v. Benihana National       Honorable Fred C. Eady                     Cristina L. Gill
Corp.                                     Judge, State Court of Fulton County        235 Peachtree Street NE, Suite 400
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Our File No. 3750.0022
Samuel Green and Ronda Reid v.            Honorable John Mather                      James P Myers, Esq.
Express Lanes, Inc. d/b/a Midtown         Judge, State Court of Fulton County        Charles L. Clay, Jr. Esq.
Bowl, First Development Co.               185 Central Ave., SW                       Wesley C. Taulbee, Esq.
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Antonio Gresham v. Roderick Smith, Jr.,   Honorable Eric Richardson                  Sarah R. Jett, Esq.
Tog Kona Macadamia, LLC D/B/A STK         Judge, State Court of Fulton County        Gary Martin Hays, Esq.
Steakhouse, John Doe 1, John Doe 2,       Justice Center Tower                       GARY MARTIN HAYS &
Traffik Kitchen and Cocktails, Jane Doe   185 Central Avenue, Suite T3755            ASSOCIATES, P.C.
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                                               Matthew G. Moffett, Esq.
                                             Leave of Absence - Exhibit A
                                         Cases Listed by Court and Alphabetically

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Vondale Harris v. RA Sushi Atlanta       Honorable Patsy Y. Porter                  Aaron L. Michelman, Esq.
Midtown Corp., Nationwide                Judge, State Court of Fulton County        FOY & ASSOCIATES, P.C.
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Our File No. 3750.0016

Keith Henry and Rosa Henry, husband      Honorable Jay M. Roth                      Stephen R. Fowler, Esq.
and wife v. The Kroger Co., Mark Allen   Judge, State Court of Fulton County        M. Andrew Echols, Esq.
and John Does 1-5                        185 Central Ave., SW                       THE FOWLER FIRM, LLC
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Our File No. 3558.0561                                                              Atlanta, GA 30309
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Colin Hertz v. Morguard Briarhill        Honorable Patsy Porter                     Crystal D. Kesler, Esq.
Apartments, LLC, Morguard                Judge, State Court of Fulton County        CKESLER LAW, LLC
Management Company, Inc. and             185 Central Ave., SW                       3645 Marketplace Blvd
Landscape Management Services, Inc.      Suite T-2855                               Ste. 130-497
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Our File No. 3724.0001                                                              Paul L. Groth, Esq.
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Sheena Huff v. Cortavious Tyson, SP      Honorable Wesley B. Tailor                 Gregory J. Bosseler, Esq.
Plus Corporation, Terease Gilmer and     Judge, State Court of Fulton County        MORGAN & MORGAN ATLANTA,


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                                                Matthew G. Moffett, Esq.
                                              Leave of Absence - Exhibit A
                                          Cases Listed by Court and Alphabetically

ABC Corporation 1-3                       185 Central Avenue, Suite T3905            PLLC
                                          Atlanta, Georgia 30303                     191 Peachtree Street, N.E., Suite 4200
22EV002369                                                                           Atlanta, Georgia 30303
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Our File No. 3221.0037
Rodricus Jackson v. The Voo 2 Sports      Honorable Diane E. Bessen                  Matthew T. Wilson, Esq.
Bar & Lounge, LLC; Jonnika Hart Gray;     Judge, State Court of Fulton County        PRINCENTHAL, MAY & WILSON,
Jonathan Hart; Janeen Soler and John      185 Central Ave SW # 3855                  LLC
Does 1, 3-10                              Atlanta, GA 30303                          750 Hammond Drive
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21EV003432                                                                           Sandy Springs, GA 30328
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Our File No. 3011.0009
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                                                                                     Austell, GA 30106
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Daniel Kang v. Jack’s Pizza, LLC          Honorable John R. Mather                   Michael M. Calabro, Esq.
                                          Judge, State Court of Fulton County        LOWE LAW FIRM
22EV001686                                185 Central Avenue                         3644 Chamblee Tucker Road
                                          Suite T2905                                Suite F
Our File No. 3556.0460                    Atlanta, GA 30303                          Atlanta, GA 30341
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Jihad Karim v. Integral Property          Honorable Diane E. Bessen                  James A. Rice, Jr., Esq.
Management, LLC                           Judge, Fulton County State Court           JAMES A. RICE, JR., P.C.
                                          185 Central Ave., SW                       563 Spring Street, SW
22EV002045                                Suite T-3855                               Atlanta, Georgia 30308
                                          Atlanta, GA 30303                          Email: Jim@Ricefirm.com
Our File No. 3556.0475
                                                                                     Sean Keenan, Esq.
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Rose Kibuku v. Carson Clements,           Honorable Diane E. Bessen                  Joshua S. Stein, Esq.
Steven Schebler. Jose Marrero Diaz, and   Judge, State Court of Fulton County        J. STEIN LAW FIRM
Evolution Cars Corp.                      185 Central Avenue                         1040 Crown Pointe Parkway
                                          Suite T3855                                Suite 800
22EV004202                                Atlanta, GA 30303                          Atlanta, GA 30338
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Our File No. 16000.0667
Tracy Krohn v. Sheeriff Green, Michael    Honorable Diane E. Bessen                  Alwyn R. Fredericks, Esq.
Green, Shankteka Hoke and John Doe        Judge, State Court of Fulton County        Lisa E. McNary, Esq.
                                          185 Central Avenue                         CASH, KRUGLER & FREDERICKS,
22EV002293                                Suite T3855                                LLC
                                          Atlanta, GA 30303                          5447 Roswell Road, NE
Our File No. 3556.0467                                                               Atlanta, GA 30342
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           Case 1:23-mi-99999-UNA Document 2571-4 Filed 08/11/23 Page 73 of 162
                                                 Matthew G. Moffett, Esq.
                                               Leave of Absence - Exhibit A
                                           Cases Listed by Court and Alphabetically


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Robert Lastinger v. Five Star Burgers      Honorable Fred C. Eady                     Charles E. Johnson, III, Esq.
Loganville Co d/b/a Five Guys; and         Judge, State Court of Fulton County        JOHN FOY & ASSOCIATES, P.C.
Cole MT Loganville GA, LLC                 Justice Center Tower                       3343 Peachtree Road, NE
                                           185 Central Ave., SW                       Suite 350
22EV000226                                 # T3855                                    Atlanta, GA 30326
                                           Atlanta, GA 30303                          Email: cjohnson@johnfoy.com
Our File No. 16000.0642
                                                                                      Briana A. Burrows, Esq.
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Greg LeClair v. MVL Streaming              Honorable Erica K. Dove                    Andrew Lampros, Esq.
Productions, LLC, a/k/a Thine Selves       Judge, State Court of Gwinnett County      HALL & LAMPROS, LLP
Productions, LLC, Industrial Services of   75 Langley Drive                           400 Galleria Parkway, Suite 1150
Peachtree City, LLC, And Trilith           Lawrenceville, Georgia 30046               Atlanta, GA 30339
Studios, LLC                                                                          Email: alampros@hallandlampros.com
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22-C-02894-S5
                                                                                      Jason D. Darneille, Esq.
Our Matter No. 4021.0001                                                              GOWER WOOTEN & DARNEILLE,
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Lavina Marie Lewis and Andy Davis          Honorable Eric Richardson                  Ryals D. Stone, Esq.
Lewis v. Agon Variety I, LLC and Tri       Judge, State Court of Fulton County        William S. Stone, Esq.
Mac Event Staffing, LLC                    185 Central Avenue, Suite T3755            THE STONE LAW GROUP – TRIAL


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          Case 1:23-mi-99999-UNA Document 2571-4 Filed 08/11/23 Page 74 of 162
                                               Matthew G. Moffett, Esq.
                                             Leave of Absence - Exhibit A
                                         Cases Listed by Court and Alphabetically

                                         Atlanta, GA 30303                          LAWYERS, LLC
20-EV-006879                                                                        5229 Roswell Road, NE
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Our File No. 4460.0028                                                              Email: ryals@stonelaw.com
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Selwyn Lloyd v. Joe Moseley and          Honorable Fred C. Eady                     Romero Pearson, Esq.
National Salvage & Service Corporation   Judge, State Court of Fulton County        PEARSON LAW GROUP, LLC
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21EV005291                               # T3855                                    Lawrenceville, GA 30044
                                         Atlanta, GA 30303                          Email: plg@pearsonlawgroup.com
Our File No.: 4468.0006
Beth A. Main v. The Kroger Co.           Honorable Diane E. Bessen                  Kevin S. Kovalchik, Esq.
                                         Judge, State Court of Fulton County        KEVIN S. KOVALCHIK, LLC
19EV006649                               185 Central Ave.                           278 W. Main Street
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Our File No. 3558.0448                                                              Email: Kevin@ksklegal.com

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Andre Manuel v. Premier Kings of         Honorable Wesley B. Tailor                 Peter D. Copeland, Esq.
Georgia Inc., d/b/a Burger King and      Judge, State Court of Fulton County        PETER D. COPELAND, P.C.
Premier Kings of Northern Alabama,       Justice Center Tower, Suite T3905          P.O. Box 448
LLC d/b/a Burger King and John Doe       185 Central Avenue, SW                     989 Montreal Road
                                         Atlanta, GA 30303                          Clarkston, GA 30021
21EV001378                                                                          Email: pdcpc@bellsouth.net

Our File No. 3519.0003

Stanley Neely v. Hickory Park, LTD       Honorable Diane E. Bessen                  Brian C. Mickelsen, Esq.


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                                                 Matthew G. Moffett, Esq.
                                               Leave of Absence - Exhibit A
                                           Cases Listed by Court and Alphabetically

(L.P) and Ledic Realty Management,         Judge, State Court of Fulton County        MICKELSEN DALTON, LLC
LLC, now known as Envolve                  185 Central Avenue, SW                     25 Society Street
Community Management, LLC d/b/a/           Suite T-3855                               Charleston, SC 29401
Envolve Community Services, LLC, and       Atlanta, Georgia 30303                     Email: brian@mickelsendalton.com
Envolve Community Management, LLC
d/b/a Envolve Community Services,                                                     Melissa A. Segel, Esq.
LLC and Lisa Martin-Poore, Olivia                                                     Kayla M. McCallum, Esq.
Lewis, and John Does 1-10                                                             SWIFT, CURRIE, McGHEE, &
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22EV000199                                                                            1420 Peachtree Street, NE, Suite 800
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Our File No. 3525.0005                                                                Email: melissa.segel@swiftcurrie.com
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Erica Riley v. Alternative Waste           Honorable Susan E. Edlein                  Michael L. Werner, Esq.
Solutions U.S. LLC and Allen Smith         Judge, State Court of Fulton County        Nola D. Jackson, Esq.
                                           Justice Center Tower                       Daniell R. Fink, Esq.
23EV000567                                 185 Central Avenue SW                      Casey J. Brown, Esq.
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Our File No. 4468.0010                                                                2860 Piedmont Road
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Christi Stowers v. LNS Nail Salon,         Honorable Patsy Porter                     Michael J. Moran, Esq.
LLC, LNS Nail Spa, LLC, My Hien            Judge, State Court of Fulton County        Mark A. Molina, Esq.
Tran, Mark Dinh and Jane Doe               185 Central Ave                            MONTLICK & ASSOCIATES, P.C.
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23EV002386                                                                            Atlanta, Georgia 30329
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Our File No. 3750.0019                                                                Email: mmolina@montlick.com

Tamarra Studdard-Wilson, as                Honorable Diane E. Bessen                  Matthew T. Wilson, Esq.
Administrator and Executor of the Estate   Judge, State Court of Fulton County        Adam P. Princenthal, Esq.
of Richard K. Giles v. The Voo 2 Sports    185 Central Avenue SW                      PRINCENTHAL, MAY & WILSON,
Bar & Lounge, LLC, Gray’s Automotive       Suite T-3855                               LLC
and Towing, LLC, Trederick Gray,           Atlanta, Georgia 30303                     750 Hammond Drive
Janeen Soler, Jonnika Hart Gray,                                                      Building 12
Jonathan Hart and John Does 1-10                                                      Sandy Springs, GA 30328
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22EV003927

Our File No. 3011.0009
Katavius Threatt, Individually and as      Honorable Fred C. Eady                     Ashley Cameron-Bivins, Esq.
Next Friend of Iasia Threatt v. Pine       Judge, Fulton State Court                  DOZIER LAW FIRM, LLC
Ridge Macon, LLC d/b/a Pine Ridge          185 Central Ave., SW                       487 Cherry Street
Apartments, New Home, LLC, Tiesha          Courtroom 3B/T-3755                        P.O. Box 13
Kay, and John Doe Nos. 1-10                Atlanta, GA 30303                          Macon, Georgia 31202-0013
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23EV000464

Our File No. 4460.0042




                                                        Page 23 of 38
          Case 1:23-mi-99999-UNA Document 2571-4 Filed 08/11/23 Page 76 of 162
                                             Matthew G. Moffett, Esq.
                                           Leave of Absence - Exhibit A
                                       Cases Listed by Court and Alphabetically

Charles Van Morgan v. Pure Taqueria,   Honorable Patsy Y. Porter                  Erica L. Morton and Monica L.
LLC, Pure Taqueria Franchising USA,    Judge, State Court of Fulton County        Wingler
LLC, Sedgwick Management, Inc., and    Justice Center Tower                       Swift, Currie, McGhee & Hiers, LLP
Brett J. Speaks                        185 Central Avenue SW                      1420 Peachtree St., NE, Suite 800
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Jeffrey Washington v. David Crooke,    Honorable Judge Jay M. Roth                Michael M. Smith, Esq.
Georgia Power Company, Asplundh        Judge, State Court of Fulton County        CLARK & SMITH LAW FIRM, LLC
Tree Expert,                           185 Central Ave., SW                       150 College Street
Llc, Kendall Vegetation                Atlanta, GA 30303                          Macon, Georgia 31201
Services d/b/a Seelbach And                                                       Email: mike@clarksmithlaw.com
Company, LLC, Townsend Tree
Service Company, LLC And                                                          Callie D. Bryan, Esquire
Gunnison Tree Services, LLC                                                       JONES CORK, LLP
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23EV001602                                                                        Macon, Georgia 31208-6437
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Our File No. 4485.0035
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            Case 1:23-mi-99999-UNA Document 2571-4 Filed 08/11/23 Page 77 of 162
                                                 Matthew G. Moffett, Esq.
                                               Leave of Absence - Exhibit A
                                           Cases Listed by Court and Alphabetically

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Superior Court of Fulton County            Judge                                      Opposing Counsel


Imani Abdul-Hakim v. Gerald Caslin         Honorable Rachel Krause                    Catherine D. Payne, Esq.
and Metropolitan Atlanta Rapid Transit     Superior Court of Fulton County            Anne Marie du Toit, Esq.
Authority                                  136 Pryor Street, SW                       PAYNE & DU TOIT
                                           T-4705                                     2275 Marietta Blvd., NW
2022CV362039                               Atlanta, GA 30303                          Suite 270-245
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Ketra Cambridge, Individually and as       Honorable Melynee Leftridge                Nathaniel K. Hofman
Surviving Parent of Dante L.               Judge, Superior Court of Fulton County     STEWART MILLER SIMMONS
Cambridge, Deceased.                       185 Central Ave, S.W.                      TRIAL ATTORNEYS
                                           Chambers: 8755                             55 Ivan Allen Jr. Boulevard
2023CV77996                                Atlanta, GA 30303                          Suite 700
                                                                                      Atlanta, GA 30308
Our File No.: 4300.0023                                                               nhofman@smstrial.com

Cherish Edmunson v. Bar Vegan, LLC,        Honorable Shukura L. Ingram                Daniel Milton, Esq.
and Clark McCants                          Judge, Superior Court of Fulton County     SPELLEN LAW
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2022CV359958                               Suite T-7905                               Suite 123
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Stephanie Graham, as Administrator of      Honorable Rachel Krause                    Hannah E. Sbaity, Esq.
the Estate of Tarien Shaquille Colquitt,   Judge, Superior Court of Fulton County     James I. Seifter, Esq.
Deceased, Brittany Porter, Mother and      136 Pryor Street SW                        Darren W. Penn, Esq.
next friend of Tarien Colquitt, Jr.,       Suite J2-640                               PENN LAW LLC
Tarihanna Colquitt and Te’Naya             Atlanta, GA 30303                          4200 Northside Parkway, NW
Colquitt (minor children of Tarien                                                    Building One, Suite 100



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                                                 Matthew G. Moffett, Esq.
                                               Leave of Absence - Exhibit A
                                           Cases Listed by Court and Alphabetically

Colquitt); Katrenia R. Collins, guardian                                              Atlanta, Georgia 30327
ad litem for Tarien Colquitt, Jr.,                                                    Email: darren@pennlawgroup.com
Tarihanna Colquitt and Te’Naya                                                        Email: jim@pennlawgroup.com
Colquitt; Shavondra Johnson, mother
and next friend of Omari Johnson (minor                                               Joel M. Baskin, Esq.
child of Tarien Colquitt); William                                                    JOEL M. BASKIN, P.C.
Jenkins, guardian ad litem for Omari                                                  2791 Main Street
Johnson, Alexandra Robinson, mother                                                   East Point, Georgia 30344
and next friend of Nikarri Robinson                                                   Email: jbaskin@joelbaskin.com
(minor child of Tarien Colquitt), and
Dana C. Ashford, Esq., guardian ad
litem for Nikarri Robinson v. VCP
Hammond, LLC

2022CV363118

Our File No. 4460.0036

Sabrina Hardison, Individually and as      Honorable Charles Eaton                    Keenan R.S. Nix, Esq.
Personal Representative of the Estate of   Judge, Superior Court of Fulton County     Christopher J. Graddock, Esq.
Davin Pierre Guilford, Deceased v.         136 Pryor Street SW                        MORGAN & MORGAN ATLANTA
Metropolitan Atlanta Rapid Transit         T-5755                                     PLLC
Authority and Darnell Williams             Atlanta, GA 30303                          P.O. Box 57007
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2022CV361588                                                                          Suite 4200
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Our File No. 4300.0021                                                                Email: KNix@ForThePeople.com
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Wenszell v. Metropolitan Atlanta Rapid     Honorable Belinda E. Edwards               Matthew B. Stoddard, Esq.
Transit Authority                          Judge, Superior Court of Fulton County     Keith N. Evra, Esq.
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Our File No. 4300.0017                                                                Email: matt@legalhelpga.com
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Tommie White v. Metropolitan Atlanta       Honorable Paige Reese Whitaker             Clark R. Karell, Jr., Esq.
Rapid Transit Authority and Reginald       Judge, Superior Court of Fulton County     KARELL TRIAL ATTORNEYS, LLC
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2022CV370613                               Atlanta, GA 30303                          Atlanta, GA 30326
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Our File No. 4300.0020

State Court of Glynn County                Judge                                      Opposing Counsel


Jesse Cole v. Sidney Hopkins and           Honorable Bart Altman                      Seth M. Diamond, Esq.
Enterprise Pizza, Inc.                     Judge, State Court of Glynn County         MORGAN & MORGAN
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CV20190040                                 Brunswick, GA 31520                        Savannah, Georgia 31405
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Our File No. 4460.0030
                                                                                      Kelly Crutchfield, Esq.



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                                                Matthew G. Moffett, Esq.
                                              Leave of Absence - Exhibit A
                                          Cases Listed by Court and Alphabetically

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State Court of Gwinnett County            Judge                                      Opposing Counsel


Joseph Ash and Mary Ash v. Jimmy          Honorable Veronica Cope                    Michael George, Esq.
Wayne Smith and Summit Construction       Judge, State Court of Gwinnett County      Michael Weaver, Esq.
and Development, LLC                      75 Langley Drive                           Katherine Hall, Esq.
                                          Lawrenceville, Georgia 30046               WEAVER LAW FIRM
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Our File No. 4468.0008                                                               Email:
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Jarrett Ashley v. Publix Super Markets,   Honorable Veronica Cope                    Taylor M. Barrett, Esq.
Inc., Slate Asset Management, L.P.,       Judge, State Court of Gwinnett County      Campbell Williamson, Esq.
Peach State Roofing, Inc., Rosales        75 Langley Drive                           SCHNEIDER HAMMERS LLC
Waterproofing, LLC and SUSO 4             Lawrenceville, Georgia 30046               5555 Glenridge Connector, Suite 975
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Our File No. 4485.0026
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                                                       Page 27 of 38
           Case 1:23-mi-99999-UNA Document 2571-4 Filed 08/11/23 Page 80 of 162
                                                Matthew G. Moffett, Esq.
                                              Leave of Absence - Exhibit A
                                          Cases Listed by Court and Alphabetically

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Darin Burgess v. The Kroger Co.,          Honorable Jaletta L. Smith                 R. Michael Coker, Esq.
Phillips Edison & Company LTD.,           Judge, State Court of Gwinnett County      THE LAW OFFICES OF R.
Phillips Edison Grocery Center            75 Langley Drive                           MICHAEL COKER, LLC
Operating Partnership I, L.P.             Lawrenceville, GA 30046                    90 Langley Drive
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20-C-02973-S7                                                                        Molly L. Moyer, Esq.
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Marsha Calloway, Individually and as      Honorable Carla E. Brown                   Jerome D. Lee, Esq.
Administrator of the Estate of Terrance   Judge, State Court of Gwinnett County      TAYLOR LEE & ASSOCIATES, LLC
Calloway v. Target Corporation,           75 Langley Drive                           6855 Jimmy Carter Boulevard, Suite
Northlake Surgical Center LP, and John    Lawrenceville, GA 30046                    2150
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20-C-06688-S3

Our File No. 4200.0014
Ianna R. Campbell, as Next Friend and     Honorable Emily J. Brantley                Michael P. Walker, Esq.
Natural Guardian of Innaya McNeil, a      Judge, State Court of Gwinnett County      Edward A. Piasta, Esq.
Minor v. GIG Atlanta Galleria PropCo      75 Langley Drive                           PIASTA NEWBERN WALKER, LLC
LLC; GIG Atlanta Galleria OpCo LLC;       Lawrenceville, GA 30046                    3301 Windy Ridge Parkway, Suite 110


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                                               Matthew G. Moffett, Esq.
                                             Leave of Absence - Exhibit A
                                         Cases Listed by Court and Alphabetically

Hospitality Ventures Management, LLC.                                               Atlanta, GA 30339
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Galleria LLC; S&A Industries, Inc.;
C&S Construction, LLC; Assa Abloy                                                   Tyra V. Walker, Esq.
Accessories and Door Controls Group,                                                CHARTWELL LAW
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Moses Cobb and Alice Cobb v. Jascha      Honorable Carla Brown                      Raymond T. Brooks, Jr., Esq.
Coles and Grubhub Holdings, Inc.         Judge, State Court of Gwinnett County      LAW OFFICE OF RAYMOND
                                         75 Langley Drive                           BROOKS, JR.
22-C-01383-S3                            Lawrenceville, GA 30046                    281 Scenic Highway
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Our File No. 3233.0003                                                              Email: rtboffice@yahoo.com

Sade Davidson v. Joseph Bajon, Ferraro   Honorable Jaletta L. Smith                 Marcus A. Dickerson
Fine Foods Corp., Ferraro Foods of NJ    Judge, State Court of Gwinnett County      THE DICKERSON FIRM, LLC
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23-C-01832-S7

Our File No. 16000.0684
Jane Doe v. Banyan Tree Management,      Honorable Carla Brown                      Charles L. Clay, Jr., Esq.
LLC, Albany Downtown Hotel Partners,     Judge, State Court of Gwinnett County      PRATT CLAY, LLC
LLC and John Doe                         75 Langley Drive                           4401 Northside Parkway
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19-C-04673-S3                                                                       Atlanta, GA 30327
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Our File No. 3750.0009
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                                                                                    Roland Christensen, Esq.
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                                               Matthew G. Moffett, Esq.
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                                         Cases Listed by Court and Alphabetically

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Alicia Eiland v. The Kroger Co., Nigel   Honorable Erica K. Dove                    Rachel Deloach, Esq.
T. Vereen, ABC Corporation, and John     Judge, State Court of Gwinnett County      MONGE & ASSOCIATES
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21-C-04239-S5                                                                       Atlanta, GA 30350
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Our File No. 3558.0500

Michael Floyd and Mary Floyd, et al.     Honorable Carla Brown                      Thomas A. Nash, Jr., Esq.
v. Fieldturf USA, Inc., Sports           Judge, State Court of Gwinnett County      NASH LAW FIRM, P.C.
Consulting Group, LLC, Ryan S.           75 Langley Drive                           340 Eisenhower Drive, Suite 800
Wright, Bailey Fence Company, ELA        Lawrenceville, GA 30046                    Savannah, GA 31406
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          Case 1:23-mi-99999-UNA Document 2571-4 Filed 08/11/23 Page 83 of 162
                                                Matthew G. Moffett, Esq.
                                              Leave of Absence - Exhibit A
                                          Cases Listed by Court and Alphabetically

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Austin Herndon v. Curtis Bay Medical      Honorable Veronica Cope                    Keenan R.S. Nix, Esq.
Waste Services, LLC d/b/a Earthwise       Judge, State Court of Gwinnett County      Christopher Graddock, Esq.
Industries, INC., Cameron A. Smith, and   75 Langley Drive                           Evan T. Rosenberg, Esq.
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Lonny Johnson v. Forty One Connector,     Honorable Erica Dove                       Joel A. Thrift, Esq.
LTD. (L.P.), and FQSR, LLC                Judge, State Court of Gwinnett County      2860 Piedmont Road, NE
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Brenda Key v. Great Divide Insurance      Honorable Erica K. Dove                    R. Shane Lazenby, Esq.
Company; Liquid Services and              Judge, State Court of Gwinnett County      LAZENBY LAW GROUP, LLC
Logistics, LLC, Liquid Waste              75 Langley Drive                           P.O. Box 2875
Management Holdings, LLC d/b/a            Lawrenceville, Georgia 30046               Gainesville, Georgia 30503
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Jeffery Lee Parr, an Individual
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21-C-06959-S5                                                                        STOW, GARVIN & GLEN
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Our File No.: 4468.0007                                                              Gainesville, Georgia 30503
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Daniel Kim v. Building Cleaning           Honorable Erica K. Dove                    Thomas P. Willingham, Esq.
Solutions, et al.                         Judge, State Court of Gwinnett County      Mary Leah Miller, Esq.
                                          75 Langley Drive                           BEASLEY, ALLEN, CROW,


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           Case 1:23-mi-99999-UNA Document 2571-4 Filed 08/11/23 Page 84 of 162
                                                Matthew G. Moffett, Esq.
                                              Leave of Absence - Exhibit A
                                          Cases Listed by Court and Alphabetically

22-C-06592-S5                             Lawrenceville, GA 30046                    METHVIN,
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Nicole Lehner v. Target Corporation,      Honorable Jaletta L. Smith                 Lloyd Hoffspiegel, Esq.
James Shaffer, and Jane Doe               Judge, State Court of Gwinnett County      Alexander Hoffspiegel, Esq.
                                          75 Langley Drive                           Melissa Cruz, Esq.
20-C-07599-S7                             Lawrenceville, GA 30046                    HOFFSPIEGEL LAW
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Administrator of the Estate of Elejina    Judge, State Court of Gwinnett County      Keith Mitnick, Esq.
Lo, Deceased, v. Curtis Bay Medical       75 Langley Drive                           MORGAN & MORGAN, PLLC
Waste Services, LLC d/b/a Earthwise       Lawrenceville, Georgia 30046               191 Peachtree Street, NE
Industries, Inc., Cameron A. Smith, and                                              Suite 4200
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21-C-06893-S2
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                                                       Page 32 of 38
           Case 1:23-mi-99999-UNA Document 2571-4 Filed 08/11/23 Page 85 of 162
                                                  Matthew G. Moffett, Esq.
                                                Leave of Absence - Exhibit A
                                            Cases Listed by Court and Alphabetically

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Duane A. Marcus v. Dillard M. Cook,         Honorable Jaletta L. Smith                 Charles Scholle, Esq.
The Comtran Group, Inc, and John Doe        Judge, State Court of Gwinnett County      Todd Shugart. Esq.
                                            75 Langley Drive                           CHARLES SCHOLLE LAW
18-C-03811-S7                               Lawrenceville, GA 30046                    6340 Sugarloaf Parkway
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Our File No. 853.0001                                                                  Duluth, GA 30097
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Betty Martin, Individually, and Frank       Honorable Jaletta L. Smith                 Michael A. Prieto, Esq.
Martin, Jr., as Anticipated Administrator   Judge, State Court of Gwinnett County      William F. Holbert, Esq.
of the Estate of Frank Martin, Sr.,         75 Langley Drive                           Elizabeth Evinger, Esq.
Deceased v. Roberta Operator, LLC           Lawrenceville, GA 30046                    PRIETO, MARIGLIANO,
d/b/a Roberta Health and Rehab; GDB,                                                   HOLBERT & PRIETO, LLC
LLC; Barres, LLC; T and C Capital                                                      1555 Mount Vernon Road
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23-C-01217-S7

Our File No. 3530.0031


Sandra McDaniel v. Capco Corporation,       Honorable Ronda S. Colvin                  David M. Thomas, Esq.
et al                                       Judge, State Court of Gwinnett County      THOMAS LAW FIRM
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                                                         Page 33 of 38
           Case 1:23-mi-99999-UNA Document 2571-4 Filed 08/11/23 Page 86 of 162
                                                Matthew G. Moffett, Esq.
                                              Leave of Absence - Exhibit A
                                          Cases Listed by Court and Alphabetically

State Farm Mutual Automobile              Honorable Judge Erica K. Dove              Keshia Townsend, Esq.
Insurance Co. as Subrogee of Shreyaben    Judge, State Court of Gwinnett County      Candace M. Boutwell, Esq.
Mehta vs. Ruben Duran and Summit          75 Langley Drive                           2280 Satellite Boulevard, Bldg. B.
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Our File No. 4468.0017
Asta Phillips v. Elvira Ortiz Cacoj and   Honorable Ronda Colvin Leary               Christopher M. Simon, Esq.
Francisco Polanco                         Judge, State Court of Gwinnett County      Alexander Grace, Esq.
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Lolita Poindexter, V. Eat-1617, LLC       Honorable Veronica Cope                    Charles H. McAleer, Esq.
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LLC; Larc Asset Management And            Lawrenceville, GA 30046                    Decatur, Georgia 30030
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(Dba My Salon Suites); John Does 1 2
And 3 And Fictitious Corporate                                                       Carrie L. Christie, Esq.
Defendants A B And C, All Of Those                                                   Arika J. Song, Esq.
Whose True And Correct Names Are                                                     RUTHERFORD & CHRISTIE, LLP
Not Further Known To Plaintiff At This                                               285 Peachtree Center Avenue, NE
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Our File No. 3750.0017
Charles E. Smith v. The Kroger Co.,       Honorable Veronica Cope                    Michael P. Walker, Esq.
Fairview Oaks Station, LLC, Phillips      Judge, State Court of Gwinnett County      Andrew L. Hagenbush, Esq.
Edison & Company, LTD., Phillips          75 Langley Drive                           PIASTA NEWBERN WALKER, LLC
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           Case 1:23-mi-99999-UNA Document 2571-4 Filed 08/11/23 Page 87 of 162
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                                              Leave of Absence - Exhibit A
                                          Cases Listed by Court and Alphabetically

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Heather Smith v. Town Center at Cobb      Honorable Jaletta L. Smith                 Patrick J. Hannon, Esq.
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Alexis Marie Sprague v. Caitlyn Renee     Honorable Jaletta L. Smith                 Kevin S. Kovalchik, Esq.
Hume                                      Judge, State Court of Gwinnett County      KEVIN S. KOVALCHIK, LLC
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Laurel Stone, Individually, and Laurel    Honorable Ronda Colvin Leary               Daniel J. Prieto, Esq.
Stone as Administrator of the Estate of   Judge, State Court of Gwinnett County      Jonathan Marigliano, Esq.
Ricky Stone (Deceased) v. The Kroger      75 Langley Drive                           William Holbert, Esq.
Co., Liquid Environmental Solutions of    Lawrenceville, Georgia 30046               PRIETO, MARIGLIANO, HOLBERT
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           Case 1:23-mi-99999-UNA Document 2571-4 Filed 08/11/23 Page 88 of 162
                                                  Matthew G. Moffett, Esq.
                                                Leave of Absence - Exhibit A
                                            Cases Listed by Court and Alphabetically


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Kenneth Trinklein v. Jimmy Smith,           Honorable Veronica Cope                    Jon Brockman, Esq.
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LLC, and Key Risk Insurance Company         Lawrenceville, GA 30046                    Cumming, Georgia 30040
                                                                                       Email:
22-C-00457-S6                                                                          jbrockman@brockmaninjurylawyer.co
                                                                                       m
Our File No. 4468.0008


Ronald W. Ward v The Kroger Co. and         Honorable Shawn F. Bratton                 Michael W. Horst, Esq.
VPCC Cherokee, LLC                          Judge, State Court of Gwinnett County      Jarrett L. Miller, Esq.
                                            75 Langley Drive                           HORST SHEWMAKER, LLC
22-C-06226-S2                               Lawrenceville, Georgia 30046               10745 Westside Way, Suite 165
                                                                                       Alpharetta, GA 30009
Our File No. 3558.0574                                                                 Email: michael@horstshewmaker.com
                                                                                       Email: jarrett@horstshewmaker.com

                                                                                       Kevin F. Duda, Esq.
                                                                                       3740 Davinci Court, Suite 460
                                                                                       Peachtree Corners, Georgia 30092
                                                                                       Email: kevin_duda@staffdefense.com

Steven Wells v. Greenwich Insurance         Honorable Veronica Cope                    Miguel A. Dominguez, Esq.
Company et al                               Judge, State Court of Gwinnett County      MORGAN & MORGAN ATLANTA,
                                            75 Langley Drive                           PLLC
19-C-00819-S6                               Lawrenceville, GA 30046                    Post Office Box 57007
                                                                                       Atlanta, Georgia 30343-1007
Our File No. 3221.0026                                                                 E-mail:
                                                                                       mdominguez@forthepeople.com

Victoria Zellars, individually v. Anthony   Honorable Emily J. Brantley                Jason T. Schneider, Esq.
Wagoner, individually                       Judge, State Court of Gwinnett County      Campbell Williamson, Esq.
                                            75 Langley Drive                           SCHNEIDER HAMMERS LLC
22-C-02992-S1                               Lawrenceville, GA 30046                    5555 Glenridge Connector
                                                                                       Suite 975
Our File No. 4486.0007                                                                 Atlanta, Georgia 30342
                                                                                       Email: jason@schneiderhammers.com

Superior Court of Gwinnett County           Judge                                      Opposing Counsel




                                                         Page 36 of 38
           Case 1:23-mi-99999-UNA Document 2571-4 Filed 08/11/23 Page 89 of 162
                                               Matthew G. Moffett, Esq.
                                             Leave of Absence - Exhibit A
                                         Cases Listed by Court and Alphabetically

Allstate Vehicle and Property Company    Honorable Deborah R. Fluker                Christopher Rentschler, Esq.
a/s/o Beth Graham v. Whirlpool &         Judge, Superior Court of Gwinnett          RONALD W. PARNELL, P.C.
Robertshaw Controls                      County                                     Post Office Drawer 81085
                                         75 Langley Drive                           Conyers, GA 30013
21-A-04764-3                             Lawrenceville, GA 30046                    Email: th@rwpsubro.com

Our File No. 4475.0008
Allstate Insurance Company a/s/o Julie   Honorable Deborah R. Fluker                Christopher Rentschler, Esq.
Hatcher v. Whirlpool & Robertshaw        Judge, Superior Court of Gwinnett          RONALD W. PARNELL, P.C.
Controls                                 County                                     Post Office Drawer 81085
                                         75 Langley Drive                           Conyers, GA 30013
21-A-07569-3                             Lawrenceville, GA 30046                    Email: th@rwpsubro.com

Our File No. 4475.0013
Allstate Fire and Casualty Insurance     Honorable Deborah R. Fluker                Christopher Rentschler, Esq.
Company a/s/o Jodi Holmes v.             Judge, Superior Court of Gwinnett          RONALD W. PARNELL, P.C.
Whirlpool Corporation and Robertshaw     County                                     Post Office Drawer 81085
Controls Company                         75 Langley Drive                           Conyers, GA 30013
                                         Lawrenceville, GA 30046                    Email: th@rwpsubro.com
21-A-07081-3

Our File No. 4475.0003
Allstate Fire and Casualty Insurance     Honorable Deborah R. Fluker Judge,         Christopher Rentschler, Esq.
Company a/s/o Jessica Munro v.           Superior Court of Gwinnett County          RONALD W. PARNELL, P.C.
Whirlpool & Robertshaw Controls          75 Langley Drive                           Post Office Drawer 81085
                                         Lawrenceville, GA 30046                    Conyers, GA 30013
21-A-02112-3                                                                        Email: th@rwpsubro.com

Our File No. 4475.0009
Xtreme Asset Holdings, LLC v. Omni       Honorable Angela D. Duncan                 Mary Donne Peters, Esq.
Group North America, LLC, Guerdy         Judge, Superior Court of Gwinnett          Michael H. Gorby, Esq.
Claimon, Oliver D. Banks, Olivia         County                                     Sarah Phaff, Esq.
France, The Office of Eric McGlothen,    75 Langley Drive                           Whitney Arp, Esq.
CPA, LLC, Eric McGlothen, LLC, Eric      Lawrenceville, GA 30046                    GORBY, PETERS & ASSOCIATES,
McGlothen, Management Services &                                                    LLC
Solutions, Inc., Hybrid Transport                                                   1175 Peachtree St., NE
International, Inc., and Adecco USA,                                                10th Floor, Suite 1000
Inc.                                                                                Atlanta, GA 30361
                                                                                    Email: mpeters@gorbypeters.com
16-A12174-11                                                                        Email: mgorby@gorbypeters.com

Our File No. 3011.0008
State Court of Rockdale County           Judge                                      Opposing Counsel

Demetra Young v. RS LSJ, LLC,            Honorable Richard R. Read                  Sara R. Landeryou, Esq.
Realsource Management LLC, & John        Judge, State Court of Rockdale County      Harlan H.F. Wood, Esq.
Does 1-3                                 922 Court Street                           WOOD CRAIG MILLER, LLC
                                         Room 107                                   3520 Piedmont Road, NE, Suite 280
2022-SV-2166                             Conyers, Georgia 30012                     Atlanta, Georgia 30305
                                                                                    Email: harlan@woodcraig.com
Our File No. 3524.0011                                                              Email: sara@woodcraig.com
                                                                                    Email: roshni@woodcraig.com




                                                      Page 37 of 38
           Case 1:23-mi-99999-UNA Document 2571-4 Filed 08/11/23 Page 90 of 162
                                                Matthew G. Moffett, Esq.
                                              Leave of Absence - Exhibit A
                                          Cases Listed by Court and Alphabetically

State Court of Spalding County            Judge                                      Opposing Counsel


Lewis Bennett v. Eugene Dabbs, as         Honorable Josh W. Thacker                  Charles Scholle, Esq.
Administrator of The Estate of James J.   Judge, State Court of Spalding County      Annette S. Malena, Esq.
Evans, Transcontinental Carriers, Inc.,   P.O. Box 843                               SCHOLLE LAW
Occidental Fire & Casualty Company of     Griffin Ga 30224                           6340 Sugarloaf Parkway, Suite 150
North Carolina, and John Does 1-5                                                    Duluth, Georgia 30097
                                                                                     Email: cscholle@schollelaw.com
20SV-302                                                                             Email: amalena@schollelaw.com

Our File No. 3755.0002                                                               Alexander Patorgis, Esq.
                                                                                     CRUSER, MITCHELL, NOVITZ,
                                                                                     SANCHEZ, GASTON & ZIMET, LLP
                                                                                     275 Scientific Drive
                                                                                     Peachtree Corners, Georgia 30092
                                                                                     Email: zpatorgis@cmlawfirm.com




                                                       Page 38 of 38
                                                                                   State Court of Fulton County
          Case 1:23-mi-99999-UNA Document 2571-4 Filed 08/11/23 Page 91 of 162                       **E-FILED**
                                                                                                    23EV000464
                                                                                             6/20/2023 3:33 PM
                                                                                           Donald Talley, Clerk
                                                                                                   Civil Division
                      IN THE STATE COURT OF FULTON COUNTY
                                STATE OF GEORGIA

KATAVIUS THREATT, Individually and as Next Friend of            :   CIVIL ACTION
NIASIA THREATT,                                                 :   FILE NO.: 23EV000464
                     Plaintiff(s)                               :
v.                                                              :
PINE RIDGE MACON, LLC d/b/a PINE RIDGE                          :
APARTMENTS, NEW HOME, LLC, TIESHA KAY, and
JOHN DOE NOS. 1-10.,
                   Defendant(s)


 DEFENDANT PINE RIDGE MACON, LLC D/B/A PINE RIDGE APARTMENTS
    AND NEW HOME, LLC'S RULE 5.2 CERTIFICATE OF SERVICE OF
                    DISCOVERY MATERIAL
     The undersigned hereby certifies, pursuant to Uniform Rule of State Court 5.2, that the following

non-parties were served with document requests pursuant to O.C.G.A. § 9-11-34(c), and that copies of

said discovery were served upon all parties of record in this action:
                                 Macon-Bibb County Sheriff’s Office

                             Permanent General Assurance Corporation

                              BALLARD-HUDSON MIDDLE SCHOOL

                                        The Rawlings Company

                                     GEICO Indemnity Company

                                      Erthal Chiropractic Center

                               Central Georgia Emergency Group, LLC

                        Atrium Health Navicent The Medical Center - Macon

                             Radiology Associates of Macon | Main Office

                                      Anderson Family Medicine
          Case 1:23-mi-99999-UNA Document 2571-4 Filed 08/11/23 Page 92 of 162




                                  River Edge Behavioral Health

                                        WellCare of Georgia, Inc.

                Atrium Health Navicent Beverly Knight Olson Children's Hospital

    Respectfully Submitted on 06/20/2023.

GRAY, RUST, ST. AMAND,                              /s/Chris J. Perniciaro
MOFFETT & BRIESKE, LLP                              Matthew G. Moffett
950 East Paces Ferry Road, NE                       Georgia State Bar Number: 515323
Suite 1700 - Salesforce Tower Atlanta               Chris J. Perniciaro
Atlanta, Georgia 30326                              Georgia State Bar Number: 618477
Telephone: (404) 870-7373                           Attorneys for Defendant Pine Ridge Macon, LLC
Facsimile: (404) 870-7374                           d/b/a Pine Ridge Apartments and New Home, LLC
          Case 1:23-mi-99999-UNA Document 2571-4 Filed 08/11/23 Page 93 of 162




                                  CERTIFICATE OF SERVICE


The undersigned hereby certifies, pursuant to O.C.G.A. § 9-11-5, that the foregoing DEFENDANT

Pine Ridge Macon, LLC d/b/a Pine Ridge Apartments and New Home, LLC's, RULE 5.2

CERTIFICATE OF SERVICE OF DISCOVERY MATERIAL is being filed with the Clerk of

Court using the Court’s electronic filing and-service system, which will send electronic notification to

all parties having appeared of record in this action:

                                         Ashley Cameron-Bivins
                                      DOZIER LAW FIRM, LLC
                                      487 Cherry Street P.O. Box 13
                                           Macon, GA 31202

     Respectfully Submitted on 06/20/2023.

GRAY, RUST, ST. AMAND,                                  /s/Chris J. Perniciaro
MOFFETT & BRIESKE, LLP                                  Matthew G. Moffett
950 East Paces Ferry Road, NE                           Georgia State Bar Number: 515323
Suite 1700 - Salesforce Tower Atlanta                   Chris J. Perniciaro
Atlanta, Georgia 30326                                  Georgia State Bar Number: 618477
Telephone: (404) 870-7373                               Attorneys for Defendant Pine Ridge Macon, LLC
Facsimile: (404) 870-7374                               d/b/a Pine Ridge Apartments and New Home, LLC
                                                                                State Court of Fulton County
      Case 1:23-mi-99999-UNA Document 2571-4 Filed 08/11/23 Page 94 of 162                        **E-FILED**
                                                                                                 23EV000464
                                                                                          6/21/2023 3:31 PM
                                                                                        Donald Talley, Clerk
                                                                                                Civil Division
                       IN THE STATE COURT OF FULTON COUNTY
                                 STATE OF GEORGIA

 KATAVIUS THREATT, Individually and as           )
 Next Friend of NIASIA THREATT,                  )
                                                 )
         Plaintiffs,                             )
                                                 )    CIVIL ACTION
 v.                                              )    FILE NO. 23EV000464
                                                 )
 PINE RIDGE MACON, LLC d/b/a PINE                )
 RIDGE APARTMENTS, NEW HOME, LLC,                )
 TIESHA KAY, and JOHN DOE NOS. 1-10.,            )
                                                 )
         Defendants.                             )

                         NOTICE OF ENTRY OF APPEARANCE

       Pursuant to Uniform State Court Rule 4.2, Nada A. Paisant and the law firm of Gray, Rust,

St. Amand, Moffett & Brieske, LLP, hereby files her Notice of Entry of Appearance, showing that

she will join Matthew G. Moffett and Chris J. Perniciaro as counsel for Defendant Pine Ridge

Macon, LLC and New Home, LLC in this action. Please have all future notices and pleadings

and other documents pertaining to the case sent to the following counsel of record in the above-

styled action:

                                  Matthew G. Moffett, Esq.
                               Georgia State Bar No.: 515323
                                  Chris J. Perniciaro, Esq.
                               Georgia State Bar No.: 618477
                                   Nada A. Paisant, Esq.
                               Georgia State Bar No.: 135270
                   GRAY, RUST, ST. AMAND, MOFFETT & BRIESKE, LLP
                              950 East Paces Ferry Road, N.E.
                           Suite 1700 – Salesforce Tower Atlanta
                                     Atlanta, GA 30326
                                 Telephone: (404) 870-7443
                                 Facsimile: (404) 870-1030
   Case 1:23-mi-99999-UNA Document 2571-4 Filed 08/11/23 Page 95 of 162




      Respectfully submitted this 21st day of June, 2023.

GRAY, RUST, ST. AMAND,
MOFFETT & BRIESKE, L.L.P.                       /s/ Nada A. Paisant
950 East Paces Ferry Road, N.E.                 Matthew G. Moffett
Suite 1700 – Salesforce Tower Atlanta           Georgia State Bar No.: 515323
Atlanta, Georgia 30326                          Chris J. Perniciaro
Telephone:    (404) 870-7443                    Georgia State Bar No.: 618477
Facsimile:    (404) 870-1030                    Nada A. Paisant
                                                Georgia State Bar No.: 135270
                                                Nada A. Paisant
                                                Attorneys for Defendant Pine Ridge Macon,
                                                LLC and New Home, LLC
    Case 1:23-mi-99999-UNA Document 2571-4 Filed 08/11/23 Page 96 of 162




                               CERTIFICATE OF SERVICE

       I hereby certify that I have this date served the within and foregoing NOTICE OF ENTRY

OF APPEARANCE upon opposing counsel of record for all parties by electronic filing and by

placing a copy of same in the United States Mail with adequate postage affixed thereon and

addressed as follows:

                                  Ashley Cameron-Bivins
                                 DOZIER LAW FIRM, LLC
                                    487 Cherry Street
                                       P.O. Box 13
                                  Macon, GA 31202-0013

       Respectfully submitted this 21st day of June, 2023.

 GRAY, RUST, ST. AMAND,
 MOFFETT & BRIESKE, L.L.P.                       /s/ Nada A. Paisant
 950 East Paces Ferry Road, N.E.                 Matthew G. Moffett
 Suite 1700 – Salesforce Tower Atlanta           Georgia State Bar No.: 515323
 Atlanta, Georgia 30326                          Chris J. Perniciaro
 Telephone:    (404) 870-7443                    Georgia State Bar No.: 618477
 Facsimile:    (404) 870-1030                    Nada A. Paisant
                                                 Georgia State Bar No.: 135270
                                                 Attorneys for Defendant Pine Ridge Macon,
                                                 LLC and New Home, LLC
                                                                                   State Court of Fulton County
      Case 1:23-mi-99999-UNA Document 2571-4 Filed 08/11/23 Page 97 of 162                           **E-FILED**
                                                                                                    23EV000464
                                                                                             6/26/2023 9:36 AM
                                                                                           Donald Talley, Clerk
                                                                                                   Civil Division
                      IN THE STATE COURT OF FULTON COUNTY
                                STATE OF GEORGIA

 KATAVIUS THREATT, Individually and as             )
 Next Friend of NIASIA THREATT,                    )
                                                   )
        Plaintiffs,                                )    CIVIL ACTION
                                                   )    FILE NO. 23EV000464
 v.                                                )
                                                   )
 PINE RIDGE MACON, LLC d/b/a PINE                  )
 RIDGE APARTMENTS, NEW HOME, LLC,                  )
 TIESHA KAY, and JOHN DOE NOS. 1-10.,              )
                                                   )
        Defendants.                                )
                                                   )
                                                   )

CONSENT STIPULATION EXTENDING DEFENDANT PINE RIDGE MACON, LLC’S
  DEADLINE TO RESPOND TO PLAINTIFF’S FIRST INTERROGATORIES AND
             REQUEST FOR PRODUCTION OF DOCUMENTS

       COME NOW all parties to the above-referenced case, and, pursuant to O.C.G.A. § 9-11-

6(b), hereby stipulate and agree that Defendant Pine Ridge Macon, LLC shall have through and

including July 7, 2023 to respond to Plaintiff’s First Interrogatories and Request for Production of

Documents, served May 24, 2023.

       Respectfully submitted this 26th day of June, 2023.

 DOZIER LAW FIRM, LLC
 487 Cherry Street                                 /s/ Ashley Cameron______________
 P.O. Box 13                                       [signed with express permission by Chris J.
 Macon, Georgia 31202                              Perniciaro]
 ashley@dozierlaw.com                              Ashley Cameron
                                                   Georgia State Bar No.: 914842
                                                   Attorney for Plaintiff
 GRAY, RUST, ST. AMAND,
 MOFFETT & BRIESKE, L.L.P.                         /s/ Chris J. Perniciaro
 950 East Paces Ferry Road, N.E.                   Matthew G. Moffett
 Suite 1700 – Salesforce Tower Atlanta             Georgia State Bar No.: 515323
 Atlanta, Georgia 30326                            Chris J. Perniciaro
 Telephone:    (404) 870-7448                      Georgia State Bar No.: 618477
 Facsimile:    (404) 870-1030                      Nada A. Paisant
Case 1:23-mi-99999-UNA Document 2571-4 Filed 08/11/23 Page 98 of 162




                                     Georgia State Bar No.: 135270
                                     Attorneys for Defendants Pine Ridge Macon,
                                     LLC and New Home, LLC




                                 2
     Case 1:23-mi-99999-UNA Document 2571-4 Filed 08/11/23 Page 99 of 162




                                CERTIFICATE OF SERVICE

        This is to certify that I have this day served a copy of the foregoing CONSENT

STIPULATION EXTENDING DEFENDANT PINE RIDGE MACON, LLC’S DEADLINE

TO RESPOND TO PLAINTIFF’S FIRST INTERROGATORIES AND REQUEST FOR

PRODUCTION OF DOCUMENTS with the Clerk of Court using the Court’s electronic filing-

and-service system, which will send electronic notification to all parties having appeared of record

in this action:

                                   Ashley Cameron-Bivins
                                  DOZIER LAW FIRM, LLC
                                     487 Cherry Street
                                        P.O. Box 13
                                     Macon, GA 31202

        Respectfully submitted this 26th day of June, 2023.

 GRAY, RUST, ST. AMAND,                          /s/ Chris J. Perniciaro
 MOFFETT & BRIESKE, L.L.P.                       Matthew G. Moffett
 950 East Paces Ferry Road, N.E.                 Georgia State Bar No.: 515323
 Suite 1700 – Salesforce Tower Atlanta           Chris J. Perniciaro
 Atlanta, Georgia 30326                          Georgia State Bar No.: 618477
 Telephone:    (404) 870-7448                    Nada A. Paisant
 Facsimile:    (404) 870-1030                    Georgia State Bar No.: 135270
                                                 Attorneys for Defendants Pine Ridge Macon,
                                                 LLC and New Home, LLC




                                                 3
                                                                                State Court of Fulton County
     Case 1:23-mi-99999-UNA Document 2571-4 Filed 08/11/23 Page 100 of 162                        **E-FILED**
                                                                                                 23EV000464
                                                                                          6/30/2023 3:10 PM
                                                                                        Donald Talley, Clerk
                                                                                                Civil Division
                     IN THE STATE COURT OF FULTON COUNTY
                               STATE OF GEORGIA

KATAVIUS THREATT, Individually and as          )
Next Friend of NIASIA THREATT,                 )
                                               )
       Plaintiffs,                             )
                                               )      CIVIL ACTION
v.                                             )      FILE NO. 23EV000464
                                               )
PINE RIDGE MACON, LLC d/b/a PINE               )
RIDGE APARTMENTS, NEW HOME, LLC,               )
TIESHA KAY, and JOHN DOE NOS. 1-10.,           )
                                               )
       Defendants.                             )
                                               )
                                               )

        RULE 5.2 CERTIFICATE OF SERVICE OF DISCOVERY MATERIALS

       THIS CERTIFIES that pursuant to Uniform Rule of State Court 5.2, I have this day

served a copy of the following discovery documents upon counsel in the above-styled action:

       1. Defendant Pine Ridge Macon, LLC d/b/a Pine Ridge Apartments’ First Request
          for Admissions to Plaintiff Katavius Threatt, Individually and as Next Friend of
          Niasia Threatt.


       Respectfully submitted this 30th day of June, 2023.

GRAY, RUST, ST. AMAND,
MOFFETT & BRIESKE, L.L.P.                          /s/ Chris J. Perniciaro
950 East Paces Ferry Road, N.E.                    Matthew G. Moffett
Suite 1700 – Salesforce Tower Atlanta              Georgia State Bar No.: 515323
Atlanta, Georgia 30326                             Chris J. Perniciaro
Telephone:    (404) 870-7448                       Georgia State Bar No.: 618477
Facsimile:    (404) 870-1030                       Nada A. Paisant
                                                   Georgia State Bar No.: 135270
                                                   Attorneys for Defendants Pine Ridge Macon,
                                                   LLC and New Home, LLC




                                          Page 1 of 2
    Case 1:23-mi-99999-UNA Document 2571-4 Filed 08/11/23 Page 101 of 162




                                 CERTIFICATE OF SERVICE

       This is to certify that I have this day served a copy of the foregoing RULE 5.2

CERTIFICATE OF SERVICE OF DISCOVERY MATERIALS with the Clerk of Court using

the Court’s electronic filing-and-service system, which will send electronic notification to all

parties having appeared of record in this action:

                                   Ashley Cameron-Bivins
                                  DOZIER LAW FIRM, LLC
                                     487 Cherry Street
                                        P.O. Box 13
                                   Macon, GA 31202-0013

       Dated this 30th day of June, 2023.

GRAY, RUST, ST. AMAND,
MOFFETT & BRIESKE, L.L.P.                           /s/ Chris J. Perniciaro
950 East Paces Ferry Road, N.E.                     Matthew G. Moffett
Suite 1700 – Salesforce Tower Atlanta               Georgia State Bar No.: 515323
Atlanta, Georgia 30326                              Chris J. Perniciaro
Telephone:    (404) 870-7448                        Georgia State Bar No.: 618477
Facsimile:    (404) 870-1030                        Nada A. Paisant
                                                    Georgia State Bar No.: 135270
                                                    Attorneys for Defendants Pine Ridge Macon,
                                                    LLC and New Home, LLC




                                            Page 2 of 2
                                                                                     State Court of Fulton County
     Case 1:23-mi-99999-UNA Document 2571-4 Filed 08/11/23 Page 102 of 162                             **E-FILED**
                                                                                                      23EV000464
                                                                                               7/6/2023 10:38 AM
                                                                                             Donald Talley, Clerk
                                                                                                     Civil Division

                      IN THE STATE COURT 0F FULTON COUNTY
                                    STATE OF GEORGIA
KATAVIUS THREATT, Individually and as
Next Friend of NIASIA THREATI',

       Plaintiff',
                                                     CIVIL ACTION
                                                     FILE NO. 23EV000464
v.

PINE RIDGE MACON, LLC d/b/a PINE
RIDGE APARTMENTS, NEW HOME, LLC,
TIESHA KAY, AND JOHN DOE NOS 110.,

       Defendants.



        MOTION TO APPOINT SPECIAL AGENT FOR SERVICE OF PROCESS

       Comes now the Plaintiff herein, and pursuant to O.C.G.A. § 15-10-43 (b) [9-11-4(c)]

moves this Court to appoint Michael Lewis as special agent to perfect service of the Summons

and Complaint ﬁled herein upon the Defendant Tiesha Kay, and in support thereof shows to this

Court as follows:

                                                    l.

       Plaintiff ﬁled the above-noted action on January 25, 2023, and has attempted to serve

process on Defendant Tiesha Kay, but has been unable to locate her.

                                                    2.

        Plaintiff believes that Defendant Tiesha Kay currently resides in Macon, Georgia. It is

reasonably believed that service by the Sheriff s Department will not be possible.
    Case 1:23-mi-99999-UNA Document 2571-4 Filed 08/11/23 Page 103 of 162




                                                     3.

       The proposed special agent to serve process. Michael Lewis. is a citizeli of the United

States above the age of ei ghtcen years and is qualified to locate and perfect service of process on

Defendant Tiesha Kay.

                                                     4.

               Attached hereto is an afﬁdavit of Michael Lewis detailing his qualifications as a

private process server.

       Wherefore, Plaintiff prays that an Order is issued appointing the above-listed person as

special agent to perfect service of the summons and complaint ﬁled herein upon the Defendant

Tiesha Kay.

       This lﬁh Day ofJuly, 2023.



                                                      Ashl y
                                                                         Q
                                                                     eron-Bivins
                                                      GA     ar    . 914842


                                                      Atto   EC   or Plaintiff

       DOZIER LAW FIRM. LLC
       487 Cherry Street
       PO. Box 13
       Macon. Georgia 3 I 202-33 l 2
       Phone: 478-742-8441
       ashlengdozicrlawcom
Case 1:23-mi-99999-UNA Document 2571-4 Filed 08/11/23 Page 104 of 162




                    1N THE STATE COURT OF FULTON COUNTY
                                STATE OF GEORGIA
KATAVIUS THREAT'I', Individually and as
Next Friend of NIASIA THREATI',

       Plaintiff,
                                                  CIVIL ACTION
                                                  FILE NO. 23 EV000464
v.

PINE RIDGE MACON, LLC d/b/a PINE
RIDGE APARTMENTS, NEW HOME, LLC,
TIESHA KAY, AND JOHN DOE NOS 1-10.,

       Defendants.


                          AFFIDAVIT OF MICHAEL LEWIS
       PERSONALLY APPEARED before the undersigned attesting ofﬁcer duly

authorized to administer oaths, Michael Lewis, who, aﬁer being duly sworn, deposes and

states on oath the following:

                                          l.

       My name is Michael Lewis.       l am past the   age of majority and otherwise

competent to make this Afﬁdavit.

                                          2.


       I have owned and operated Central Georgia Special Investigations since 1997.


                                          3.


       During the past eighteen (18) years I have been a court appointed process server

in numerous Georgia counties including Bibb, Houston, Jones, Peach, Crawford, and the


Ocmulgee Judicial Circuit.
Case 1:23-mi-99999-UNA Document 2571-4 Filed 08/11/23 Page 105 of 162




                                                   4.

         I   am a permanently appointed process server in Bibb Superior Court Bibb State

Court. and Houston State Court.

             This 6'h day of July, 2023.




                                                        ﬂ/W
                                                        Michacl
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                       \1H'.'."u,                                         \\
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My Commission [3prth       €83] 24
                                                                                  State Court of Fulton County
      Case 1:23-mi-99999-UNA Document 2571-4 Filed 08/11/23 Page 106 of 162                         **E-FILED**
                                                                                                   23EV000464
                                                                                            7/6/2023 10:38 AM
                                                                                          Donald Talley, Clerk
                                                                                                  Civil Division

                           IN THE STATE COURT OF FULTON COUNTY
                                    STATE OF GEORGIA
KATAVIUS THREATT, Individually and as
Next Friend of NIASIA THREATI',

        Plaintiff,
                                                     CIVIL ACTION
                                                     FILE NO. 23 EV000464
V.

PINE RIDGE MACON, LLC d/b/a PINE
RIDGE APARTMENTS, NEW HOME, LLC,
TIESHA KAY, AND JOHN DOE NOS 1-10.,

        Defendants.



         ORDER APPOINTING SPECIAL AQ_ENT FOR SERVICE OF PROCESS
        Plaintiff's Motion to Appoint a Special Agent for Service of Process, having been read

and considered, and it appearing to the Court that Michael Lewis is qualiﬁed for this purpose, it

is,

        ORDERED that Michael Lewis is appointed special agent for service of process in this

case.

        This          day of                   , 2023.




                                     JUDGE, FULTON COUNTY STATE COURT
Order Prepared by:
Ashley Cameron Bivins
GA Bar No. 914842
DOZIER LAW FIRM, LLC
487 Cherry Street
P.O. Box 13
Macon, Georgia 31202-3312
Phone: 478-742-8441
ashley@dozierlaw.com
                                                                               State Court of Fulton County
    Case 1:23-mi-99999-UNA Document 2571-4 Filed 08/11/23 Page 107 of 162                        **E-FILED**
                                                                                                23EV000464
                                                                                         7/7/2023 12:23 PM
                                                                                       Donald Talley, Clerk
                                                                                               Civil Division
                      IN THE STATE COURT OF FULTON COUNTY
                                STATE OF GEORGIA

 KATAVIUS THREATT, Individually and as )
 Next Friend of NIASIA THREATT,        )
                                       )
        Plaintiffs,                    )               CIVIL ACTION
                                       )               FILE NO. 23EV000464
 v.                                    )
                                       )
 PINE RIDGE MACON, LLC d/b/a PINE )
 RIDGE APARTMENTS, NEW HOME, LLC, )
 TIESHA KAY, and JOHN DOE NOS. 1-10.,

        Defendants.

        RULE 5.2 CERTIFICATE OF SERVICE OF DISCOVERY MATERIALS

       THIS CERTIFIES that pursuant to Uniform Rule of State Court 5.2, I have this day served

a copy of the following discovery documents upon opposing counsel in the above-styled action:

       1. Defendant Pine Ridge Macon, LLC d/b/a Pine Ridge Apartments’ Responses
          and Objections to Plaintiffs’ First Interrogatories;
       2. Defendant Pine Ridge Macon, LLC d/b/a Pine Ridge Apartments’ Responses
          and Objections to Plaintiffs’ Request for Production of Documents; and
       3. Defendant Pine Ridge Macon, LLC d/b/a Pine Ridge Apartments and New
          Home, LLC’S Privilege Log.

       Respectfully submitted this 7th day of July, 2023.

 GRAY, RUST, ST. AMAND,
 MOFFETT & BRIESKE, L.L.P.                      /s/ Chris J. Perniciaro
 950 East Paces Ferry Road, N.E.                Matthew G. Moffett
 Suite 1700 – Salesforce Tower Atlanta          Georgia State Bar No.: 515323
 Atlanta, Georgia 30326                         Christopher J. Perniciaro
 Telephone: (404) 870-7448                      Georgia Bar No. 618477
 Facsimile:    (404) 870-1030                   Counsel for Defendant Pine Ridge Macon,
                                                LLC d/b/a Pine Ridge Apartments




                                         Page 1 of 2
    Case 1:23-mi-99999-UNA Document 2571-4 Filed 08/11/23 Page 108 of 162




                                 CERTIFICATE OF SERVICE

       This is to certify that I have this day served a copy of the foregoing RULE 5.2

CERTIFICATE OF SERVICE OF DISCOVERY MATERIALS with the Clerk of Court using

the Court’s electronic filing-and-service system, which will send electronic notification to all

parties having appeared of record in this action:

                                   Ashley Cameron-Bivins
                                  DOZIER LAW FIRM, LLC
                                     487 Cherry Street
                                        P.O. Box 13
                                     Macon, GA 31202


       Dated this 7th day of July, 2023.

 GRAY, RUST, ST. AMAND,
 MOFFETT & BRIESKE, L.L.P.                          /s/ Chris J. Perniciaro
 950 East Paces Ferry Road, N.E.                    Matthew G. Moffett
 Suite 1700 – Salesforce Tower Atlanta              Georgia State Bar No.: 515323
 Atlanta, Georgia 30326                             Christopher J. Perniciaro
 Telephone: (404) 870-7448                          Georgia Bar No. 618477
 Facsimile:    (404) 870-1030                       Counsel for Defendant Pine Ridge Macon,
                                                    LLC d/b/a Pine Ridge Apartments




                                            Page 2 of 2
                                                                               State Court of Fulton County
    Case 1:23-mi-99999-UNA Document 2571-4 Filed 08/11/23 Page 109 of 162                        **E-FILED**
                                                                                                23EV000464
                                                                                         7/10/2023 2:54 PM
                                                                                       Donald Talley, Clerk
                                                                                               Civil Division
                      IN THE STATE COURT OF FULTON COUNTY
                                STATE OF GEORGIA

 KATAVIUS THREATT, Individually and as )
 Next Friend of NIASIA THREATT,        )
                                       )
        Plaintiffs,                    )               CIVIL ACTION
                                       )               FILE NO. 23EV000464
 v.                                    )
                                       )
 PINE RIDGE MACON, LLC d/b/a PINE )
 RIDGE APARTMENTS, NEW HOME, LLC, )
 TIESHA KAY, and JOHN DOE NOS. 1-10.,

        Defendants.

        RULE 5.2 CERTIFICATE OF SERVICE OF DISCOVERY MATERIALS

       THIS CERTIFIES that pursuant to Uniform Rule of State Court 5.2, I have this day served

a copy of the following discovery documents upon opposing counsel in the above-styled action:

   1. Defendant Pine Ridge Macon, LLC d/b/a Pine Ridge Apartments’ Second Request

       for Admissions to Plaintiff Katavius Threatt, Individually and as Next Friend of

       Niasia Threatt

       Respectfully submitted this 10th day of July, 2023.

 GRAY, RUST, ST. AMAND,
 MOFFETT & BRIESKE, L.L.P.                      /s/ Chris J. Perniciaro
 950 East Paces Ferry Road, N.E.                Matthew G. Moffett
 Suite 1700 – Salesforce Tower Atlanta          Georgia State Bar No.: 515323
 Atlanta, Georgia 30326                         Christopher J. Perniciaro
 Telephone:    (404) 870-7448                   Georgia Bar No. 618477
 Facsimile:    (404) 870-1030                   Counsel for Defendant Pine Ridge Macon,
                                                LLC d/b/a Pine Ridge Apartments




                                         Page 1 of 2
    Case 1:23-mi-99999-UNA Document 2571-4 Filed 08/11/23 Page 110 of 162




                                 CERTIFICATE OF SERVICE

       This is to certify that I have this day served a copy of the foregoing RULE 5.2

CERTIFICATE OF SERVICE OF DISCOVERY MATERIALS with the Clerk of Court using

the Court’s electronic filing-and-service system, which will send electronic notification to all

parties having appeared of record in this action:

                                   Ashley Cameron-Bivins
                                  DOZIER LAW FIRM, LLC
                                     487 Cherry Street
                                        P.O. Box 13
                                     Macon, GA 31202


       Dated this 10th day of July, 2023.

 GRAY, RUST, ST. AMAND,
 MOFFETT & BRIESKE, L.L.P.                          /s/ Chris J. Perniciaro
 950 East Paces Ferry Road, N.E.                    Matthew G. Moffett
 Suite 1700 – Salesforce Tower Atlanta              Georgia State Bar No.: 515323
 Atlanta, Georgia 30326                             Christopher J. Perniciaro
 Telephone:    (404) 870-7448                       Georgia Bar No. 618477
 Facsimile:    (404) 870-1030                       Counsel for Defendant Pine Ridge Macon,
                                                    LLC d/b/a Pine Ridge Apartments




                                            Page 2 of 2
                                                           State Court of Fulton County
Case 1:23-mi-99999-UNA Document 2571-4 Filed 08/11/23 Page 111 of 162        **E-FILED**
                                                                            23EV000464
                                                                     7/10/2023 8:58 AM
                                                                   Donald Talley, Clerk
                                                                           Civil Division
                                                           State Court of Fulton County
Case 1:23-mi-99999-UNA Document 2571-4 Filed 08/11/23 Page 112 of 162        **E-FILED**
                                                                            23EV000464
                                                                     7/12/2023 4:14 PM
                                                                   Donald Talley, Clerk
                                                                           Civil Division
                                                                                         State Court of Fulton County
                  Case 1:23-mi-99999-UNA Document 2571-4 Filed 08/11/23 Page 113 of 162                    **E-FILED**
                                                                                                          **E-FILED**
                                                                                                          23EV000464
                                     STATE COURT              OF FULTON COUNTY, GEORGIA             7/26/2023 2:58 PM
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                                                                                                 Donald   Talley, Clerk
                                                                                                 Donald Civil
                                                                                                         Talley, Clerk
                                                                                                               Division
Date Filed: 1/25/2023                                                Case No: -3EV000464                Civil DiViSiO"

Katavious Threatt, Individually and

As Next Friend of Niasaia Threatt



Plaintiﬁ(s)                                                                SPECIAL AGENT'S AFFIDAVIT OF
vs                                                                         ENTRY OF SERVICE

Pine Rid e Macon LLC d/b/a Pine Rid e A artments                           Name and Address of Party to be Served:
New Home, LLC, Tiesha Kay, John Does Nos 1-10                              Tiesha Kay
                                                                           286 Pio Nono Avenue
                                                                           Macon Ga. 31204
Defendant(s)




DATE OF SERV c         :
                               7- & é 20Z;    

                                                                    (This date must be written and clearly legible on def, lgamishee'scogy)

 [    ] PERSONAL Place of Service { ] same as above: [ ] other. as follows:
 I   served this defendant with a copy of the action 8. summons:

 [] NOTORIOUS      I   served Defendant by leaving a copy of the action and summons at the most notorious place of abode in the
 county:


 Delivered the same to                                                                      described as follows: approximate age
 years: approximate weight                   pounds; approximate height          feet and            inches. living at the residence of the
 defendant.
 [ ] CORPORATION Upon corporation

                                                                                                                   in charge of the office and
 By servinq                                                                                                    .


 place of business of the corporation in this county.
                                                                                                                               its registered agent.
 By servinq                                                                                                                .




                                                                                                                  above in the afﬁdavit
 [1 TACK 8. MAIL l served the defendant by posting a copy to the door of the defendant's premises designated
             same                    a true copy in the mail with first class postage in an envelope properly addressed to the address
 and. on the      day. by depositing
        in the summons with adequate notice to answer the summons at the place stated in the summons. (Dispossessory only)
 shown
         N EST Did not serve because after a diligent search the def/gamishee could not be found in the jurisdiction of the court
1      Other  ..
                 / ,       .
                           -                      .       .
                                                                      ,
                                                                                                  L

(This portion shall be completed, u der oath. after ervice and before ﬁling with the Clerk of this Court, except
                                                                                                                 for printed
                                                                                              that l have personally effectuated service of process
name.) I. the undersigned. and being duly sworn. and under penalty of law. swear
on the date. time. placate    Ht     -r as  set forth above  and  that  all the  facts set forth herein are true and -- '-   and that l have served a
      of this docu                       .
                                           rinted name.   exclusive  of  my   signatu;      der  oath. upon   the  defJ
copy                             .,                                                                               '
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service of all do          .-   L.
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Nothvé shall afli Eﬁal                                                     (Must be cle rty'le ﬁle on d Jgamishee copy to indicate
                                                                           made servi        t the           ice was made.)
                       "I,67%thé
                          "I tttlt\\'\Ks"                                          (Initial if applicable) I am designated as a Special Agent
                                                                                                                                              for
                                                                                   of Process under a standing order of this Court.
                                                                                 '
                                                                           S
    Case 1:23-mi-99999-UNA Document 2571-4 Filed 08/11/23 Page 114 of 162




                       AFFIDAVIT OF MICHAEL LEWIS
BIBB COUNTY
STATE OF GEORGIA

       Personally appeared before me the undersigned ofﬁcer duly authorized to

administer oaths in this state, MICHAEL LEWIS, who having been sworn, deposes

and states the following:

                                        l.

       My name is Michael Lewis. I am over eighteen (18) years of age and am

competent to make this Afﬁdavit. I suﬁ'er no legal disabilities and I make this

Affidavit of my own personal knowledge.

                                        2.

       I received the assignment of serving Tiesha Kay on July 13, 2023.

                                        3.

       On that date, I taveled to 286 Pio Nono Avenue, in Macon to serve the

Summons and Complaint for the case in Fulton County State Court (Civil Action

No. 23-SV-00464). However, l found no one at home, no vehicles present, and

several busted and boarded windows. I came back later that evening with the same

results.
   Case 1:23-mi-99999-UNA Document 2571-4 Filed 08/11/23 Page 115 of 162




                                          4.

       On July 17, 2023, I again attempted service at the same address at 6:55 p.m.,

with negative results aﬁer numerous doorbell rings and knocks on doors and

windows.

                                          5.

       I attempted service again on July 21, 2023, at 4:25 p.m. Then
                                                                       again on July

24, 2023, at 7:12 p.m., with the same negative results.

                                          6.

       On the July 24, 2023, I traveled to Prestige Properties, a rental agent for the

homeowner, at 507 Hillcrest Industrial Blvd, Macon, Georgia, but the oﬁice was

closed, and I leﬁ a telephone message. On July 25, 2023, they returned my call and

informed me the home was vacant and no one was living there. However, they were

familiar with Tiesha Kay as she had been living there under a lease in the name of

Gloria Harvey. They were evicted ﬁom the home due to failure to pay rent by Teisha

Kay.

                                          7.

       On the July 25, 2023, I ran a locator report for Tiesha Kay and found three

additional possible addresses: 1172 Dewey Street, 171 Bobby Jones Street, (both of

Macon, Georgia) and 7324 Quail Run Road in Lizella, Georgia. After checking each

of these addresses, Tiesha Kay was not a resident and the current residents had no
   Case 1:23-mi-99999-UNA Document 2571-4 Filed 08/11/23 Page 116 of 162




knowledge of her whereabouts. Also, on this date I called (478) 206-3282, a possible

phone number for Tiesha Kay, and received no answer and left a text message

requesting a call back. Later that day, an unidentiﬁed male called back and advised

this was his phone, and he was the father of one of Tiesha Kay's children. He


explained he did not have a telephone number or address for her, but he would

contact their child to see if he could obtain the information for me. He did inform

me that Tiesha Kay was still residing in the middle Georgia area. He never called

me back and quit responding to my text messages.


                                          8.

      Aﬁer checking multiple addresses with negative results and having no new

information regarding her current whereabouts, we are closing our ﬁle at this time.

We will continue to develop leads and notify you of any new developments.

      FURTHER AFFIANT SAYETH NOT, this Q6 day of                Jab         023.

                                                                       ew/
                                               MICH EL LE      is"
                                               CENT LGA El AL
                                               INVES IGATION


Subscribed
           andtswok'rtltg),before me in the county of Bibb, State of Georgia,
thi      d                  2023
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        S   OWWWe)
                                                           State Court of Fulton County
Case 1:23-mi-99999-UNA Document 2571-4 Filed 08/11/23 Page 117 of 162        **E-FILED**
                                                                            23EV000464
                                                                     7/26/2023 2:58 PM
                                                                   Donald Talley, Clerk
                                                                           Civil Division
                                                           State Court of Fulton County
Case 1:23-mi-99999-UNA Document 2571-4 Filed 08/11/23 Page 118 of 162        **E-FILED**
                                                                            23EV000464
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                                                                   Donald Talley, Clerk
                                                                           Civil Division
                                                                                                             State Court of Fulton County
                    Case 1:23-mi-99999-UNA Document 2571-4 Filed 08/11/23 Page 119 of 162                                      **E-FILED**
                                                                                                                              23EV000464
                                                  STATE COURT                     OF FULTON COUNTY, GEORGIA           7/26/2023 11:19 AM
                                                                                                                     Donald Talley, Clerk
Date Filed: 1/25/2023                                                                    Case No: -3EV000464                 Civil Division

Katavious Threatt, Individually and

As Next Friend of Niasaia Threatt



Plaintiff")                                                                                    SPECIAL AGENT'S AFFIDAVIT OF
vs                                                                                             ENTRY OF SERVICE

Pine Ridge Macon, LLC d/b/a Pine Ridge Apartments,                                             Name and Address of Party to be Served:
New Home, LLC, Tiesha Kay, John Does Nos 1-10                                                  Tiesha Kay
                                                                                               286 Pio Nono Avenue
                                                                                               Macon Ga, 31204

Defendant(s)




DATE OF    SERﬁ '7- & é 2©23                                       

                                                                                         (This date must be written and clearly leqible on def. lgarnishee's cog!)

 [    ]PERSONAL Place of Service[ ]same as above;[ ]other. as follows:
 I   served this defendant with a copy of the action & summons:

 [] NOTORIOUS           l   served Defendant by leaving a copy of the action and summons at the most notorious place of abode in the
 county:


 Delivered the same to                                                                                          described as follows: approximate age
 years; approximate weight                                        pounds; approximate height         feet and            inches. living at the residence of the
 defendant.
 [ ] CORPORATION Upon corporation

                                                                                                                                      in charge of the ofﬁce and
 By servino                                                                                                                       ,


 place of business of the corporation in this county.
 By servino                                                                                                                                   ,   its registered agent.


 [1 TACK & MAIL served the defendant by posting a copy to the door of the defendant's premises designated above in the afﬁdavit
                            I


 and. on the same day. by depositing a true copy in the mail with ﬁrst class postage in an envelope properly addressed to the address
        in the summons with adequate notice to answer the summons at the place stated in the summons. (Dispossessory only)
 shown
         N EST Did not serve because after a diligent search the def/gamishee could not be found In the jurisdiction of the court
       Other                                                                                         Noe/ryxéé may create/0 no M4 cod
(This portion shall be completed, under oath, after service and before ﬁling with the Clerk of this Court, except for printed
name.) l the undersigned and being duly sworn, and under penalty of law, swear that l have personally effectuated service of process
on the date time places    "tether as set forth above and that all the facts set forth herein are true and  ct and that l have served a
copy of this docu       hi" u,       n'nted name. exclusive of my signatur        der o'ath. upon e def.l  shee simultaneous with
                                                                                                                                                  al aﬁdavit.
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                                              I
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                                                                                                       (Initial if applicable) l am designated as a Special Agent for
                                                                                               S       of Process under a standing order of this Court.
   Case 1:23-mi-99999-UNA Document 2571-4 Filed 08/11/23 Page 120 of 162




                           AFFIDAVIT OF MICHAEL LEWIS
BIBB COUNTY
STATE OF GEORGIA

       Personally appeared before me the undersigned ofﬁcer duly authorized to

administer oaths in this state, MICHAEL LEWIS, who having been sworn, deposes

and states the following:

                                            1.


       My name is Michael Lewis. I am over eighteen (18) years of age and am

competent to make this Afﬁdavit. I suffer no legal disabilities and I make this

Afﬁdavit of my own personal knowledge.

                                            2.

           I received the assignment of serving Tiesha Kay on July l3, 2023.

                                            3.

       On that date, I traveled to 286 Pio Nono Avenue, in Macon to serve the

Summons and Complaint for the case in Fulton County State Court (Civil Action

No. 23-SV-00464). However, I found no one at home, no vehicles present, and

several busted and boarded windows. I came back later that evening with the same

results.
   Case 1:23-mi-99999-UNA Document 2571-4 Filed 08/11/23 Page 121 of 162




                                          4.

       On July l7, 2023, I again attempted service at the same address at 6:55 p.m.,

with negative results aﬁer numerous doorbell rings and knocks on doors and

windows.

                                          5.

       I attempted service again on July 21, 2023, at 4:25 p.m. Then again on July


24, 2023, at 7:12 p.m., with the same negative results.

                                          6.

       On the July 24, 2023, I traveled to Prestige Properties, a rental agent for the

homeowner, at 507 Hillcrest Industrial Blvd, Macon, Georgia, but the ofﬁce was

closed, and I leﬁ a telephone message. On July 25, 2023, they returned my call and

informed me the home was vacant and no one was living there. However, they were

familiar with Tiesha Kay as she had been living there under a lease in the name of

Gloria Harvey. They were evicted ﬁom the home due to failure to pay rent by Teisha

Kay.

                                          7.

       On the July 25, 2023, I ran a locator report for Tiesha Kay and found three

additional possible addresses: 1172 Dewey Street, 171 Bobby Jones Street, (both of

Macon, Georgia) and 7324 Quail Run Road in Lizella, Georgia. Aﬁer checking each

of these addresses, Tiesha Kay was not a resident and the current residents had no
   Case 1:23-mi-99999-UNA Document 2571-4 Filed 08/11/23 Page 122 of 162




knowledge of her whereabouts. Also, on this date I called (478) 206-3282, a possible

phone number for Tiesha Kay, and received no answer and leﬁ a text message

requesting a call back. Later that day, an unidentiﬁed male called back and advised

this was his phone, and he was the father of one of Tiesha Kay's children. He

explained he did not have a telephone number or address for her, but he would

contact their child to see if he could obtain the information for me. He did inform

me that Tiesha Kay was still residing in the middle Georgia area. He never called

me back and quit responding to my text messages.

                                                        8.

      Aﬁer checking multiple addresses with negative results and having no new

information regarding her current whereabouts, we are closing our ﬁle at this time.

We will continue to develop leads and notify you of any new developments.

      FURTHER AF FIANT SAYETH NOT, this 26 day of 3:! L                                       023.
                                                                               1


                                                                                      aw/
                                                             MICHAEL LE s"
                                                             CENTitAL GA E1 AL
                                                             INVESTIGATION


Subscribed
              '
             ands")                  Itohbefore me in the county of Bibb, State of Georgia,
thiscgaﬂd              ._                    2.2023.
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Case 1:23-mi-99999-UNA Document 2571-4 Filed 08/11/23 Page 123 of 162
                                                                                     State Court of Fulton County
     Case 1:23-mi-99999-UNA Document 2571-4 Filed 08/11/23 Page 124 of 162                             **E-FILED**
                                                                                                      23EV000464
                                                                                              7/27/2023 10:40 AM
                                                                                             Donald Talley, Clerk
                                                                                                     Civil Division
                         IN THE STATE COURT OF FULTON COUNTY
                                       STATE OF GEORGIA

KATAVIUS THREATT. Individually and as
Next Friend oleASIA THREATT.

        Plaintiff.
                                                       CIVIL ACTION
                                                       FILE NO. 23EV000464
v.

PINE RIDGE MACON, LLC d/b/a PINE
RIDGE APARTMENTS. NEW HOME, LLC,
TIESHA KAY. AND JOHN DOE NOS 1-10..

        Defendants.



        Pursuant to Uniform Rule 5.2(2), this is to certify that all parties to this action were

served with copies of the PLAINTIFF 'S RESPONSE T0 DEFENDANT PINE RIDGE MACON,

LLC 'S FIRST REQUEST FOR ADMISSIONS T0 PLAINTIFF KATA VIOUS THREA 77'.

INDIVIDUALLY AND AS NEXT 0F FRIEND 0F NIASIA THREATT.

       Counsel for the opposing party has been served via U.S. Mail to the following address

with sufficient postage afﬁxed thereto:


                                       Chris Pemiciaro. Esq.
                     GRAY. RUST. ST. AMAND. MOFFETT & BRIESKE, LLP
                                  950 East Paces Ferry Road, N.E.
                               Suite 1700 Salesforce Tower Atlanta
                                          




                                      Atlanta, Georgia 30326

       This 21""July 2023.

                                                                     /                 .




THE DOZIER LAW FIRM. LLC                                       Ashl y C   eron-Bivins
P. O. Box 13                                                   Geo ia arNo. 914842
487 Cherry Street                                              Atto ey for Plaintiff
Macon GA 31202-3312
Phone: 478-742-8441
ashley@dozierlaw.com
                                                           State Court of Fulton County
Case 1:23-mi-99999-UNA Document 2571-4 Filed 08/11/23 Page 125 of 162        **E-FILED**
                                                                            23EV000464
                                                                       8/8/2023 3:08 PM
                                                                   Donald Talley, Clerk
                                                                           Civil Division
                                                                                    State Court of Fulton County
     Case 1:23-mi-99999-UNA Document 2571-4 Filed 08/11/23 Page 126 of 162                            **E-FILED**
                                                                                                     23EV000464
                                                                                                8/9/2023 9:16 AM
                                                                                            Donald Talley, Clerk
                                                                                                    Civil Division
                         IN THE STATE COURT OF FULTON COUNTY
                                      STATE OF GEORGIA

KATAVIUS THREATT. Individually and as
Next Friend of NIASIA THREATT,

        Plaintiff:
                                                      CIVIL ACTION
                                                      FILE NO. 23EV000464
v.

PINE RIDGE MACON. LLC d/b/a PINE
RIDGE APARTMENTS. NEW HOME. LLC.
TIESHA KAY. AND JOHN DOE NOS 1-10..

       Defendants.



       Pursuant to Unifonn Rule 5.2(2). this is to certify that all parties to this action were

served with copies ofthe PLAINTIFF 'S RESPONSE TO DEFENDANT PINE RIDGE MACON.

LLC '3 SECOND REQUES T FOR ADMISSIONS TO PIAINTIFF KA TA VIOUS TIIREA IT.

[ND] VIDUALL Y AND AS NEAT 0F FRIEND 0F NIASIA 'I'HREA I T.

       Counsel for the opposing party has been served via US. Mail to the following address

with sufﬁcient postage affixed thereto:


                                      Chris Pcmiciaro. Esq.
                     GRAY. RUST. ST. AMAND. MOFFETT & BRIESKE. LLP
                               95() East Paces Ferry Road. NE.
                              Suite I700 Salesforee Tower Atlanta
                                          -




                                      Atlanta. Georgia 30326

       This W" August 2023.


THE DOZIER LAW FIRM. LLC
P. O. Box l3                                                  Aihtcﬁ'amcron-Bkins
                                                              G  orgia Bar No. 914842
487 Cherry Street                                             Attorney for Plaintit'f
Macon GA 3I202-33l2
Phone: 478-742-8441
ashley@dozierlaw.com
        Case 1:23-mi-99999-UNA Document 2571-4 Filed 08/11/23 Page 127 of 162
                                                               State Court of Fulton County
                                                                            ***EFILED***
                                                                        File & ServeXpress
                                                                                                          Transaction ID: 70603444
                                             JUDGE FRED C. EADY                                           Case Number: Multi-Case
                                                CIVIL DIVISION                                          Date: Aug 10 2023 10:20AM
                                                                                                         Donald Talley, Chief Clerk
                       VIRTUAL             NO-SERVICE & DEFAULT CALENDAR                                              Civil Division


            DO NOT APPEAR IN COURT FOR THIS CALENDAR

                  All hearings will be held via Zoom                              Conference


        This is a ONE DAY VIRTUAL                         No   Service   and   Default   Calendar       for Monday,
 September 18, 2023 at 9:00 a.m.

             The ZOOM         conference invitation can be found on the last page of this order.

        A livestream of this hearing will be broadcast at
https://www. youtube.com/channel/UCuWps_uOk_CYGjs9Y       VEqGoO/live.!

       TRIALS WILL BE HELD VIA ZOOM                        CONFERENCE.

 SERVICE:             Service upon all defendants must be perfected and written proof of service efiled
 and        emailed     to   the   Court    at   ritu.bahri@fultoncountyga.gov      no   later   than     Thursday,
 September 14, 2023. The Court will not grant any resets other than for legal cause. Failure to do
 so will subject the case to immediate dismissal without prejudice.

DEFAULT CASES:

Attorneys and pro se Plaintiffs shall submit a WRITTEN REPORT no later than Thursday,
September 14, 2023 via email to ritu.bahri@fultoncountyga.gov with the case status and shall
include the following information:
    1. Attorney names and parties represented;
    2. Expected length of trial;
    3. DEFAULT LIQUIDATED: For cases in DEFAULT with liquidated damages, Plaintiff
        must file a Motion for Default Judgment no later than Thursday, September 14, 2023. In
        that event, a copy Motion for Default Judgment shall be sent to the Court via email listed
        above. Failure to timely file a Motion for Default judgment will result in the case being
        dismissed without prejudice.
       4.    DEFAULT         UNLIQUIDATED:            For cases in DEFAULT        with unliquidated damages,
             Plaintiff must file a Motion for Default Judgment as to liability and an affidavit supporting
             the claim for unliquidated damages no later than Thursday, September 14, 2023. A copy
             of Motion for Default Judgment shall be sent to the Court via email listed above.


' This site may be accessed directly, or by visiting FultonState.org > Life Stream tab > Chief Judge Fred C. Eady.
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    5.   SUBROGATION          CASES:   Plaintiff shall efile an affidavit supporting the claim for
         unliquidated damages no later than Thursday, September 14, 2023.




Fred Eady is inviting you to a scheduled Zoom meeting.

Topic: NO SERVICE / DEFAULT CALENDAR
Time: Sep 18, 2023 09:00 AM Eastern Time (US and Canada)

Join Zoom Meeting
https://zoom.us/j/96238357416?pwd=OXV1 MDhk WFNQNmF             1 VDFjK2k2MVVOZz09

Meeting ID: 962 3835 7416
Passcode: 756485




Join by SIP
* 96238357416@zoomere.com




Join by H.323
* 162.255.37.11 (US West)
* 162.255.36.11 (US East)
+ 115.114.131.7 (India Mumbai)
¢ 115.114.115.7 (India Hyderabad)
¢ 213.19.144.110 (Amsterdam Netherlands)
° 213.244.140.110 (Germany)
¢ 103.122.166.55 (Australia Sydney)
* 103.122.167.55 (Australia Melbourne)
¢ 149.137.40.110 (Singapore)
© 64.211.144.160 (Brazil) —
¢ 149.137.68.253 (Mexico)
* 69.174.57.160 (Canada Toronto)
* 65.39.152.160 (Canada Vancouver)
* 207.226.132.110 (Japan Tokyo)
¢ 149.137.24.110 (Japan Osaka)

Meeting ID: 962 3835 7416
Passcode: 756485
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                                                    VIRTUAL NO SERVICE & DEFAULT
                                                         Division Y - Judge Eady
                                                              09/25/2023
                                             JUDGE:     Eady,FredC          9:00AM
 STATE COURT OF FULTON COUNTY
         ATLANTA, GEORGIA




  d--

23EV000077                      Plaintiff:   Ashley Whatley                      Attorney:   Paul, Michael D., Jr.


 Ashley Whatley                 Defendant:     Jon T. Sink                       Attorney:
VS.Jon Sink
FILE DATE:   01/04/2023




  2--

23EV000127                      Plaintiff:   Samuel Urda                         Attorney:   GASTLEY, DAVID

 Samuel Urda
                                Defendant:     AICA Orthopedics; Atlas Surgery   Attorney:
VS.AICA Orthopedics,Atlas       Center
Surgery Center
FILE DATE:   01/06/2023




  Ze

23EV000217                      Plaintiff:   Galaxy International Purchasing,    Attorney:   Diaz-Caballero, Hernan
                                LLC
 Galaxy International
                                Defendant:     Joshua Winfrey                    Attorney:
Purchasing, LLC
vs.
Joshua Winfrey
FILE DATE: 01/11/2023




 4--

23EV000313                      Plaintiff:   VELOCITY INVESTMENTS, LLC           Attorney:   REAGIN, ROY D, Jr.
                                ASSIGNEE OF PROSPER FUNDING, LLC
VELOCITY INVESTMENTS,
                                Defendant:     JACQUENETTE DYSON                 Attorney:
LLC ASSIGNEE OF PROSPER
FUNDING, LLC
vs.
JACQUENETTE DYSON
FILE DATE:   01/16/2023
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                                                    JUDGE:    Eady, FredC         9:00AM
      STATE COURT OF FULTON COUNTY
             ATLANTA, GEORGIA




  5s

23EV000322                            Plaintiff:   DNF ASSOCIATES, LLC ASSIGNEE OF     Attorney:   REAGIN, ROY D, Jr.
                                     CNU ONLINE HOLDINGS, LLC
 DNF ASSOCIATES, LLC
                                     Defendant:       AMANDA THOMAS                    Attorney:
ASSIGNEE OF CNU ONLINE
HOLDINGS, LLC
Vs.

AMANDA THOMAS
FILE DATE: 01/16/2023




  6--

23EV000393                           Plaintiff:    Navy Federal Credit Union           Attorney:   Whittemore, Donald J.

 Navy Federal Credit Union
                                     Defendant:       Alex D Burden                    Attorney:
vs.
Alex Burden
FILE DATE: 01/18/2023




  Foxx

23EV000404                           Plaintiff:    AMERICAN EXPRESS NATIONAL           Attorney:   Jackson, Cameron
                                     BANK
AMERICAN EXPRESS
                                     Defendant:      JUSTIN D HEAD a/k/a JUSTIN        Attorney:
NATIONAL BANK                        DEVON HEAD
vs.

JUSTIN D HEAD JUSTIN
DEVON HEAD
FILE DATE: 01/19/2023




23EV000416                           Plaintiff:    Gregory Lino                       Attorney:    JACKSON, ALEC KENNETH

Gregory Lino
                                     Defendant:      Preston Smith                    Attorney:    Shaw, Victoria L.
VS.Preston Smith
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                                                         JUDGE:     Eady, Fred C           9:00 AM
      STATE COURT             IN COUNTY
              ATLANT.         1A,




FILE DATE:       01/19/2023




  9--

23EV000448                                 Plaintiff:   AMERICAN EXPRESS NATIONAL                Attorney:   Kirschenheiter, Michael
                                           BANK
 AMERICAN EXPRESS
                                           Defendant:      ALLIETTE CASSEUS                      Attorney:
NATIONAL BANK
vs.
ALLIETTE CASSEUS
FILE DATE: 01/20/2023




  10 --
23EV000454                                Plaintiff:    Galaxy International Purchasing,        Attorney:    Diaz-Caballero, Hernan
                                          LLC
 Galaxy International
                                          Defendant:       Autumn   Page                        Attorney:
Purchasing, LLC
vs.
Autumn        Page
FILE DATE: 01/20/2023




 11 --

23EV000464                                Plaintiff:    KATAVIUS THREATT; NIASIA                Attorney:    CAMERON, ASHLEY; CAMERON,
                                          THREATT                                               ASHLEY
KATAVIUS THREATT,NIASIA
                                          Defendant:      JOHN DOE NOS. 1-10; NEW               Attorney:    MOFFETT,   MATTHEW
                                                                                                                              G;
THREATT                                   HOME, LLC; PINE RIDGE MACON, LLC; TIESHA              MOFFETT, MATTHEW G
VS.JOHN DOE NOS. 1-                       KAY
10,NEW HOME, LLC
FILE DATE: 01/20/2023




 12 --

23EV000507                                Plaintiff:    Autovest, L.L.C. A/A/O U.S. Auto        Attorney:    Tadday, Cherice
                                          Sales, Inc.
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                                                       JUDGE: Eady, FredC 9:00 AM
      STATE COURT OF FULTON COUNTY,
             ATLANTA, GEORGIA




 Autovest,       L.L.C. A/A/O      U.S.   Defendant:      Karen Elizabeth Lemasters       Attorney:

Auto Sales, Inc.
vs.

Karen Lemasters
FILE DATE:      01/23/2023




  13 --
23EV000540                                Plaintiff:   DNF ASSOCIATES, LLC ASSIGNEE OF   Attorney:    REAGIN, ROY D, Jr.
 DNF ASSOCIATES,             LLC          CNU ONLINE HOLDINGS
ASSIGNEE OF CNU ONLINE                    Defendant:      KAYWAN BRADLEY                 Attorney:

HOLDINGS
vs.

KAYWAN BRADLEY
FILE DATE: 01/24/2023




  14--
23EV000578                                Plaintiff:   Armstrong Transport Group, LLC    Attorney:    Hays, James W

Armstrong Transport Group,
                                          Defendant:     Stonehedge Produce Corp.        Attorney:
LLC
vs.

Stonehedge Produce Corp.
FILE DATE: 01/26/2023




 15 --

23EV000585                                Plaintiff:   Holley Medley                     Attorney: Pro Se

Holley Medley
                                          Defendant:     Jordan Henderson                Attorney:
Vs.Jordan Henderson
FILE DATE:     01/26/2023
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                                              JUDGE:      Eady, FredC          9:00AM
      STATE COURT OF
              ATLANTA, GEORGIA




  16 --
 23EV000614                      Plaintiff:   DreamSpring, Inc.                     Attorney:   ROGERS, BETH E

  DreamSpring, Inc.
                                 Defendant:       Jerrell McCullough;
                                                                   M-D Express      Attorney:
vs.                              Transport LLC
 M-D Express Transport LLCet
 al.
 FILE DATE:      01/27/2023




  17 -

 23EV000626                      Plaintiff:   LMM GENERAL INSURANCE                 Attorney: Purvis, R. Ryan
  LM GENERALINSURANCE            COMPANY
                                 Defendant:       JAMES KING                        Attorney:
 COMPANY
 VS.JAMES KING
 FILE DATE:     01/27/2023




  18 --

 23EV000633                      Plaintiff: SECURITY CREDIT SERVICES, LLC           Attorney: MATTESON, ANDREW C.
 SECURITY CREDIT SERVICES,
                                 Defendant:       JUSTIN SCHMIDT                    Attorney:
 LLC
vs.

JUSTIN SCHMIDT
FILE DATE:      01/27/2023




  19 --

23EV000695                       Plaintiff:   Cavalry SPV I, LLC, as assignee of    Attorney:   Nadler, James A

 Cavalry SPV I, LLC, as          Gitlbanic'N:A.
                                 Defendant:       TIMOTHY W BOYD                    Attorney:
assignee of Citibank, N.A.
vs.
TIMOTHY BOYD
FILE DATE: 01/31/2023
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                                               JUDGE:      Eady, FredC          9:00 AM
      STATE COURT O|
              ATLANTA, GEORGIA,




  20 --

23EV000794                        Plaintiff:   Wells Fargo Bank, N.A.                 Attorney:   Capers, Alexandria

 Wells Fargo Bank, N.A.
                                  Defendant:      Elijah A Bashir                     Attorney:
vs.
Elijah Bashir
FILE DATE: 02/06/2023




  21--

23EV000903                        Plaintiff:   CROWN ASSET MANAGEMENT, LLC            Attorney:   REAGIN, ROY D, Jr.
                                  ASSIGNEE OF FIRST NATIONAL BANK OF
 CROWN ASSET
                                  OMAHA
MANAGEMENT, LLC
                                  Defendant:     DOREEN D BLAKE                       Attorney:
ASSIGNEE OF FIRST
NATIONAL BANK OF OMAHA
vs.
DOREEN BLAKE
FILE DATE: 02/10/2023




 22--
23EV000937                        Plaintiff:   FELIX BERNARD JONES                   Attorney:    Pro Se

Felix Bernard Jones vs
                                  Defendant:     KIMBERLY    PROPSET, Esquire        Attorney:
Kimberly Propset
FILE DATE:      02/13/2023




 23 --

23EV000951                        Plaintiff:   FORSYTHE FINANCE, LLC ASSIGNEE        Attorney:    REAGIN, ROY D, Jr.
                                  OF HEARTLAND EMS, INC
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      STATE COURT   OF FULTON COUNTY
              ATLANTA, GEORGIA




 FORSYTHE FINANCE, LLC                  Defendant:     JUSTIN ROGERS                   Attorney:

ASSIGNEE OF HEARTLAND
 EMS, INC
vs.
JUSTIN ROGERS
FILE DATE:      02/13/2023




  24--
23EV000982                             Plaintiff:   Townhomes at Southwind             Attorney:   stojanovic, stefan
                                       Community Association      Inc
 Townhomes at Southwind
                                       Defendant:      Richshanna Rich                 Attorney:
Community Association Inc
vs.
Richshanna Rich
FILE DATE: 02/14/2023




 25 --
23EV001017                             Plaintiff:   JESSICA SCREEN                     Attorney:   Foster, Keith R.

JESSICA SCREEN
                                       Defendant:     EDGE LAVISTA WALK, LLC           Attorney:
VS.EDGE LAVISTA WALK, LLC
FILE DATE:      02/16/2023




 26 --

23EV001076                             Plaintiff:   David Pavel; Michaela             Attorney:    Brisendine, David Griffin, IIl.;
                                       Nimmerrichter                                   Brisendine, David Griffin, III.
David Pavel, Michaela
                                       Defendant:     Molly Webb; State Farm Mutual   Attorney:
Nimmerrichter
                                       Automobile Insurance Co
VS.Molly Webb,State Farm
Mutual Automobile
Insurance Co
FILE DATE:     02/20/2023
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                                                                        09/25/2023
                                                       JUDGE:     Eady, FredC          9:00AM
      STATE COURT    OF F   IN COUNTY
              ATLANTA, C     TA




  27 --

 23EV001097                              Plaintiff:   VELOCITY INVESTMENTS, LLC             Attorney:   REAGIN, ROY D, Jr.
                                        ASSIGNEE OF PROSPER FUNDING, LLC
 VELOCITY INVESTMENTS,
                                         Defendant:      DOROTHEA ANDERSON                  Attorney:
 LLC ASSIGNEE OF PROSPER
 FUNDING, LLC
vs.
 DOROTHEA ANDERSON
 FILE DATE:     02/22/2023




  28 --

23EV001143                              Plaintiff:    Tamia   Sanders                       Attorney:   SIMANOVSKY, ALEXANDER

 Tamia       Sanders
                                        Defendant:       Makisha Holiday                    Attorney:
VS.Makisha Holiday
FILE DATE: 02/23/2023




  29 --

23EV001184                              Plaintiff:    SECURITY CREDIT SERVICES, LLC,        Attorney: MATTESON, ANDREW C.

 SECURITY           CREDIT SERVICES,    Defendant:      JUSTIN SCHMIDT                     Attorney:
LLC,
vs.

JUSTIN SCHMIDT
FILE DATE: 02/25/2023




 30 --

23EV001187                              Plaintiff:    American Express National Bank       Attorney:    Diaz-Caballero, Hernan

American Express National
                                        Defendant:      June Noble                         Attorney:
Bank
vs.
June Noble
FILE DATE: 02/26/2023
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                                                     Division Y - Judge Eady
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                                          JUDGE:    Eady, Fred C       9:00 AM




  31--

23EV001226                   Plaintiff:   Assurance America Corporation as   Attorney:   Smith, DeannaR
                             Subrogee of Phil Lamorris Chambers
 Assurance America
                             Defendant:     Robert James Gaines              Attorney:
Corporation as Subrogee of
Phil Lamorris Chambers Vs.
Robert James Gaines
FILE DATE: 02/27/2023




  32--
23EV001275                   Plaintiff:   VELOCITY INVESTMENTS, LLC          Attorney:   REAGIN, ROY D, Jr.
                             ASSIGNEE OF UPSTART NETWORK, INC
 VELOCITY INVESTMENTS,
                             Defendant:     CLIFFORD MUHAMMAD                Attorney:
LLC ASSIGNEE OF UPSTART
NETWORK, INC
vs.
CLIFFORD MUHAMMAD
FILE DATE:   03/02/2023




  33 --

23EV001297                   Plaintiff:   VELOCITY INVESTMENTS, LLC          Attorney:   REAGIN, ROY D, Jr.
                             ASSIGNEE OF UPSTART NETWORK INC
VELOCITY INVESTMENTS,
                             Defendant:     JOSHUA MORSE                     Attorney:   DAVIS, J MAX
LLC ASSIGNEE OF UPSTART
NETWORK INC
vs.

JOSHUA MORSE
FILE DATE: 03/02/2023




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                                                          JUDGE:     Eady, FredC         9:00AM
      STATE COURT OF FULTON COUNTY
             ATLANTA, GEORGIA.




23EV001304                                   Plaintiff:   JPMorgan Chase Bank, N.A.           Attorney:   ADAMS,     ANSON    A

 JPMorgan Chase Bank, N.A.
                                             Defendant:     Samuel C Lyles                    Attorney:
vs.

Samuel Lyles
FILE DATE:      03/02/2023




  35--
23EV001385                                   Plaintiff:   Galaxy International Purchasing,    Attorney:   Diaz-Caballero, Hernan
                                             LLC
 Galaxy International
                                             Defendant:     Telethia Y Holmes                 Attorney:
Purchasing, LLC
vs.
Telethia Holmes
FILE DATE: 03/07/2023




  36--
23EV001449                                   Plaintiff: FIRST FINANCIAL INVESTMENT            Attorney:   REAGIN,    ROY D, Jr.
 FIRST FINANCIAL                             FUND NI, LLC ASSIGNEE OF IASIS

INVESTMENT           FUND NI,          LLC   HEALTHCARE LC
                                   ,         Defendant: DASHAYE CANTY                         Attorney:
ASSIGNEE OF IASIS
HEALTHCARE           LLC
vs.

DASHAYE CANTY
FILE DATE:     03/10/2023




 37 --

23EV001464                                   Plaintiff:   MARINER   FINANCE,    LLC           Attorney:   Hecht,    Frederick S

 MARINER        FINANCE,         LLC
                                             Defendant:     CORTNEY DASH                      Attorney:
vs.

CORTNEY DASH
FILE DATE: 03/10/2023
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                    Ill ‘                                VIRTUAL NO SERVICE & DEFAULT
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                                                  JUDGE:     Eady, Fred C        9:00 AM
      STATE COURT OF FULTON COUNTY
             ATLANTA, GEORGIA,




  38 --

23EV001509                           Plaintiff:   Joaquin Paulino Ramos; Maria         Attorney:   GONZALEZ, ALFONSO; GONZALEZ,
                                     Reyna Lucas Chavez; Rodolfo Joaquin Ramos         ALFONSO; GONZALEZ, ALFONSO
 Rodolfo Ramos Lucas,Maria
                                     Lucas
Lucas Chavez
                                     Defendant:      Jessica Redmond                   Attorney:
vS.Jessica Redmond
FILE DATE: 03/13/2023




  39 --

23EV001583                           Plaintiff:   Pawnee Leasing Corporation           Attorney:   MCCULLOUGH, JEREMY T

 Pawnee Leasing
                                     Defendant:     Braham   McLeod;   McLeod          Attorney:
Corporation                          Towing LLC
vs.

McLeod Towing LLCet al.
FILE DATE:     03/16/2023




 40 --
23EV001644                           Plaintiff:   Tamara Barton                       Attorney:    Parker, AlanG

Tamara Barton
                                     Defendant:     Logan B. Grant                    Attorney:    Pro Se
VS.Logan Grant
FILE DATE:     03/19/2023




 41--
23EV001672                           Plaintiff:   CROWN ASSET MANAGEMENT, LLC         Attorney:    REAGIN, ROY D, Jr.
                                     ASSIGNEE OF SYNCHRONY BANK
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                                                     JUDGE:     Eady, FredC     9:00AM
      STATE COURT O}      TON COUNTY
              ATLANTA     DRGIA




 CROWN ASSET                            Defendant:     TASHA HOLMES aka TASHA        Attorney:
                                       SHAWN        HOLMES
MANAGEMENT, LLC
ASSIGNEE OF SYNCHRONY
BANK
Vs.

TASHA HOLMES aka TASHA
SHAWN HOLMES
FILE DATE: 03/21/2023




  42--

23EV001679                             Plaintiff: VELOCITY INVESTMENTS, LLC          Attorney: REAGIN, ROY D, Jr.
 VELOCITY         INVESTMENTS          ASSIGNEE OF UPSTART NETWORK,INC
                                   ,   Defendant:      CHASE CHRISTMAS              Attorney:
LLC ASSIGNEE OF UPSTART
NETWORK, INC
vs.

CHASE CHRISTMAS
FILE DATE:      03/21/2023




 43 -
23EV001713                             Plaintiff:   LVNV Funding LLC                 Attorney: JENKINS, AUDREYJ

 LVNV      Funding      LLC            Defendant:      Afrakuma Bannerman           Attorney:
vs.

Afrakuma Bannerman
FILE DATE:      03/22/2023




 44 --

23EV001716                             Plaintiff:   Reuben Uluocha                  Attorney:

Reuben        Uluocha                  Defendant:      Brittiney Latimore           Attorney:
VS.Brittiney Latimore
FILE DATE:      03/21/2023
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                                                   JUDGE:     Eady, FredC         9:00 AM
      STATE COURT OF FULTON COUNTY
             ATLANTA, GEORGIA,




  45 -
23EV001744                            Plaintiff:   Wells Fargo Bank, N.A.               Attorney:   Abrams, Ayanna

 Wells Fargo Bank, N.A.
                                      Defendant:      Colleen P Ryan                    Attorney:
vs.
Colleen Ryan
FILE DATE: 03/23/2023




  46 --
23EV001791                            Plaintiff:   Emery Sparks                         Attorney:   CHAMPION, DARL H, Jr.

 Emery Sparks
                                      Defendant:      Mystical Valet Company, LLC;      Attorney:
VS.Views Bar and Grill                Views Bar and Grill Atlanta, LLC
Atlanta, LLC,Mystical Valet
Company,        LLC
FILE DATE:     03/23/2023




  47 -
23EV001804                            Plaintiff:   COYOTE LOGISTICS, LLC               Attorney:    BRANCH, KEVIN P

 COYOTE LOGISTICS, LLC
                                      Defendant:      Marcos Oritz; MGO TRUCKING,      Attorney:
vs.                                   LLC
MGO TRUCKING,             LLCet al.
FILE DATE:     03/24/2023




 48 --

23EV001825                            Plaintiff:   GFS II LLC dba Gateway Financial    Attorney: Schisler, Scott A.
GFS I LLC dba Gateway                 Solutions
                                      Defendant:     TERRY SMITH                       Attorney:
Financial Solutions
vs.
TERRY SMITH
FILE DATE: 03/27/2023
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                                                                     VIRTUAL             NO SERVICE           & DEFAULT
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                                                                          09/25/2023
                                                               JUDGE: Eady, FredC    9:00 AM
      STATE COURT OF FULTON COUNTY
             ATLANTA, GEORGIA




  49 --

23EV001867                                        Plaintiff:   JPMorgan Chase Bank, N.A.       Attorney:   Abrams, Ayanna

                                nk,        N.A.
 JPMorgan Chase Bank,                  N          Defendant:     Joanie M Carroll             Attorney:
vs.

Joanie Carroll
FILE DATE:     03/28/2023




 50 --

23EV001891                                        Plaintiff:   FLEXIBILITY CAPITAL INC         Attorney:   MATTESON, ANDREW C.


 FLEXIBILITY CAPITAL             INC              Defendant:     BENCHMARK TRANSPORTATION      Attorney:
Vs.                                               LLC; GLENN LOVE II
BENCHMARK
TRANSPORTATION              LLCet al.
FILE DATE:     03/29/2023




 51 --

23EV001901                                        Plaintiff:   Annabella Radomski             Attorney:    Carter, Christopher

                       omski
Annabella        Rad                              Defendant:     Andrew James Dunn            Attorney:
Vs.Andrew Dunn
FILE DATE:     03/29/2023




 52 --

23EV001964                                        Plaintiff:   TOWANA   COLLINS               Attorney:    Hiffa, Austin

TOWANA          COLLINS
                                                  Defendant:     FELTON CURRY                 Attorney:
VS.FELTON CURRY
FILE DATE:     03/31/2023
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                                                      VIRTUAL NO SERVICE & DEFAULT
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                                                JUDGE:    Eady, FredC        9:00AM
      STATE COURT




  53 =

 23EV001990                       Plaintiff:   STATE FARM MUTUAL                  Attorney:   Townsend,   Keshia
                                 AUTOMOBILE INSURANCE CO. AS SUBROGEE
 STATE FARM MUTUAL
                                 OF MARCIA ANDRITA PARK
AUTOMOBILE           INSURANCE   Defendant:       CITY OF EAST POINT              Attorney:
CO. AS SUBROGEE OF
 MARCIA ANDRITA PARK, V.
CITY OF EAST POINT,
FILE DATE:      04/03/2023




  54--
23EV002016                       Plaintiff:    VELOCITY INVESTMENTS, LLC          Attorney:   REAGIN, ROY D, Jr.
                                 ASSIGNEE OF UPSTART NETWORK INC
 VELOCITY INVESTMENTS,
                                 Defendant:       TEVIN JOHNSON                   Attorney:
LLC ASSIGNEE OF UPSTART
NETWORK INC
vs.

TEVIN JOHNSON
FILE DATE: 04/05/2023




  55 --

23EV002028                       Plaintiff:    AMERICAN EXPRESS NATIONAL          Attorney:   Kirschenheiter, Michael

 AMERICAN EXPRESS                BANK
                                 Defendant:      KRISTEN E VERMETTEN              Attorney:
NATIONAL BANK
VS.

KRISTEN VERMETTEN
FILE DATE: 04/05/2023




 56 --

23EV002060                       Plaintiff:    American Standard Insurance       Attorney:    Smith, Deanna R
                                 Company of Ohio as Subrogee of Sasha
American Standard
                                 Kovacs-Johnson
           Case 1:23-mi-99999-UNA Document 2571-4 Filed 08/11/23 Page 145 of 162




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                                                                  Division Y - Judge Eady
                                                               09/25/2023
                                                     JUDGE: Eady, FredC   9:00 AM
      STATE COURT    O1
             ATLANTA,     GEORGIA




 Insurance Company of Ohio              Defendant:     Terrance James Burt                Attorney:
as Subrogee of Sasha
Kovacs-Johnson Vs. Terrance
James Burt
FILE DATE:      04/05/2023




  57 --

23EV002094                              Plaintiff:   THE CINCINNATI INSURANCE            Attorney:    Purvis, R. Ryan

 THE CINCINNATI                         COMPANY
                                    Y   Defendant:     ISAAC ECHEVERRIA      PALACIOS;   Attorney:
INSURANCE             COMPAN            MARCO TAPIA ARELLANO
VS.ISAAC PALACIOS, MARCO
ARELLANO
FILE DATE:      04/07/2023




  58 --
23EV002100                              Plaintiff:   VELOCITY INVESTMENTS, LLC           Attorney:    REAGIN, ROY D, Jr.
 VELOCITY           INVESTMENTS,        ASSIGNEE OF UPSTART NETWORK, INC
                                        Defendant:     CHELSEY NEUMANN                   Attorney:
LLC ASSIGNEE OF UPSTART
NETWORK,            INC
Vs.

CHELSEY NEUMANN
FILE DATE:      04/10/2023




 59 --

23EV002136                              Plaintiff:   CAMDEN   DEVELOPMENT,      INC.     Attorney:    Brooks, Douglas Leon

CAMDEN          DEVELOPMENT,
                                        Defendant:     PAUL WILLIAMS                     Attorney:
INC VS. PAUL WILLIAMS
FILE DATE:     04/10/2023
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                                                                             Division Y - Judge Eady
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                                                               JUDGE:     Eady, FredC         9:00AM
      STATE COURT OF FULTON COUNTY
             ATLANTA,   GEORGIA




  60 --

23EV002138                                        Plaintiff:   Georgia United Credit Union         Attorney:   CLEVELAND, ADAM     L

 Georgia United Credit Union
                                                  Defendant:     Tanesha Sanders                   Attorney:
vs.

Tanesha         Sanders
FILE DATE: 04/11/2023




  61--
23EV002200                                        Plaintiff:   CH Retail Fund II/Atlanta           Attorney:   WITHERS,   C KNOX
                                                  Brookleigh, LLC
 CH Retail Fund II/Atlanta
                                                  Defendant:     Jose Mata; Patel Kunal; Paulo     Attorney:   Leitman, Hal; Leitman, Hal;
Brookleigh, LLC
                                                  Junior; Viral Patel                              Leitman, Hal; Leitman, Hal
vs.
Paulo Junioret al.
FILE DATE:      04/13/2023




 62 --

23EV002202                                        Plaintiff:   Robreia Crawford                    Attorney:   DORER, DAVID THOMAS

 Robreia Crawford
                                                  Defendant:     James McKeehan; Larry Herd        Attorney:
VS.James McKeehan,Larry
Herd
FILE DATE:      04/13/2023




 63 --

23EV002212                                        Plaintiff:   Cynetha Bradley-Graham              Attorney:   CRIDER, LANDON E

Cynetha Bradley-Graham
                                                  Defendant:     Melissa Henry                     Attorney:
VS.Melissa Henry
FILE DATE:      04/14/2023
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                                                        VIRTUAL NO SERVICE & DEFAULT
                                                               Division Y - Judge Eady
                                                            09/25/2023
                                               JUDGE:     Eady, FredC             9:00AM
  STATE COURT OF FULT
         ATLANTA, GEORGIA




      64 --

 23EV002230                      Plaintiff:   Anella Young                             Attorney:   MOORE, ROSS

  Anella Youn;
                   8             Defendant:      John   Doe; Progressive Direct       Attorney:
 vs.John       Doe,Progressive   Insurance Company
 Direct Insurance Company
 FILE DATE: 04/14/2023




  65 --

 23EV002255                      Plaintiff:   FIRST PORTFOLIO VENTURES I LLC           Attorney:   REAGIN, ROY D, Jr.
                                 ASSIGNEE OF GENESIS FS CARD SERVICES,
  FIRST PORTFOLIO
                                 INC.
VENTURES I LLC ASSIGNEE
                                 Defendant:      ARA DIAZ                              Attorney:
OF GENESIS FS CARD
SERVICES, INC.
vs.
ARA DIAZ
FILE DATE: 04/17/2023




  66 --

23EV002293                       Plaintiff:   James Merritt, Jr.                       Attorney:   DORER, DAVID THOMAS

 James Merritt, JR
                                 Defendant:      Big Dan's Car Wash, LLC; John         Attorney:
VS.Big Dan's Car Wash,           Does Nos 1-10; Mo'Niya Pike
LLC,Mo'Niya Pike
FILE DATE:      04/18/2023




 67 --
23EV002307                       Plaintiff: CAPITAL ONE, N.A.                         Attorney: WHIDDON, JAMES G, Ill.
 CAPITAL ONE, N.A.               Defendant:     NATACHA BUTLER                        Attorney:
vs.

NATACHA BUTLER
FILE DATE: 04/19/2023
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                                                               09/25/2023
                                                    JUDGE: Eady, Fred     9:00 AM
      STATE COURT   OF FULTON COUNTY
              ATLANTA, GEORGIA




  68 --

23EV002315                             Plaintiff:   Wells Fargo Bank, N.A.           Attorney:   Capers, Alexandria

 Wells Fargo Bank, N.A.
                                       Defendant:      Cynthia C   Ferrell           Attorney:
vs.
Cynthia Ferrell
FILE DATE: 04/20/2023




  69 --

23EV002346                             Plaintiff:   MAA HIGHLANDS LLC                Attorney:   Brooks, Douglas Leon

 MAA HIGHLANDS LLC VS.
                                       Defendant:      JAMARK GOODWIN                Attorney:
JAMARK GOODWIN
FILE DATE:      04/21/2023




  70 --

23EV002376                             Plaintiff:   Fedex Corporate Services, Inc.   Attorney:   Tadday, Cherice

 Fedex Corporate Services,
                                       Defendant:     Saltyk Swim LLC                Attorney:
Inc.
vs.
Saltyk Swim LLC
FILE DATE: 04/24/2023




 71--
23EV002416                             Plaintiff:   Pratt and Wall, Attorneys        Attorney:   Wall, James H

 Pratt and Wall, Attorneys
                                       Defendant:     Gracie Alexander               Attorney:
vs.

Gracie Alexander
FILE DATE: 04/25/2023
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                                                                    Division Y - Judge               Eady
                                                          09/25/2023
                                               JUDGE: Eady, FredC    9:00 AM
      STATE COURT O}
              ATLANTA, GEORGIA,




  72--

 23EV002471                       Plaintiff:   TRACY     ALLEN                      Attorney:   PERKINS, TOYA L.

 TRACY        ALLEN
                                  Defendant:      ABC CORPS; JOHN DOES;             Attorney:
VS.PANDORA             MEDIA,     PANDORA MEDIA, LLC
 LLC,ABC CORPS
FILE DATE:       04/26/2023




  73 --

23EV002478                        Plaintiff:   Ford Motor Credit Company, LLC       Attorney:   DRIGGERS, WILL
 Ford      Motor     Credit       c/o MacDowell        & Associates, Ltd
                                  Defendant:      Deandrea Kristen Jones            Attorney:
Company, LLC c/o                                                                            ¥
MacDowell & Associates, Ltd
VS.

Deandrea Jones
FILE DATE:       04/27/2023




  74 --

23EV002521                        Plaintiff:   DAYERA BROWN                         Attorney:   Johnson, Michael

 DAYERA BROWN
                                  Defendant:     ABC CORPS #1-3; JOHN DOES          Attorney:
VS.REPUBLIC LOUNGE,               #1-3; REPUBLIC LOUNGE, INC.
INC.,ABC CORPS #1-3
FILE DATE:      04/28/2023




 75 --

23EV002543                        Plaintiff:   Portfolio Recovery Associates, LLC   Attorney:   STARKS, TAMARA D
 Portfolio Recovery               assignee of Citibank, N.A./Best Buy
                                  Defendant:     Adreen Canterberry                 Attorney:
Associates, LLC assignee of
Citibank, N.A./Best Buy
vs.
Adreen Canterberry
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                                                   JUDGE:       Eady,FredC       9:00 AM
  STATE COURT OF FULTON COUNTY
             ATLANTA, GEORGIA




FILE DATE:     05/01/2023




  76 --

23EV002549                            Plaintiff:   CREDIT CORP SOLUTIONS, INC.         Attorney:   MATTESON, ANDREW C.

 CREDIT CORP SOLUTIONS,
                                      Defendant:     EVA SELMAN                        Attorney:
INC.
vs.

EVA SELMAN
FILE DATE:     05/01/2023




 T=

23EV002554                            Plaintiff:   Simone Woods                       Attorney:    Woods, Corey

 Simone Woods vs Lowe's
                                      Defendant:     Lowe's Home Improvement, LLC     Attorney:
Home Improvement,               LLC
FILE DATE:     04/28/2023




 78 --

23EV002562                            Plaintiff:   Ayonna Shanks                      Attorney:    CRIDER, LANDON E

Ayonna Shanks
                                      Defendant:     John Doe                         Attorney:
vs.John Doe
FILE DATE:     05/01/2023




 719

23EV002577                            Plaintiff:   Edmund Urbanski                    Attorney:    Lamonte, Darius

Edmund Urbanski
                                      Defendant:     Sarah Wambari                    Attorney:
vs.Sarah Wambari
FILE DATE:    05/01/2023
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                                                    JUDGE:     Eady, Fred C           9:00 AM
      STATE COURT OF FULTON COUNTY
             ATLANTA, GEORGIA




  80 --

23EV002615                            Plaintiff:   Medlock Shopping Center, LLC             Attorney:   WILSON, A CHRISTIAN

 Medlock Shopping Center,
                                      Defendant:      Ricardo Lewis; Route 66               Attorney:
LLC                                  Restaurant & Music Venue        LLC; The Crab
vs.                                  Spot Inc. (Hapeville)
Route 66 Restaurant &
Music Venue LLCet al.
FILE DATE: 05/03/2023




  81--

23EV002633                           Plaintiff:    TARPON FINANCIAL                        Attorney:    DAY, CHARLES T, Ill.
                                     CORPORATION DBA RED HOT CAR LOT
 TARPON FINANCIAL
                                     Defendant:       OZIELINE LAVEL BOYKIN                Attorney:
CORPORATION DBA RED
HOT CAR LOT VS OZIELINE
LAVEL BOYKIN
FILE DATE: 05/04/2023




 82 --

23EV002647                           Plaintiff:    AMERICAN EXPRESS NATIONAL               Attorney:    Purvis, R. Ryan
                                     BANK
AMERICAN EXPRESS
                                     Defendant:      OSARUMENSE L OGBEVON                  Attorney:
NATIONAL BANK
vs.
OSARUMENSE OGBEVON
FILE DATE: 05/04/2023




 83 --

23EV002663                           Plaintiff:    American   Express National Bank        Attorney:    Fagen, Jessica J
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                                                     JUDGE:      Eady, FredC        9:00 AM
      STATE COURT   OF    TON COUNTY
             ATLANTA, GEORGIA,




 American Express National              Defendant:      Sandeep Elimineti                 Attorney:

 Bank
vs.
Sandeep Elimineti
FILE DATE: 05/05/2023




  84--
23EV002721                             Plaintiff:    CROWN ASSET MANAGEMENT LLC           Attorney:   REAGIN, ROY D, Jr.
                                       ASSIGNEE OF PROSPER FUNDING LLC
 CROWN ASSET
                                       Defendant:       MATTHEW W HERRINGTON              Attorney:
MANAGEMENT LLC
ASSIGNEE OF PROSPER
FUNDING LLC
vs.
MATTHEW HERRINGTON
FILE DATE:      05/08/2023




  85 --

23EV002728                             Plaintiff:    Autovest, L.L.C. A/A/O U.S. Auto    Attorney:    Tadday, Cherice
                                       Sales, Inc.
 Autovest, L.L.C. A/A/O U.S.
                                       Defendant:      Marla Edwina Harmon               Attorney:
Auto Sales, Inc.
vs.
Marla Harmon
FILE DATE: 05/08/2023




 86 --
23EV002786                             Plaintiff:    Wells Fargo Bank, N.A.              Attorney:    Capers, Alexandria

Wells Fargo Bank, N.A.
                                       Defendant:      Soo Lim                           Attorney:
vs.

Soo Lim
FILE DATE:     05/09/2023
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                                                    JUDGE:    Eady, Fred C     9:00 AM
      STATE COURT OF FULTON COUNTY
             ATLANTA, GEORGIA




  87 --

 23EV002823                           Plaintiff:   AMERICAN EXPRESS NATIONAL         Attorney:   Kirschenheiter, Michael

 AMERICAN EXPRESS                     BANK
                                      Defendant:      MILDRED WASHINGTON             Attorney:
 NATIONAL BANK
vs.

MILDRED WASHINGTON
FILE DATE: 05/10/2023




  88 --
23EV002828                            Plaintiff:   AMERICAN EXPRESS NATIONAL         Attorney:   Purvis, R. Ryan
                                      BANK
 AMERICAN EXPRESS
                                      Defendant:      OLUWABUNMI ADETUNJI a/k/a = Attorney:
NATIONAL         BANK                 OLUWABUNMIE. ADETUNJI
vs.

OLUWABUNMI              ADETUNJI
OLUWABUNMI              E. ADETUNJI
FILE DATE:     05/10/2023




  89 --

23EV002843                            Plaintiff:   KEVIN THOMPSON                   Attorney:

 KEVIN     THOMPSON                   Defendant:     JOHN DOE; LASHEON KYLES        Attorney:
VS.JOHN DOE,LASHEON
KYLES
FILE DATE:     05/11/2023




 90 --

23EV002871                            Plaintiff:   JPMorgan Chase Bank, N.A.        Attorney:    Abrams, Ayanna

JPMorgan Chase Bank, N.A.
                                      Defendant:     Amy   M Moreno                 Attorney:
vs.

Amy Moreno
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FILE DATE:    05/12/2023




  91 --

23EV002925                    Plaintiff: VELOCITY INVESTMENTS, LLC         Attorney: REAGIN, ROY D, Jr.
 VELOCITY     INVESTMENTS.    ASSIGNEE OF UPSTART NETWORK, INC

LLC ASSIGNEE OF UPSTART’      Defendant: ASHLEY STARKS                     Attorney: DAVIS,J MAX
                                                                              omey
NETWORK,       INC
vs.

ASHLEY STARKS
FILE DATE:   05/16/2023




  92 --

23EV002930                    Plaintiff:   CROWN ASSET MANAGEMENT, LLC     Attorney: REAGIN, ROY D, Jr.
 CROWN       ASSET            a            OF GENESIS FS CARD SERVICES,


MANAGEMENT,          LLC      Defendant:     JANAYA S JOYNER              Attorney:
ASSIGNEE OF GENESIS FS
CARD SERVICES, INC.
vs.

JANAYA JOYNER
FILE DATE:   05/16/2023




 93 --

23EV002942                    Plaintiff:   Shericka King                  Attorney: CRAIG, BRIAN W.

Shericka     King v. Andrew   Defendant:     Andrew Harvey                Attorney:
Harvey
FILE DATE:   05/17/2023




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      STATE COURT   OF FI
             ATLANTA, GEORGIA.




 23EV003103                       Plaintiff:   FIRSTPORTFOLIO VENTURES II, LLC    Attorney:   REAGIN, ROY D, Jr.
                                 ASSIGNEE OF UPLIFT INC
  FIRST PORTFOLIO
                                  Defendant:      SHAQUANDRIA SPURLIN             Attorney:
 VENTURES II, LLC ASSIGNEE
 OF UPLIFT INC
 vs.
 SHAQUANDRIA SPURLIN
 FILE DATE: 05/24/2023




  95 --
 23EV003116                      Plaintiff:    FIRST PORTFOLIO VENTURES II, LLC   Attorney:   REAGIN, ROY D, Jr.
                                 ASSIGNEE OF TIME PAYMENT CORPORATION
  FIRST PORTFOLIO
                                 Defendant:       MASSIEL MOTA                    Attorney:
VENTURES II, LLC ASSIGNEE
OF TIME PAYMENT
CORPORATION
vs.

MASSIEL MOTA
FILE DATE: 05/24/2023




  96 --

23EV003126                       Plaintiff:    Wells Fargo Bank, N.A.             Attorney:   Abrams, Ayanna

 Wells Fargo Bank, N.A.
                                 Defendant:      Taryn W Owens                    Attorney:
vs.
Taryn Owens
FILE DATE:      05/24/2023




  97 --

23EV003149                       Plaintiff:    Emcor Services Aircond             Attorney:   Hays, James W
                                 Corporation
 Emcor Services Aircond
                                 Defendant:      Fruition Hat Company LLC         Attorney:
Corporation
vs.
Fruition Hat Company LLC
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                                                       JUDGE: Eady, Fred C  9:00 AM
      STATE COURT O}          IN COUNTY
              ATLANT:          HA




 FILE DATE:      05/25/2023




  98 --
23EV003155                                Plaintiff:   AMERICAN EXPRESS NATIONAL             Attorney:   Purvis, R. Ryan


 oan                                      Cteniv         B'ENCORE LLC; OLUWABUNMI           Attorney:
NATIONAL           BANK                   ADETUNJI a/k/a OLUWABUNMI            E ADETUNJI
vs.

OLUWABUNMI                ADETUNIJI
OLUWABUNMI                E
ADETUNJIet al.
FILE DATE:       05/25/2023




  99 --

23EV003176                                Plaintiff:   Navy Federal Credit Union             Attorney:   Whittemore, Donald J.

 Navy Federal Credit Union
                                          Defendant:     Tyreese L Williams                  Attorney:
vs.
Tyreese Williams
FILE DATE: 05/26/2023




  100 --

23EV003204                                Plaintiff:   MARINER FINANCE, LLC                 Attorney:    Hecht, Frederick S


 MARINER          CINANCE, LLC.           Defendant:     DONTEZT FORSHEE                    Attorney:
vs.

DONTEZ FORSHEE
FILE DATE: 05/27/2023




 101 --

23EV003220                                Plaintiff:   Lakeview Townhomes                   Attorney:    Ost, Benjamin, Esquire
                                          Condominium      Association, Inc.
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  STATE COURT OF FULTON COUNTY,
             ATLANTA,   GEORGIA




 Lakeview Townhomes               Defendant:    Limoli Tom M., Jr.         Attorney:

Condominium Association,
Inc.
vs.
Limoli Tom M., JR
FILE DATE:      05/30/2023




 102 --
23EV003222                        Plaintiff: ROBERT WEST                  Attorney: Pro Se

ROBERT        WEST                Defendant:    COCA COLA; PUBLIX SUPER   Attorney:
VS.COCA COLA ,PUBLIX              MARKETS INC
SUPER MARKETS INC
FILE DATE: 05/30/2023
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Multi-Case Filing Detail: The document above has been filed
and/or served into multiple cases, see the details below including
the case number and name.

Transaction Details

Court: GA State Court of Fulton County   Document Type: NOTICE
                                         Document Title: NOTICE OF HEARING
Transaction ID: 70603444
                                         09282023
Submitted Date & Time: Aug 10 2023 10:20AM


Case Details

Case Number                  Case Name
23EV000077                   Ashley Whatley VS.Jon Sink
                             Samuel Urda VS.AICA Orthopedics,Atlas Surgery
23EV000127
                             Center
                             Galaxy International Purchasing, LLC vs. Joshua
23EV000217
                             Winfrey
                             VELOCITY INVESTMENTS, LLC ASSIGNEE OF
23EV000313                   PROSPER FUNDING, LLC vs. JACQUENETTE
                             DYSON
                             DNF ASSOCIATES, LLC ASSIGNEE OF CNU ONLINE
23EV000322
                             HOLDINGS, LLC vs. AMANDA THOMAS
23EV000393                   Navy Federal Credit Union vs. Alex Burden
                             AMERICAN EXPRESS NATIONAL BANK vs. JUSTIN D
23EV000404
                             HEAD JUSTIN DEVON HEAD
23EV000416                   Gregory Lino VS.Preston Smith
                             AMERICAN EXPRESS NATIONAL BANK vs. ALLIETTE
23EV000448
                             CASSEUS
23EV000454                   Galaxy International Purchasing, LLC vs. Autumn Page
                             KATAVIUS THREATT,NIASIA THREATT VS.JOHN DOE
23EV000464
                             NOS. 1-10,NEW HOME, LLC
                             Autovest, L.L.C. A/A/O U.S. Auto Sales, Inc. vs. Karen
23EV000507
                             Lemasters
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                         DNF ASSOCIATES, LLC ASSIGNEE OF CNU ONLINE
23EV000540
                         HOLDINGS vs. KAYWAN BRADLEY
                         Armstrong Transport Group, LLC vs. Stonehedge
23EV000578
                         Produce Corp.
23EV000585               Holley Medley VS.Jordan Henderson
23EV000614               DreamSpring, Inc. vs. M-D Express Transport LLCet al.
                         LM GENERAL INSURANCE COMPANY VS.JAMES
23EV000626
                         KING
                         SECURITY CREDIT SERVICES, LLC vs. JUSTIN
23EV000633
                         SCHMIDT
                         Cavalry SPV I, LLC, as assignee of Citibank, N.A. vs.
23EV000695
                         TIMOTHY BOYD
23EV000794               Wells Fargo Bank, N.A. vs. Elijah Bashir
                         CROWN ASSET MANAGEMENT, LLC ASSIGNEE OF
23EV000903               FIRST NATIONAL BANK OF OMAHA vs. DOREEN
                         BLAKE
23EV000937               Felix Bernard Jones vs Kimberly Propset
                         FORSYTHE FINANCE, LLC ASSIGNEE OF
23EV000951
                         HEARTLAND EMS, INC vs. JUSTIN ROGERS
                         Townhomes at Southwind Community Association Inc
23EV000982
                         vs. Richshanna Rich
23EV001017               JESSICA SCREEN VS.EDGE LAVISTA WALK, LLC
                         David Pavel,Michaela Nimmerrichter VS.Molly
23EV001076
                         Webb,State Farm Mutual Automobile Insurance Co
                         VELOCITY INVESTMENTS, LLC ASSIGNEE OF
23EV001097               PROSPER FUNDING, LLC vs. DOROTHEA
                         ANDERSON
23EV001143               Tamia Sanders VS.Makisha Holiday
                         SECURITY CREDIT SERVICES, LLC, vs. JUSTIN
23EV001184
                         SCHMIDT
23EV001187               American Express National Bank vs. June Noble
                         Assurance America Corporation as Subrogee of Phil
23EV001226
                         Lamorris Chambers Vs. Robert James Gaines
                         VELOCITY INVESTMENTS, LLC ASSIGNEE OF
23EV001275               UPSTART NETWORK, INC vs. CLIFFORD
                         MUHAMMAD
                         VELOCITY INVESTMENTS, LLC ASSIGNEE OF
23EV001297
                         UPSTART NETWORK INC vs. JOSHUA MORSE
23EV001304               JPMorgan Chase Bank, N.A. vs. Samuel Lyles
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Case Number              Case Name
                         Galaxy International Purchasing, LLC vs. Telethia
23EV001385
                         Holmes
                         FIRST FINANCIAL INVESTMENT FUND NI, LLC
23EV001449               ASSIGNEE OF IASIS HEALTHCARE LLC vs.
                         DASHAYE CANTY
23EV001464               MARINER FINANCE, LLC vs. CORTNEY DASH
                         Rodolfo Ramos Lucas,Maria Lucas Chavez VS.Jessica
23EV001509
                         Redmond
                         Pawnee Leasing Corporation vs. McLeod Towing LLCet
23EV001583
                         al.
23EV001644               Tamara Barton VS.Logan Grant
                         CROWN ASSET MANAGEMENT, LLC ASSIGNEE OF
23EV001672               SYNCHRONY BANK vs. TASHA HOLMES aka TASHA
                         SHAWN HOLMES
                         VELOCITY INVESTMENTS, LLC ASSIGNEE OF
23EV001679
                         UPSTART NETWORK,INC vs. CHASE CHRISTMAS
23EV001713               LVNV Funding LLC vs. Afrakuma Bannerman
23EV001716               Reuben Uluocha VS.Brittiney Latimore
23EV001744               Wells Fargo Bank, N.A. vs. Colleen Ryan
                         Emery Sparks VS.Views Bar and Grill Atlanta,
23EV001791
                         LLC,Mystical Valet Company, LLC
                         COYOTE LOGISTICS, LLC vs. MGO TRUCKING,
23EV001804
                         LLCet al.
                         GFS II LLC dba Gateway Financial Solutions vs.
23EV001825
                         TERRY SMITH
23EV001867               JPMorgan Chase Bank, N.A. vs. Joanie Carroll
                         FLEXIBILITY CAPITAL INC vs. BENCHMARK
23EV001891
                         TRANSPORTATION LLCet al.
23EV001901               Annabella Radomski VS.Andrew Dunn
23EV001964               TOWANA COLLINS VS.FELTON CURRY
                         STATE FARM MUTUAL AUTOMOBILE INSURANCE
23EV001990               CO. AS SUBROGEE OF MARCIA ANDRITA PARK, V.
                         CITY OF EAST POINT,
                         VELOCITY INVESTMENTS, LLC ASSIGNEE OF
23EV002016
                         UPSTART NETWORK INC vs. TEVIN JOHNSON
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